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         MERITS ORAL ARGUMENT SCHEDULED MAY 16, 2025
                                 No. 25-5055
                                    IN THE

             United States Court of Appeals
           for the District of Columbia Circuit
 CATHY A. HARRIS, IN HER PERSONAL CAPACITY AND IN HER OFFICIAL CAPACITY AS
             MEMBER OF THE MERIT SYSTEMS PROTECTION BOARD,
                                                       Plaintiff-Appellee,
                                       v.
 SCOTT BESSENT, IN HIS OFFICIAL CAPACITY AS SECRETARY OF THE TREASURY, et al.,
                                                     Defendants-Appellants.

                 On Appeal from the United States District Court
               for the District of Columbia, No. 1:25-cv-00412-RC
                            Hon. Rudolph Contreras, J.

            MOTION FOR EMERGENCY ADMINISTRATIVE
          STAY PENDING REQUEST FOR HEARING EN BANC
 MICHAEL J. KATOR           LINDA M. CORREIA         NEAL KUMAR KATYAL
 JEREMY D. WRIGHT           CORREIA & PUTH, PLLC        Counsel of Record
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                 Counsel for Plaintiff-Appellee Cathy A. Harris
March 28, 2025
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28, Plaintiff-Appellee Cathy A. Harris hereby

submits her Certificate as to Parties, Rulings, and Related Cases:

      A.     Parties and Amici

      Plaintiff-Appellee is Cathy A. Harris.       Defendants-Appellants are Scott

Bessent, Trent Morse, Sergio Gor, Henry Kerner, Donald J. Trump, and Russell T.

Vought.

      Two groups of states led by Florida and Tennessee; Professors John Coates,

Jeffrey N. Gordon, Kathryn Judge, and Lev Menand; the Constitutional

Accountability Center; and Martin Akerman filed briefs as amici curiae.

      B.     Rulings Under Review

     The District Court issued a decision on the merits for Harris on March 4 (App.

B.), and that ruling is the one on appeal before the Court. The government filed a

motion to stay pending appeal in this Court (App. C.). The special panel (Henderson,

Millett, Walker, JJ.) issued an order granting the motion on March 28, 2025 (App.

A.). Judge Millett dissented.

      C.     Related Cases

      This case was before the District Court as case No. 1:25-cv-00412-RC. The

government appealed the District Court’s grant of a temporary restraining order, and

that appeal is before this Court as No. 25-5037.


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      The special panel consolidated this case for oral argument on the

government’s stay motion alongside Wilcox v. Trump, No. 25-5057 (D.C. Cir.).



 March 28, 2025                                 /s/Neal Kumar Katyal
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                                                Counsel for Plaintiff-Appellee
                                                Cathy A. Harris




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                MOTION FOR AN ADMINISTRATIVE STAY

      Cathy A. Harris requests the panel administratively stay its order granting the

government’s motion pending Harris’s forthcoming petition to the en banc Court. If

the special panel denies this motion for an administrative stay, Harris requests the

en banc Court issue an administrative stay.

      Harris will submit her petition to the en banc Court by Monday, March 31,

2025. An administrative stay will immediately preserve the status quo ante, and

provide the full Court the brief but necessary “time to deliberate” on that petition.

United States v. Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J., concurring). 1

      The matter plainly warrants the full Court’s review. Under a statute that

Congress enacted decades ago—in reliance on long-settled Judicial precedent, and

an equally established interbranch understanding between the Legislative and

Executive branches—Harris and other members of the Merit Systems Protection

Board “may be removed by the President only for inefficiency, neglect of duty, or

malfeasance in office.” 5 U.S.C. § 1202(d) (emphasis added).

      As the District Court and Judge Millett’s dissent both explained, this kind of

for-cause removal provision is obviously constitutional.          Under Humphrey’s

Executor v. United States, 295 U.S. 602 (1935), and its progeny, Congress may enact



1
 Counsel for the government indicates that the government opposes this request.
Cf. D.C. Cir. R. 8(a)(2).

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standards of removal for “multimember board[s],” Seila Law LLC v. CFPB, 591 U.S.

197, 207 (2020), that exercise “predominantly quasi judicial” functions, Humphrey’s

Executor, 295 U.S. at 624, and serve as “adjudicatory bod[ies],” Wiener v. United

States, 357 U.S. 349, 356 (1958).

      That is precisely what Congress did with the Merit Systems Protection Board,

an adjudicatory body that hears discrete appeals from civil servants who allege (for

example) partisan discrimination or whistleblower retaliation. See App. A. 72

(Millett, J., dissenting) (“In the government’s own words, the MSPB

is ‘predominantly an adjudicatory body.’ ”).

     The panel’s extraordinary order allows the Administration to immediately

remove Harris from her position as a neutral arbitrator—something no President has

attempted in the modern era—and mars the protection that Congress deemed

essential for adjudicators to decide cases without fear or favor. The order effectively

overturns Humphrey’s Executor and Wiener; defies the Supreme Court’s express

instructions in Seila Law that the Humphrey’s Executor framework remains good

law; and “openly calls into question the constitutionality of dozens of federal statutes

conditioning the removal of officials on multimember decision-making bodies—

everything from the Federal Reserve Board and the Nuclear Regulatory Commission

to the National Transportation Safety Board and the Court of Appeals for Veterans

Claims.” App. A. 61 (Millett, J., dissenting).


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     Perhaps most troublingly, the panel reached this result on an emergency motion,

in which the government sought the “extraordinary remedy” of a “stay pending

appeal,” and bore the burden of proving “a strong showing that it is likely to

succeed.” KalshiEX LLC v. CFTC, 119 F.4th 58, 63 (D.C. Cir. 2024) (brackets and

quotation marks omitted, emphases added).

     As Judge Millett’s dissent underscores—and as Harris will explain in more

detail in her forthcoming filing—this matter meets every criterion for the full Court’s

review. See Fed. R. App. P. 40(b)(2). Judge Walker’s and Judge Henderson’s

“opinions voting to grant a stay rewrite controlling Supreme Court precedent and

ignore binding rulings of this court, all in favor of putting this court in direct conflict

with at least two other circuits.” App. A. 61 (Millett, J., dissenting). Indeed, as

Judge Millett warns, the panel order could have devastating immediate effect:

Because the order will apply to the Federal Reserve Board too, a “century-plus of

politically independent monetary policy is set to vanish with a pre-merits snap of

this court’s fingers.” Id. at 112.

     Panels are “the agent of the court,” and the en banc Court should not let this

aberrational result stand. Douglas H. Ginsburg & Donald Falk, The Court En Banc:

1981-1990, 59 Geo. Wash. L. Rev. 1008, 1012 (1991); cf. Garza v. Hargan, No. 17-

05236 (D.C. Cir. 2017) (en banc). The Court must “apply controlling precedent, not

play jurisprudential weather forecasters.” App. A. 83 (Millett, J., dissenting). A


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brief administrative stay will preserve the status quo ante and prevent disruption,

while the full Court quickly considers Harris’ forthcoming request to consider this

matter.

     An administrative stay will also not harm the government one bit. Harris has

been exercising the powers of her Senate-confirmed office before and during this

litigation, with only a brief gap between when the President purported to remove her

on February 10, and when the District Court issued a temporary restraining order on

February 18. The government took the position that the temporary restraining order

was appealable, yet it waited for two weeks to seek emergency relief from this Court

(in contrast to Dellinger v. Bessent, No. 25-5028 (D.C. Cir.), where it rapidly sought

relief both from this Court and the Supreme Court). The government’s claim of

burden to the Executive faces the additional problem that no executive has ever

sought to do what the current President seeks to do here. And as Judge Millett

explained, any “asserted injury to the President is entirely bound up with the merits

of the government’s constitutional argument.” App. A. 107 (Millett, J., dissenting).

     The government, in short, will not face any meaningful harm if Harris continues

to fulfill her adjudicative responsibilities for the brief period in which the en banc

Court evaluates this case. Indeed, it would be disruptive to the government and the

public at large were Harris to be prevented from fulfilling her congressionally

mandated duties for the brief period in which the Court considers her request. As


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Judge Millett underscored, the panel’s order divests the Merit Systems Protection

Board of a quorum and traps “in legal limbo millions of” federal “employees”

“whom the law says must go to the” Board. App. A. 62 (Millett, J., dissenting).

       Harris respectfully requests the Court rule on this motion for an administrative

stay as quickly as possible, but no later than the morning of Monday, March 31,

2025. 2

March 28, 2025                           Respectfully submitted,

                                         /s/ Neal Kumar Katyal
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    JEREMY D. WRIGHT                         Counsel of Record
    KERRIE D. RIGGS                      NATHANIEL A.G. ZELINSKY
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                    Counsel for Plaintiff-Appellee Cathy A. Harris

2
 To avoid any doubt, Harris requests that the administrative stay persist, at
minimum, for the period in which the en banc Court deliberates on this matter.

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                         CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Appellate Procedure 27(d)(2)(A), I certify that this

brief contains 1,027 words. I certify this Brief also complies with the requirements

of Federal Rules of Appellate Procedure 32(a)(5) and 32(a)(6) because it has been

prepared using Microsoft word 14-point Times New Roman, a proportionally spaced

font.




 March 28, 2025                              /s/ Neal Kumar Katyal
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                                             Cathy A. Harris
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                         CERTIFICATE OF SERVICE

     I hereby certify that, on March 28, 2025, I caused the foregoing to be

 electronically filed with the Clerk of the United States Court of Appeals for the

 District of Columbia Circuit by using the appellate CM/ECF system. All counsel in

 this case are registered CM/ECF users and will be served by the appellate CM/ECF.



  March 28, 2025                         /s/ Neal Kumar Katyal
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                                         Cathy A. Harris
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                         Appendix A
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                       United States Court of Appeals
                                    FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                             ____________
 No. 25-5037                                                       September Term, 2024
                                                                               1:25-cv-00412-RC
                                                              Filed On: March 28, 2025
 Cathy A. Harris, in her personal capacity and
 in her official capacity as Member of the Merit
 Systems Protection Board,

                   Appellee
          v.

 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

                   Appellants
 ------------------------------

 Consolidated with 25-5055
 ------------------------------

 No. 25-5057
                                                                              1:25-cv-00334-BAH
 Gwynne A. Wilcox,

                   Appellee
          v.

 Donald J. Trump, in his official capacity as
 President of the United States and Marvin E.
 Kaplan, in his official capacity as Chairman of
 the National Labor Relations Board,

                   Appellants

          BEFORE:           Henderson, Millett*, and Walker, Circuit Judges

                                                ORDER

       Upon consideration of the emergency motions for stay filed in Nos. 25-5055 and
 25-5057, the oppositions thereto, the replies, and the briefs filed by amici curiae
 regarding the stay motions; it is


          *
              Judge Millett dissents from the grant of the emergency motions for stay.
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                United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
 No. 25-5037                                             September Term, 2024

       ORDERED that the emergency motions for stay be granted. Separate
 concurring statements of Judge Walker and Judge Henderson and a dissenting
 statement of Judge Millett are attached.

                                     Per Curiam


                                                       FOR THE COURT:
                                                       Clifton B. Cislak, Clerk

                                               BY:     /s/
                                                       Daniel J. Reidy
                                                       Deputy Clerk




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             WALKER, Circuit Judge, concurring:

                  Article II of the Constitution vests the “executive Power”
             in “a President of the United States” and requires him to “take
             Care that the Laws be faithfully executed.”1 “To protect
             individual liberty, the Framers . . . created a President
             independent from the Legislative Branch.”2 “To further
             safeguard liberty, the Framers insisted upon accountability for
             the exercise of executive power,” so they “lodged full
             responsibility for the executive power in a President of the
             United States, who is elected by and accountable to the
             people.”3

                 Executive branch agencies do not disrupt that design when
             they are accountable to the President. “But consent of the
             governed is a sham if an administrative agency, by design, does
             not meaningfully answer for its policies to either of the elected
             branches.”4 That’s why the Supreme Court has said that
             Congress cannot restrict the President’s removal authority over
             agencies that “wield substantial executive power.”5

                 That Court’s precedents control this court’s case. Under
             those precedents, the Government is likely to succeed in
             showing that the statutory removal protections for National
             Labor Relations Board commissioners and Merit Systems
             Protection Board members are unconstitutional.              The
             Government has also shown that it will suffer irreparable harm
             each day the President is deprived of the ability to control the
             executive branch. Conversely, the removed officials suffer no
             1
               U.S. Const., art. II, §§ 1, 3.
             2
               Free Enterprise Fund v. PCAOB, 537 F.3d 667, 689 (D.C. Cir.
             2008) (Kavanaugh, J., dissenting).
             3
               PHH Corp. v. CFPB, 881 F.3d 75, 164 (D.C. Cir. 2018) (en banc)
             (Kavanaugh, J., dissenting).
             4
               Id. at 137 (Henderson, J., dissenting).
             5
               Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2199-2200 (2020).
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             cognizable irreparable harm during the pendency of these
             appeals, nor do the agencies where they previously worked
             until the President fired them. Finally, the public interest also
             supports a stay. The people elected the President to enforce the
             nation’s laws, and a stay serves that purpose by allowing the
             people’s chosen officer to control the executive branch.

                 I therefore support granting the motions for a stay pending
             appeal in Harris v. Bessent (25-5055) and Wilcox v. Trump (25-
             5057).

                                      I. Background

                 The National Labor Relations Board and the Merit
             Systems Protection Board are executive branch agencies. By
             the terms of statutes that the Government argues are
             unconstitutional, their members may be removed only for
             cause.6

                 On January 27, 2025, President Donald Trump removed
             Gwynne Wilcox from the NLRB prior to her term’s expiration
             in 2028. In an explanatory letter, the President informed
             Wilcox that the NLRB had not “been operating in a manner
             consistent with the objectives of [his] administration.”7 Citing
             several recent Board decisions, he expressed concern that
             Wilcox was “unduly disfavoring the interests of employers.”8

                 Wilcox sued for reinstatement on February 5, 2025. Five
             days later, she moved for summary judgment on an expedited
             basis. After a hearing on March 5, the district court granted

             6
               5 U.S.C. § 1202(d) (MSPB); 29 U.S.C § 153(a) (NLRB).
             7
               Pl.’s Ex. A at 2, Wilcox v. Trump, No. 25-cv-334 (D.D.C. Feb. 20,
             2025), ECF No. 10-4.
             8
               Id.
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             summary judgment to Wilcox, declaring that she remained a
             member of the NLRB and permanently enjoining the NLRB’s
             Chair and his subordinates from effectuating the President’s
             removal order.

                 A similar chain of events occurred in Harris v. Bessent.
             On February 10, 2025, the President removed Cathy Harris
             from the MSPB prior to her term’s expiration in 2028. Unlike
             Wilcox, Harris did not receive an explanatory letter.

                  Harris sued for reinstatement on February 11, 2025. Seven
             days later, the district court granted her request for a temporary
             restraining order, effectively reinstating her to the MSPB. A
             few weeks later, the court granted summary judgment for
             Harris, declaring that she remained a member of the MSPB and
             permanently enjoining various government officials from
             executing the President’s removal order.

                  In defending these removals, the Government has not
             argued that the President met the statutory criteria for removal.9
             Instead, it has insisted that those provisions are
             unconstitutional infringements on the President’s Article II
             removal power — a position consistent with the President’s
             recent executive order regarding independent agencies.10


             9
               See 5 U.S.C. § 1202(d) (removal “only for inefficiency, neglect of
             duty, or malfeasance in office”); 29 U.S.C. § 153(a) (removal only
             “upon notice and hearing, for neglect of duty or malfeasance in
             office, but for no other cause”).
             10
                Exec. Order No. 14,215, Ensuring Accountability for All Agencies
             (Feb. 18, 2025), https://www.federalregister.gov/d/2025-03063.
                 The Government also maintains that federal district courts lack
             the equitable power to reinstate an officer who has been removed by
             the President. Because this court grants the Government’s stay
             application on alternative grounds, I have no occasion to address this
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                  On that basis, the Government appealed both orders and
             moved for emergency stays pending appeal. We considered
             the two motions together and heard oral argument on March
             18, 2025.

                          II. The Presidential Removal Power

                  Before addressing the stay factors, it is prudent to address
             the text, history, and precedents that control this preliminary
             merits determination.

                                        A. History

                  I begin with a review of our nation’s founding period, the
             creation of our Constitution, and the historical practice in the
             decades that followed.

                               1. The Energetic Executive

                  Under the Articles of Confederation, the early Republic
             experienced the perils of having a weak executive. With “no
             executive separate from Congress,”11 the federal government
             had to rely on the states’ good graces to carry out national
             policies.12 And it was powerless to respond to national

             argument. Cf. Bessent v. Dellinger, 145 S. Ct. 515, 517 (2025)
             (Gorsuch, J., dissenting) (observing that “by the 1880s [the Supreme]
             Court considered it ‘well settled that a court of equity has no
             jurisdiction over the appointment and removal of public officers’”
             (quoting In re Sawyer, 124 U.S. 200, 212 (1888))); Dellinger v.
             Bessent, No. 25-5028, 2025 WL 559669, at *14 (D.C. Cir. Feb. 15,
             2025) (Katsas, J., dissenting) (reinstating a principal officer is
             “virtually unheard of”).
             11
                William P. Barr, The Role of the Executive, 43 Harv. J.L. & Pub.
             Pol’y 605, 607 (2020).
             12
                Printz v. United States, 521 U.S. 898, 919 (1997).
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             emergencies, like the 1786 Shays’ Rebellion.13 As Henry
             Knox put it, the federal government was but “a shadow without
             power, or effect.”14

                  So when “the Framers met in Philadelphia in the summer
             of 1787, they sought to create a cohesive national sovereign in
             response to the failings of the Articles of Confederation.”15 But
             the Framers also understood that a strong federal government
             could be abused.           They recognized that “structural
             protections” — most significantly, the separation of
             powers — “were critical to preserving liberty.”16 By splitting
             the legislative, executive, and judicial powers, and “giving to
             those who administer each department the necessary
             constitutional means and personal motives to resist
             encroachments of the others,” the federal government could
             avoid the “gradual concentration of the several powers in the
             same department.”17

                 After their experience with parliamentary supremacy, the
             Framers were particularly concerned about the concentration
             of legislative power.18 For example, Gouverneur Morris
             warned delegates at the Constitutional Convention that the
             “Legislature will continually seek to aggrandize & perpetuate



             13
                Max Farrand, The Fathers of the Constitution 95 (1921).
             14
                Letter from Henry Knox to George Washington (March 19, 1787),
             https://perma.cc/9UCC-ZYAP.
             15
                PennEast Pipeline Co. v. New Jersey, 141 S. Ct. 2244, 2263
             (2021).
             16
                Bowsher v. Synar, 478 U.S. 714, 730 (1986).
             17
                The Federalist No. 51 (James Madison).
             18
                Free Enterprise Fund v. PCAOB, 537 F.3d 667, 689 (D.C. Cir.
             2008) (Kavanaugh, J., dissenting).
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                                             6
             themselves.”19      Drawing on well-established political
             traditions, the Framers divided Congress “into two Chambers:
             the House of Representatives and the Senate.”20

                  Whereas the Framers divided the Legislative Power, they
             unified the Executive. They were concerned that “the
             weakness of the executive may require . . . that it should be
             fortified.”21 After the “humiliating weakness” of the Articles
             of Confederation, the “Framers deemed an energetic executive
             essential to ‘the protection of the community against foreign
             attacks,’ ‘the steady administration of the laws,’ ‘the protection
             of property,’ and ‘the security of liberty.’”22

                 The Framers debated how to achieve that objective while
             also avoiding the dangers of monarchy or tyranny. Some
             delegates proposed a plural executive to limit the concentration
             of power in any one person. For example, Edmund Randolph
             pressed for a three-member executive representing different




             19
                James Madison’s Notes of the Constitutional Convention (July 19,
             1787), https://perma.cc/HU54-J7SU.
             20
                Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2203 (2020).
             21
                The Federalist No. 51.
             22
                First quoting Myers, 272 U.S. 52, 117 (1926); then quoting Seila
             Law, 140 S. Ct. at 2203 (quoting The Federalist No. 70); see also
             Adam White, Chevron Deference v. Steady Administration, Yale J.
             Reg.: Notice & Comment (Jan. 24, 2024), https://perma.cc/8GLE-
             2JX4 (“Energetic presidents aren’t inherently good. Rather,
             presidential energy is good for a few important things—especially,
             Hamilton argued, for ‘the steady administration of the laws.’”).
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             regions of the country.23 And some proposed that Congress
             should choose the Executive — whether singular or plural.24

                 Ultimately, though, the Framers “‘insisted’ upon ‘unity in
             the Federal Executive’ to ‘ensure both vigor and
             accountability’ to the people.”25 So they settled on a single
             executive, the President of the United States, who “would be
             personally responsible for his branch.”26

                  That unity affords the President “[d]ecision, activity,
             secrecy, and dispatch,” and it guards against a plural
             executive’s tendency “to conceal faults and destroy
             responsibility.”27 It also avoids “the ‘habitual feebleness and
             dilatoriness’ that comes with a ‘diversity of views and
             opinions.’”28

                 At the same time, the Framers understood the risks posed
             by a strong executive. Their solution? Making “the President
             the most democratic and politically accountable official in
             Government,” subject to election “by the entire Nation” every

             23
                Daniel A. Farber & Suzanna Sherry, A History of the American
             Constitution 124 (3d ed. 2013).
             24
                Id. at 118, 127-28.
             25
                Seila Law, 140 S. Ct. at 2212 (Thomas, J., concurring in part and
             dissenting in part) (quoting Printz, 521 U.S. at 922) (cleaned up).
             26
                 Akhil Reed Amar, America’s Constitution: A Biography 197
             (2005); see also Clinton v. Jones, 520 U.S. 681, 712 (1997) (Breyer,
             J., concurring in the judgment) (“Article II makes a single President
             responsible for the actions of the Executive Branch in much the same
             way that the entire Congress is responsible for the actions of the
             Legislative Branch, or the entire Judiciary for those of the Judicial
             Branch.”).
             27
                The Federalist No. 70 (Alexander Hamilton).
             28
                Seila Law, 140 S. Ct. at 2203 (quoting The Federalist No. 70).
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             four years.29     The “resulting constitutional strategy is
             straightforward: divide power everywhere except for the
             Presidency, and render the President directly accountable to the
             people through regular elections.”30

                  2. Original Understanding of the Removal Power

                  Against that backdrop, the Constitution assigns a lofty role
             to the President. Article II vests the “executive Power” in the
             “President of the United States of America.”31 And it charges
             the President to “take Care that the Laws be faithfully
             executed.”32

                  Of course, the President cannot carry out his duties “alone
             and unaided” — he must enlist the “assistance of
             subordinates.”33     The Framers envisioned a “chain of
             dependence” in the executive branch, where “the lowest
             officers, the middle grade, and the highest, will depend, as they
             ought, on the President.”34 The Vesting Clause empowers the
             President to direct and control those officials. As James
             Madison explained, “if any power whatsoever is in its nature
             executive, it is the power of appointing, overseeing, and
             controlling those who execute the laws.”35


             29
                Id.
             30
                Id.
             31
                U.S. Const. art. II, § 1.
             32
                Id. § 3.
             33
                Myers, 272 U.S. at 117.
             34
                1 Annals of Congress 499 (1789) (James Madison).
             35
                Id. at 463; see also Neomi Rao, Removal: Necessary and Sufficient
             for Presidential Control, 65 Ala. L. Rev. 1205, 1215 (2014) (“The
             text and structure of Article II provide the President with the power
             to control subordinates within the executive branch.”).
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                  That includes “a power to oversee executive officers
             through removal.”36 Because the Constitution provided no
             textual limits on that “traditional executive power,” “it
             remained with the President.”37

                  Founding-era history confirms that understanding. The
             First Congress encountered the question directly, and its debate
             and decision — now called “the Decision of 1789” — provides
             “contemporaneous and weighty evidence of the Constitution’s
             meaning since many of the Members of the First Congress had
             taken part in framing that instrument.”38

                  During the summer of 1789 “ensued what has been many
             times described as one of the ablest constitutional debates
             which has taken place.”39 The topic of the President’s removal
             power came up “during consideration of a bill establishing
             certain Executive Branch offices and providing that the officers




             36
                Free Enterprise Fund, 561 U.S. at 492 (quoting Letter from James
             Madison to Thomas Jefferson (June 30, 1789), in 16 Documentary
             History of the First Federal Congress 893 (2004)).
             37
                Id. (cleaned up).
                 The absence of a “removal clause” does not mean the President
             lacks a removal power, just as the absence of a “‘separation of
             powers clause’ or a ‘federalism clause’” does not undercut those
             “foundational doctrines.” Seila Law, 140 S. Ct. at 2205. As the
             Supreme Court has “explained many times before, the President’s
             removal power stems from Article II’s vesting of the ‘executive
             Power’ in the President.” Id.
             38
                Bowsher, 478 U.S. at 723-24 (internal quotation marks omitted).
             39
                Parsons v. United States, 167 U.S. 324, 329 (1897).
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             would be subject to Senate confirmation and ‘removable by the
             President.’”40

                  The House debated various theories, including that
             Congress could specify the President’s removal authority on an
             office-by-office basis, that officers could be removed only
             through impeachment, that removal required the advice and
             consent of the Senate, and that the “executive power” conferred
             plenary removal authority to the President.41

                  The last view, advocated by James Madison, prevailed:
             The “executive power included a power to oversee executive
             officers through removal.”42 To avoid giving the impression
             that Congress had any say in the President’s removal decisions,
             the House deleted the bill’s provision making officers
             “removable by the President.”43

                  In retrospect, the Decision of 1789 has been viewed as “a
             legislative declaration that the power to remove officers
             appointed by the President and the Senate [is] vested in the
             President alone.”44


             40
                Free Enterprise Fund, 537 F.3d at 691 (Kavanaugh, J., dissenting)
             (quoting Myers, 272 U.S. at 111).
             41
                Aditya Bamzai & Saikrishna Prakash, The Executive Power of
             Removal, 136 Harv. L. Rev. 1756, 1774 (2023).
             42
                Free Enterprise Fund, 561 U.S. at 492.
             43
                Myers, 272 U.S. at 113-14.
             44
                Id. at 114; see also id. at 144 (the Decision of 1789 “has ever been
             considered as a full expression of the sense of the legislature on this
             important part of the American constitution” (quoting 5 John
             Marshall, The Life of George Washington 200 (1807)).
                The district court in Wilcox took a different view of the Decision
             of 1789. Wilcox v. Trump, No. 25-334, 2025 WL 720914, at *12
             (D.D.C. Mar. 6, 2025). To the extent the Decision of 1789 is
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                                   3. Historical Practice

                 The understanding that the President holds unrestricted
             removal power “became widely accepted during the first 60
             years of the Nation.”45 George Washington removed “almost
             twenty officers, including a consul, diplomats, tax collectors,
             surveyors, and military officers.”46       What’s more, his
             commissions typically stated that officeholders served during
             “the pleasure of the President,” indicating Washington’s
             apparent belief that he could dismiss officers at will.47 Then-
             Secretary of State Timothy Pickering — the official in charge
             of signing commissions — confirmed the meaning of that
             language: “In all cases except that of the Judges, it has been
             established from the time of organizing the Government, that

             susceptible to multiple interpretations, I follow the Supreme Court’s.
             See Myers, 272 U.S. at 114; Parsons, 167 U.S. at 328-30; Bowsher,
             478 U.S. at 723; Free Enterprise Fund, 561 U.S. at 492; Seila Law,
             140 S. Ct. at 2197.
                At least one amicus disputes the Supreme Court’s settled view of
             the historical evidence. Constitutional Accountability Center Br. at
             10-12. Although Alexander Hamilton originally took the position
             that Senate consent would be required to remove an officer, The
             Federalist No. 77 (Alexander Hamilton), he “later abandoned” that
             “initial” view, Seila Law, 140 S. Ct. 2205. Likewise, “whatever
             Madison may have meant” by his statement in Federalist No. 39 that
             “the ‘tenure’ of ‘ministerial offices generally will be a subject of
             legal regulation,’” he later “led the charge” in defending the
             President’s removal authority during the Decision of 1789. Seila,
             140 S. Ct. at 2205 n.10. Finally, the Court has “reject[ed]” Chief
             Justice Marshall’s statement in Marbury that some officers are not
             “removable at the will of the executive” as “ill-considered dicta.” Id.
             at 2205 (citing Myers, 272 U.S. at 136-39, 142-44).
             45
                Free Enterprise Fund, 537 F.3d at 692 (Kavanaugh, J., dissenting).
             46
                Bamzai & Prakash, The Executive Power of Removal, at 1777.
             47
                Id. at 1777-78.
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             removals from offices should depend on the pleasure of the
             Executive power.”48

                  Subsequent Presidents also dismissed officers at will,
             often based on political disagreements. John Adams removed
             Secretary Pickering over a disagreement about America’s
             alignment with France.49 (Yes, the same Pickering who
             defended Washington’s removal power.) James Madison
             “compelled the resignation of” Secretary of War John
             Armstrong following the War of 1812.50 Andrew Jackson
             removed Treasury Secretary William Duane for his refusal to
             withdraw federal deposits from the Second Bank of the United
             States.51 William Henry Harrison intended to remove scores of
             Jacksonian officials but died before he had the chance — just
             one month after entering office.52 His successor, John Tyler,
             quickly carried out Harrison’s removal plans.53 Not to be
             outdone, Millard Filmore dismissed Zachary Taylor’s entire
             cabinet as his “first act in office.”54

                  To be sure, these removals sometimes prompted minor
             opposition from Congress. For example, after Jackson
             removed Surveyor General Gideon Fitz, “the Senate adopted a
             resolution requesting the President to communicate” his

             48
                 Id. at 1778 (quoting Letter from James Monroe to Timothy
             Pickering (July 31, 1797), in 3 The Writings of James Monroe 73, 75
             n.1 (Stanislaus Murray Hamilton ed., 1969) (quoting a letter from
             Pickering to Monroe)).
             49
                Steven G. Calabresi & Christopher S. Yoo, The Unitary Executive
             62 (2008).
             50
                Id. at 79.
             51
                Id. at 106, 108.
             52
                Id. at 131-32.
             53
                Id. at 135.
             54
                Id. at 148.
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             reasons for firing Fitz to aid in the Senate’s “constitutional
             action upon the nomination of his successor.”55 Jackson
             refused to comply with what he deemed “unconstitutional
             demands.”56 Presidents in our nation’s first hundred years
             faced other similarly halfhearted resolutions in response to
             their exercise of the removal power.57

                  One exceptional case was the impeachment of Andrew
             Johnson, following his removal of Secretary of War Edwin
             Stanton.58 The impeachment charged Johnson with violating
             the 1867 Tenure of Office Act, which required Senate consent
             to remove officers.59 Much of Johnson’s defense centered on
             his view that the Act was unconstitutional,60 a view the
             Supreme Court later endorsed.61

                 The Senate narrowly acquitted Johnson.62           “The
             contentious Johnson episode ended in a way that discouraged
             congressional restrictions on the President’s removal power
             and helped preserve Presidential control over the Executive


             55
                Myers, 272 U.S. at 287 n.77 (Brandeis, J., dissenting).
             56
                Id.
             57
                See, e.g., id. at 279-81 & nn. 64 & 67 (Brandeis, J., dissenting)
             (discussing proposals to require “the President to give the number
             and reasons for removals”).
             58
                Calabresi & Yoo, The Unitary Executive, at 185.
             59
                Id. at 179.
             60
                 David Miller DeWitt, The Impeachment and Trial of Andrew
             Johnson 445 (1903).
             61
                See Myers, 272 U.S. at 176 (declaring the Tenure of Office Act
             “invalid” “in so far as it attempted to prevent the President from
             removing executive officers who had been appointed by him by and
             with the advice and consent of the Senate”).
             62
                Calabresi & Yoo, The Unitary Executive, at 186.
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             Branch.”63 It now “stands as one of the most important events
             in American history in maintaining the separation of powers
             ordained by the Constitution.”64

                 A few decades later, another removal dispute arose when
             Grover Cleveland dismissed U.S. Attorney Lewis Parsons prior
             to the conclusion of Parsons’ statutory four-year term.65
             Parsons argued that the President could not remove him until
             the four-year term elapsed.66 The Court disagreed. After
             recounting the Decision of 1789 and the “continued and
             uninterrupted practice” of plenary presidential removal, the
             Court construed Parsons’ four-year term as a ceiling for how
             long he could remain in office — not as a restriction on the
             President’s power to remove him sooner.67

                  As this history demonstrates, the Founders understood that
             the President had inherent, inviolable, and unlimited authority
             to remove principal officers exercising substantial executive
             authority, and Presidents have exercised that authority since the
             very beginning of the Republic, beginning with George
             Washington.

                                       B. Precedent

                 With those historical underpinnings, I turn to the Supreme
             Court’s more recent precedents. The Court has reaffirmed the
             President’s inherent removal power on several occasions,



             63
                Free Enterprise Fund, 537 F.3d at 692 (Kavanaugh, J., dissenting).
             64
                Id. at 692-93.
             65
                Parsons, 167 U.S. at 327-28.
             66
                Id. at 328.
             67
                Id. at 338-39, 340.
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             relying often on the historical evidence recounted in the
             preceding section.

                  That is not to say the Court’s removal-power jurisprudence
             has always been consistent. Though the Court in Myers
             reaffirmed the President’s unilateral removal power,
             Humphrey’s Executor created an exception to the rule. It left
             future courts to decide when that exception might apply. To
             the extent that Humphrey’s created a showdown between the
             Myers rule and the Humphrey’s exception, the Court’s recent
             decisions have been unequivocal: Humphrey’s has few, if any,
             applications today. To discern the Supreme Court’s rule, I
             review the Court’s holdings, beginning with Myers.

                                          1. Myers

                  In 1920, President Woodrow Wilson removed postmaster
             Frank Myers from office.68 Myers sought backpay, relying on
             a statute that required the President to obtain Senate approval
             before removing him — something the President had
             indisputably not done.69 The question before the Court was
             whether the Constitution permitted such a restriction.

                  Writing for the Court, Chief Justice Taft undertook a deep
             historical survey, concluding that the statutory provision
             denying the President the “unrestricted power of removal” was
             “in violation of the Constitution and invalid.”70 That survey
             highlighted much of the history recounted above, including the
             Decision of 1789. The Court focused on four points advanced




             68
                Myers, 272 U.S. at 106.
             69
                Id. at 107-08.
             70
                Id. at 176.
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                                             16
             by James Madison and his allies during that congressional
             debate.

                  First, Myers stressed that the President’s supervisory
             power over officers is crucial for protecting the separation of
             powers: “If there is any point in which the separation of the
             legislative and executive powers ought to be maintained with
             great caution, it is that which relates to officers and offices.”71
             It further explained that to “take care that the laws be faithfully
             executed,” the President must be able to “select those who were
             to act for him under his direction” and remove “those for whom
             he cannot continue to be responsible.”72 The Court’s
             conclusion: “[N]o express limit was placed on the power of
             removal by the executive” and “none was intended.”73

                  Second, the Court considered whether the Senate’s role in
             presidential appointments carried with it a corresponding role
             in removals. It concluded that history would not support that
             inference. The power of removal “is different in its nature from
             that of appointment,” as was “pointed out” in the First
             Congress’s debate.74 That’s because a Senate veto of a removal
             “is a much greater limitation upon the executive branch, and a
             much more serious blending of the legislative with the
             executive, than a rejection of a proposed appointment.”75 So
             where the Constitution does not directly provide Congress any
             power over removals, that power “is not to be implied.”76



             71
                Id. (quoting 1 Annals of Congress 581 (1789) (James Madison)).
             72
                Id. at 117, 122.
             73
                Myers, 272 U.S. at 118.
             74
                Id. at 121.
             75
                Id.
             76
                Id.
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                   Third, the Court observed that Congress’s power to create
             offices did not carry a corresponding power to limit the
             President’s removal power over them. The “legislative power”
             is “limited to” the powers “enumerated” under Article I of the
             Constitution; the “executive power” is a “more general
             grant.”77 Thus, the Court found it “reasonable to suppose” that
             if the Founders “intended to give to Congress power to regulate
             or control removals,” they would have included those powers
             “among the specifically enumerated legislative powers in
             article 1, or in the specified limitations on the executive power
             in article 2.”78

                  Fourth and finally, the Court noted the threat that Congress
             could “thwart[ ] the executive in the exercise of his great
             powers and in the bearing of his great responsibility by
             fastening upon him . . . men who” might render his faithful
             execution of the laws “difficult or impossible” — be it “by
             their inefficient service under him, by their lack of loyalty to
             the service, or by their different views of policy.”79 To avoid
             this possibility, the moment that the President “loses
             confidence in the intelligence, ability, judgment, or loyalty of
             any one of [his subordinates], he must have the power to
             remove him without delay.”80

                  The Court specifically included within that authority the
             power to remove executive officers whose duties include those
             “of a quasi judicial character.”81 Though the Court noted that
             “the President cannot . . . properly influence or control” the
             discharge of such duties, he may still “consider the decision

             77
                Id. at 128.
             78
                Myers, 272 U.S. at 128.
             79
                Id. at 131.
             80
                Id. at 134.
             81
                Id. at 135.
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             after its rendition as a reason for removing the officer. . . .
             Otherwise he does not discharge his own constitutional duty of
             seeing that the laws be faithfully executed.”82

                  Myers was a landmark decision. It established that the
             President’s removal power is grounded in the Constitution’s
             text and history and bolstered by tradition. It is essential to the
             constitutional separation of powers and to the President’s
             ability to “take Care that the Laws be faithfully executed.”83

                                2. Humphrey’s Executor

                  Then came Humphrey’s Executor.84 It reaffirmed the core
             holding of Myers — that the President holds an “illimitable
             power of removal” over “purely executive officers.”85 But “in
             six quick pages devoid of textual or historical precedent for the
             novel principle it set forth,”86 Humphrey’s carved out an
             exception for agencies that wield “no part of the executive
             power.”87

                  According to the Court, that exception permitted Congress
             to insulate officers of the relevant agency, the Federal Trade
             Commission, from at-will removal. That exception rested on
             the Court’s characterization of the FTC as an entity that
             exercised “no part of the executive power” and that in no way
             acted as “an arm or an eye of the executive.”88 Instead, the

             82
                Id.
             83
                U.S. Const. art. I, § 3.
             84
                Humphrey’s Executor v. United States, 295 U.S. 602 (1935).
             85
                Id. at 627-28.
             86
                 Morrison v. Olson, 487 U.S. 654, 726 (1988) (Scalia, J.,
             dissenting).
             87
                Humphrey’s Executor, 295 U.S. at 628.
             88
                Id.
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             Court viewed the agency as “wholly disconnected from the
             executive department” — “an agency of the legislative and
             judicial departments.”89

                 Confronted with the 1935 FTC’s role in investigating and
             reporting violations of the law — responsibilities typically
             associated with the executive branch — the Court insisted that
             the 1935 FTC did not wield “executive power in the
             constitutional sense,” even if it performed an “executive
             function.”90 To justify the distinction, it classified the agency’s
             work as “neither political nor executive, but predominantly
             quasi judicial and quasi legislative.”91

                  The Humphrey’s Court conceded the ambiguity inherent
             in its ruling, acknowledging a potential “field of doubt”
             between Myers — where presidential removal power over
             purely executive officers was absolute — and Humphrey’s,
             which permitted removal restrictions only if an agency
             “exercise[d] no part of the executive power.”92 Rather than
             clarifying the boundaries between these categories, the Court
             explicitly deferred such questions for “future consideration and
             determination.”93



             89
                Id. at 630.
             90
                Id. at 28.
                I say the “1935 FTC” to distinguish it from the 2025 FTC, which
             exercises greater power than the 1935 FTC. See, e.g., Collins v.
             Yellen, 141 S. Ct. 1761, 1806 (2021) (Sotomayor, J., concurring in
             part and dissenting in part) (“1935 FTC did not [have] the power to
             impose fines”).
             91
                Id. at 624.
             92
                Id. at 628, 632.
             93
                Id. at 632.
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                 As the rest of this survey will show, subsequent decisions
             by the Supreme Court have come close to closing the gap that
             Humphrey’s left. The Court has consistently declined to extend
             Humphrey’s beyond its facts and has instead reaffirmed Myers
             as the default rule that occupies the “field of doubt” for any
             agency that wields the substantial executive power that
             Humphrey’s understood the 1935 FTC not to exercise.

                                        3. Wiener

                 One might say Humphrey’s had “one good year” in 1958,
             when the Court applied it in Wiener v. United States.94 There,
             the Court “read a removal restriction into the War Claims Act
             of 1948” because the War Claims Commission “was an
             adjudicatory body.”95

                  The Wiener opinion took for granted that the Commission
             was purely an adjudicatory body. Indeed, the Commission’s
             entire responsibility, in the Court’s view, consisted of
             “receiv[ing] and adjudicat[ing] . . . three classes of claims”
             defined by statute.96 Nothing more. So in Wiener, the
             Humphrey’s exception continued unchanged: Officers of
             agencies that do not exercise executive power may be insulated
             from presidential removal.




             94
                357 U.S. 349 (1958); cf. Cass Sunstein, Nondelegation Canons, 67
             U. Chi. L. Rev. 315, 322 (2000).
             95
                Collins, 141 S. Ct. 1761, 1783 n.18.
             96
                Wiener, 357 U.S. at 354 (quoting War Claims Act of 1948, Pub. L.
             No. 80-896, ch. 826, § 3, 62 Stat. 1240, 1241 (codified at 50 U.S.C.
             § 4102)).
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                                4. Free Enterprise Fund

                  The Court declined to extend Humphrey’s in Free
             Enterprise Fund v. PCAOB.97 That case involved a challenge
             to the Public Company Accounting Oversight Board’s double-
             layer removal protections — its members were removable only
             for cause by SEC commissioners who in turn were removable
             only for cause.98

                  Reversing a panel decision of this court, the Supreme
             Court rejected the Board’s structure as a violation of the
             Vesting Clause, the Take Care Clause, and the Constitution’s
             separation of powers.99 Multi-layered removal protections
             rendered the President helpless to “oversee the faithfulness of
             the officers who execute” the law.100 If an inferior officer
             performed poorly, the President could not remove him; nor
             could the President remove the poor performer’s supervisor for
             failing to carry out the desired removal.101 As a result, the
             President had no way to hold officers accountable in the
             executive branch.

                  According to Free Enterprise Fund, the Founders created
             a unitary executive in part to ensure political accountability to
             the people. Because citizens “do not vote for the ‘Officers of
             the United States,’” they must instead “look to the President to
             guide the ‘assistants or deputies . . . subject to his




             97
                561 U.S. 477 (2010).
             98
                Id. at 487.
             99
                Id. at 484, 492.
             100
                 Id. at 484.
             101
                 Id.
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                                               22
             superintendence.”102 Without this “clear and effective chain of
             command,” voters cannot identify “on whom the blame or the
             punishment” should fall when the government errs.103

                 The Court stressed that its decision did not constrain the
             size of the executive branch but instead safeguarded its
             accountability. The larger and more complex the executive
             branch becomes, the greater the risk that it will “slip from the
             Executive’s control, and thus from that of the people.”104 As
             the executive branch expands — wielding “vast power and
             touch[ing] almost every aspect of daily life” — its
             accountability to a democratically elected President is even
             more essential.105

                  Where did Free Enterprise Fund leave Myers? It called
             Myers a “landmark.”106 And it reaffirmed Myers’ “principle
             that Article II confers on the President ‘the general
             administrative control of those executing the laws,’” including
             the removal power.107

                 And Humphrey’s? The Court declined to extend that
             decision to “a new type of restriction.”108 So Free Enterprise



             102
                  Free Enterprise Fund, 561 U.S. at 497-98 (first quoting U.S.
             Const. art I, § 2, cl. 2, then quoting The Federalist No. 72 (Alexander
             Hamilton)).
             103
                 Id. at 498 (quoting The Federalist No. 70 (Alexander Hamilton)).
             104
                 Id. at 499.
             105
                 Id.
             106
                 Id. at 492.
             107
                 Free Enterprise Fund, 561 U.S. at 492 (quoting Myers, 272 U.S.
             at 164).
             108
                 Id. at 514.
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                                             23
             Fund’s reasoning “is in tension with” Humphrey’s,109
             including Humphrey’s departure from Myers’ “traditional
             default rule” that “removal is incident to the power of
             appointment.”110 For any future case about an agency in the
             “field of doubt” between Myers and Humphrey’s, the Court
             directed us to apply Myers, not Humphrey’s.

                                       5. Seila Law

                  The Court again declined to extend Humphrey’s in Seila
             Law LLC v. CFPB.111 That case presented another “new
             situation”: “an independent agency,” the Consumer Financial
             Protection Bureau, “led by a single Director and vested with
             significant executive power.”112

                 As in Free Enterprise Fund, the Supreme Court repudiated
             a decision of this court.113 And as in Free Enterprise Fund, the
             Supreme Court took the President’s absolute removal power as
             expressed in Myers as “the rule,” with Humphrey’s as a limited
             exception.114 The Court explained that Humphrey’s represents
             “the outermost constitutional limits of permissible
             congressional restrictions on the President’s removal power,”



             109
                 PHH Corp. v. CFPB, 881 F.3d 75, 194 n.18 (D.C. Cir. 2018) (en
             banc) (Kavanaugh, J., dissenting) (citing In re Aiken County, 645
             F.3d 428, 444-46 (D.C. Cir. 2011) (Kavanaugh, J., concurring)); see
             also Rao, Removal, at 1208.
             110
                 Free Enterprise Fund, 561 U.S. at 509.
             111
                 140 S. Ct. 2183, 2203 (2020).
             112
                 Id. at 2201.
             113
                 See id. at 2194 (discussing PHH Corp. v. CFPB, 881 F.3d 75
             (D.C. Cir. 2018) (en banc)).
             114
                 Id. at 2201.
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                                             24
             and it declined to extend Humphrey’s to the novel agency
             structure at issue in Seila Law.115

                 The Court fashioned a clear rule for the Humphrey’s
             exception: It applies only to “multimember expert agencies that
             do not wield substantial executive power.”116

                 Once again, Seila Law confirmed that in cases falling in
             the “field of doubt” between Myers and Humphrey’s, Myers
             controls.

                                        6. Collins

                 Collins v. Yellen applied Seila Law’s holding to another
             independent agency led by a single top officer — the Federal
             Housing Finance Authority.117 In doing so, the Court doubled
             down on its prior reasoning and has been understood by
             some — including Justice Kagan — to have gone even further
             than Seila Law in affirming the Myers default rule.118

                  First, the Court rejected the argument that FHFA’s more
             limited authority justified its removal protection.119 Instead,
             the Court reaffirmed the President’s removal power as serving
             “vital purposes” regardless of an agency’s scope or power.120


             115
                 Id. at 2200 (quoting PHH Corp., 881 F.3d at 196 (Kavanaugh, J.,
             dissenting)) (emphasis added).
             116
                 Id. at 2200-01.
             117
                 See 141 S. Ct. 1761, 1783-87 (2021).
             118
                 Id. at 1801 (Kagan, J., concurring in part and concurring in the
             judgment) (noting the majority jettisoned “significant executive
             power” from the test in Seila Law).
             119
                 Id. at 1784-85.
             120
                 Id. at 1784.
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                  Second, the Court rejected the argument that the FHFA
             doesn’t exercise executive power given its role as a conservator
             or receiver, in which it sometimes acts as “a private party.”121
             To the contrary, the FHFA derived its power from a statute and
             was tasked with interpreting and implementing that
             statute — “the very essence of execution of the law.”122 The
             FHFA’s ability to issue binding orders further confirmed that
             it “clearly exercises executive power.”123

                  Third, the Court asked whether an agency that does not
             regulate “purely private actors” might avoid the presidential
             removal rule.124 Again, the Court answered in the negative.
             Once more, it emphasized the “important purposes” served by
             the removal power, regardless of whether an agency regulates
             private actors directly.125 The implication: If an agency “can
             deeply impact the lives of millions of Americans” through its
             decisions, even indirectly, it is an agency that the President
             must be able to control.126

                 Finally, the Court addressed whether the “modest” nature
             of the FHFA director’s tenure protection — less restrictive
             than other removal clauses — warranted a different
             outcome.127 Again, the Court rejected the distinction, holding




             121
                 Id. at 1785-86.
             122
                 Collins, 141 S. Ct. at 1785 (cleaned up).
             123
                 Id. at 1786.
             124
                 Id.
             125
                 Id.
             126
                 Id.
             127
                 Collins, 141 S. Ct. at 1786.
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             that the Constitution “prohibits even ‘modest restrictions’” on
             the President’s removal power.128

                  Once again, Myers occupied the “field of doubt” between
             the (by now exceptionally broad) Myers rule and the (by now
             exceptionally narrow) Humphrey’s exception.

                          C. The State of the Doctrine Today

                 Text, history, and precedent are clear: The Constitution
             vests the “entire ‘executive Power’” in the President.129 That
             power “includes the ability to remove executive officials.”130
             Without such power, it would be “impossible for the
             President . . . to take care that the laws be faithfully
             executed.”131

                  The Supreme Court has “left in place two exceptions to the
             President’s unrestricted removal power.”132 Each of them is
             binding on lower courts, even if each of them is also on
             jurisprudential life support. One of them — Morrison v.
             Olson — is not relevant here.133

                  The second exception is Humphrey’s. It allows Congress
             to restrict the President’s removal power for “a multimember
             body of experts, balanced along partisan lines, that perform[s]
             legislative and judicial functions” and exercises “no part of the

             128
                 Id. at 1787 (quoting Seila Law, 140 S. Ct. at 2205).
             129
                 Seila Law, 140 S. Ct. at 2197.
             130
                 Id.
             131
                 Id. at 2198 (quoting Myers, 272 U.S. at 164).
             132
                 Id.
             133
                 487 U.S. 654 (1988); cf. Seila Law, 140 S. Ct. at 2200 (Morrison
             covers “inferior officers with limited duties and no policymaking or
             administrative authority”).
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                                              27
             executive power.”134 Under modern Supreme Court precedent,
             that exception stretches no further than partisan-balanced
             “multimember expert agencies that do not wield substantial
             executive power.”135

                  For a court to conclude that an executive agency wields
             substantial executive power, it need not assemble a fact-
             intensive catalog of the agency’s executive functions. The
             default: Executive agencies exercise executive power. The
             exception covers only an agency materially indistinguishable
             from the 1935 FTC, as Humphrey’s understood the 1935 FTC.

                 Why did the Supreme Court narrow Humphrey’s so
             severely in Seila Law and Collins?

                  Perhaps it was because Humphrey’s “authorize[s] a
             significant intrusion on the President’s Article II authority to
             exercise the executive power and take care that the laws be
             faithfully executed.”136

                 Or perhaps it was because Humphrey’s “did not pause to
             examine how a purpose to create a body ‘subject only to the
             people of the United States’ — that is, apparently, beyond
             control of the constitutionally defined branches of


             134
                 Id. at 2198-99 (second part quoting Humphrey’s Executor, 295
             U.S. at 628).
             135
                 Id. at 2199-2200.
                 Although the CFPB does not conduct adjudications, it’s clear that
             Seila’s “substantial executive power” test applies to adjudicatory
             agencies like the MSPB and NLRB. After all, Seila was describing
             the exception in Humphrey’s, which dealt with an adjudicatory
             agency — the 1935 FTC.
             136
                  Free Enterprise Fund, 537 F.3d at 696 (Kavanaugh, J.,
             dissenting).
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             government — could       itself        be   sustained   under   the
             Constitution.”137

                  Or perhaps it was because Humphrey’s relied on
             inconsistent separation-of-powers logic, which fails to account
             for how “an agency can at the same moment reside in both the
             legislative and the judicial branches” without infringing on “the
             ‘fundamental necessity of maintaining each of the three general
             departments of government entirely free from the control or
             coercive influence . . . of either of the others.’”138

                  Or perhaps still it was because Humphrey’s made
             incomprehensible distinctions “between ‘executive function’
             and ‘executive power.’”139 “Of course the commission was
             carrying out laws Congress had enacted; in that sense its
             functions could hardly have been characterized as other than
             executive, whatever procedures it employed to accomplish its
             ends.”140

                 Whatever the reason, without overturning Humphrey’s,
             the Supreme Court has seemed “keen to prune . . .
             Humphrey’s.”141      The Court’s recent opinions have
             “characterized the ‘independent agencies’ as executive and




             137
                  Peter L. Strauss, The Place of Agencies in Government:
             Separation of Powers and the Fourth Branch, 84 Colum. L. Rev.
             573, 611-12 (1984).
             138
                 Id. at 612 (quoting Humphrey’s Executor, 295 U.S. at 629).
             139
                 Id.
             140
                 Id.
             141
                 Aditya Bamzai & Saikrishna Bangalore Prakash, The Executive
             Power of Removal, 136 Harv. L. Rev. 1756, 1759 (2023).
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                                               29
             have rejected the notion that these agencies exercise quasi-
             legislative or quasi-judicial powers.”142

                 No wonder that Humphrey’s has been mostly ignored in
             recent years by Supreme Court majorities — like a benched
             quarterback watching Myers (and the original meaning of the
             Constitution) from the sideline.

                 To be clear, this court must “follow the case which directly
             controls, leaving to th[e] [Supreme] Court the prerogative of
             overruling its own decisions.”143         We cannot overrule

             142
                 Id.
                 Recent Supreme Court precedents have “doubted Congress’s
             ability to vest any judicial power (whether ‘quasi’ or not) in an
             executive agency.” Severino v. Biden, 71 F.4th 1038, 1050 (D.C.
             Cir. 2023) (Walker, J., concurring) (citing Oil States Energy
             Services, LLC v. Greene’s Energy Group, LLC, 138 S. Ct. 1365,
             1372-73 (2018)). And “congress cannot delegate legislative power
             to the president.” Marshall Field & Co. v. Clark, 143 U.S. 649, 692
             (1892); cf. Mistretta v. United States, 488 U.S. 361, 419 (1989)
             (Scalia, J., dissenting) (“Strictly speaking, there is no acceptable
             delegation of legislative power.”). As a result, while specifically
             listing an executive agency’s executive functions is a sufficient basis
             for concluding the President may remove that agency’s principal
             officers, it is not a necessary basis. See Collins, 141 S. Ct. at 1801
             (Kagan, J., concurring in part and concurring in the judgment)
             (arguing that Collins “broaden[ed]” Seila Law by clarifying that “the
             constitutionality of removal restrictions does not hinge on the nature
             and breadth of an agency’s authority” (cleaned up)). If it’s not
             exercising executive power, what is it doing in the executive branch?
             Cf. Severino, 71 F.4th at 1050 (Walker, J., concurring) (“[I]t might
             be that little to nothing is left of the Humphrey’s exception to the
             general rule that the President may freely remove his subordinates.”).
             143
                 Mallory v. Norfolk Southern Railway Co., 143 S. Ct. 2028, 2038
             (2023) (quoting Rodriguez de Quijas v. Shearson/American Express,
             Inc., 490 U.S. 477, 484 (1989)).
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                                              30
             Humphrey’s. And if the agency in question is the identical twin
             of the 1935 FTC (as Humphrey’s understood the 1935 FTC)
             then Humphrey’s controls.

                  But as Judge Henderson wrote in 2018, we should “be
             loath to cede any more of Article II than Humphrey’s Executor
             squarely demands.”144 Since then, Seila Law and Collins have
             turned that wisdom into a binding command on the lower
             courts. As in the context of Bivens — like Humphrey’s, a
             precedent not overruled but severely narrowed by subsequent
             decisions — “[e]ven a modest extension is still an
             extension.”145 And because the Supreme Court has forbidden
             extensions of Humphrey’s to any new contexts, we cannot
             extend Humphrey’s — not even an inch.

                                     III. Stay Factors

                  To determine whether a stay pending appeal is appropriate,
             “we ask (1) whether the applicant is likely to succeed on the
             merits, (2) whether it will suffer irreparable injury without a
             stay, (3) whether the stay will substantially injure the other
             parties interested in the proceedings, and (4) where the public
             interest lies.”146 “The first two factors . . . are the most
             critical.”147




             144
                 PHH Corp., 881 F.3d at 156 (Henderson, J., dissenting).
             145
                 Id. (Henderson, J., dissenting) (quoting Ziglar v. Abbasi, 137 S.
             Ct. 1843, 1864 (2017)).
             146
                 Ohio v. EPA, 144 S. Ct. 2040, 2052 (2024) (citing Nken v. Holder,
             556 U.S. 418, 434 (2009)).
             147
                 Nken, 556 U.S. at 434.
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                                            31
                          A. Likelihood of Success on the Merits

                  Under binding Supreme Court precedent, Congress cannot
             restrict the President’s power to remove the principal officers
             of agencies that “wield substantial executive power.”148 And
             for the reasons explained below, the NLRB and the MSPB
             “exercis[e] substantial executive authority” — as then-Judge
             Kavanaugh said in a dissent later vindicated by Seila Law.149

                  Because those agencies exercise “substantial executive
             power,”150 the Government is likely to prevail in its contention
             that the President may fire NLRB commissioners and MSPB
             members.

                                  1.   Wilcox v. Trump

                 The NLRB is an executive branch agency that administers
             federal labor law.151 It has five members who are “appointed
             by the President by and with the advice and consent of the
             Senate.”152 They serve five-year terms, and the President
             chooses “one member to serve as Chairman.”153 The statute
             purports to restrict the President’s removal power.154



             148
                 Seila Law v. CFPB, 140 S. Ct.2183, 2199-2200 (2020).
             149
                 PHH Corp. v. CFPB, 881 F.3d 75, 173 (D.C. Cir. 2018) (en banc)
             (Kavanaugh, J., dissenting).
             150
                 Seila Law, 140 S. Ct. at 2199-2200.
             151
                 29 U.S.C. §§ 153(a), 160(a).
             152
                 Id. § 153(a).
             153
                 Id.
             154
                 See id. § 153(a) (“Any member of the Board may be removed by
             the President, upon notice and hearing, for neglect of duty or
             malfeasance in office, but for no other cause.”).
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                                             32
                  By law, the NLRB is “empowered . . . to prevent any
             person from engaging in any unfair labor practice.”155 Like
             other executive agencies, it carries out this law enforcement
             mission by promulgating rules, overseeing adjudications,
             issuing cease-and-desist orders, ordering backpay, and seeking
             enforcement orders and injunctions in federal court.156

                  These are “exercises of . . . the ‘executive Power.’”157
             When Congress validly authorizes agencies to promulgate
             rules, their rulemaking is “the very essence of execution of the
             law” because it requires the agency to “interpret[] a law enacted
             by Congress to implement the legislative mandate.”158
             Likewise, when agencies choose whether to bring enforcement
             actions in federal court, their “discretion encompasses the
             Executive’s power to decide whether to initiate charges for
             legal wrongdoing and to seek punishment, penalties, or
             sanctions against individuals or entities who violate federal
             law.”159 And when agencies seek monetary relief like backpay
             “against private parties on behalf of the United States in federal
             court,” they exercise a “quintessentially executive power not
             considered in Humphrey’s Executor.”160




             155
                 Id. § 160(a).
             156
                 Id. §§ 156, 160(b)-(e), (j).
             157
                 City of Arlington v. FCC, 569 U.S. 290, 304 n.4 (2013) (quoting
             U.S. Const., art. II, § 1, cl. 1).
             158
                 Collins v. Yellen, 141 S. Ct. 1761, 1785 (2021) (cleaned up).
             159
                 In re Aiken County, 725 F.3d 255, 266 (D.C. Cir. 2013).
             160
                 Seila Law, 140 S. Ct. at 2200 (2020).
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                                              33
                  The NLRB does all that and more. It is not a “mere
             legislative or judicial aid.”161 Instead, it is a (strong) arm of the
             executive branch and wields substantial executive power.162

                 To reinstate Wilcox, the district court relied on an
             overbroad reading of Humphrey’s and a misplaced emphasis
             on twentieth-century history.

                  First, beginning with Humphrey’s, the district court
             compared the NLRB to the 1935 FTC, arguing that they share
             similar functions and authorities.163 But the two agencies are
             far from identical. For one thing, the NLRB is not subject to a
             statutorily imposed partisan-balance requirement.164 And the
             NLRB exercises authorities that the 1935 FTC did not. For
             example, it has the power to go directly to federal court to seek
             injunctions against employers or unions while a case is
             pending.165 And the NLRB’s ability to seek monetary relief
             like backpay “against private parties on behalf of the United




             161
                 Id.
             162
                  True, as the district court pointed out, the General Counsel
             (removable at will) leads investigations and prosecutions “on behalf
             of the Board.” Wilcox v. Trump, No. 25-cv-334, 2025 WL 720914,
             at *7 (D.D.C. Mar. 6, 2025) (citing 29 U.S.C. § 153(d)). But the
             General Counsel is subservient to the NLRB, which possesses the
             sole power to seek enforcement of its orders in federal court, pursue
             injunctive relief, and approve certain settlements. 29 U.S.C.
             § 160(e), (j); NLRB v. United Food & Commercial Workers Union,
             Local 23, AFL-CIO, 484 U.S. 112, 121 (1987).
             163
                 Wilcox, 2025 WL 720914 at *8-10 & n.11.
             164
                 Brian D. Feinstein & Daniel J. Hemel, Partisan Balance with Bite,
             118 Colum. L. Rev. 9, 32 (2018).
             165
                 29 U.S.C. § 160(j).
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                                               34
             States in federal court” is a “quintessentially executive power
             not considered in Humphrey’s Executor.”166

                  I suppose it is conceivable that the Humphrey’s Court
             would have upheld removal restrictions for the NLRB had it
             heard the case in 1935. But it is not our job to ask, “What
             would the 1935 Court do?” Rather, we must ask what the
             Supreme Court has done — in Humphrey’s yes, but also in
             Seila Law, Collins, and the Court’s other precedents (guided by
             the original meaning of the Constitution when binding
             precedent does not answer the question).167

                  Under Seila Law, “the Humphrey’s Executor exception
             depend[s]” on “the set of powers the [Humphrey’s] Court
             considered as the basis for its decision, not any latent powers
             that the agency may have had not alluded to by the Court.”168
             Under Collins, “the President’s removal power serves
             important purposes regardless of whether the agency in
             question affects ordinary Americans by directly regulating
             them or by taking actions that have a profound but indirect
             effect on their lives.”169

                  The district court did not grapple with these developments,
             instead fixating on Humphrey’s. Opposing the Government’s
             stay motion, Wilcox supports that approach, repeating the
             uncontroversial statement that Humphrey’s is “good law,” as if
             that requires us to read it broadly when the Supreme Court’s




             166
                 See Seila Law, 140 S. Ct. at 2200.
             167
                 See id. at 2198-99; Collins, 141 S. Ct. at 1784-86.
             168
                 Seila Law, 140 S. Ct. at 2198, 2200 n.4.
             169
                 Collins, 141 S. Ct. at 1786.
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                                           35
             more recent precedents command us to read it narrowly.170
             That approach does not faithfully apply precedent.

                  Under a faithful application of Seila Law and Collins,
             Humphrey’s controls only if an agency is materially
             indistinguishable from the 1935 FTC. Humphrey’s covers
             nothing more than that because the reasoning in Seila Law and
             Collins requires a reading of Humphrey’s that covers nothing
             more than that. In other words, Humphrey’s can cover only an
             agency that exercises no “substantial executive power.” The
             district court “chants [Humphrey’s Executor] like a mantra, but
             no matter how many times it repeats those words, it cannot give
             [Humphrey’s Executor] substance” that Seila Law and Collins
             say “that it lacks.”171

                 Strikingly, the district court gave short shrift to Collins,
             dismissing it in a footnote because it involved a single-headed
             agency and the Court “reaffirmed it ‘did not revisit its prior
             decisions.’”172 Of course neither Seila Law nor Collins
             overruled Humphrey’s. But we are not free to ignore the
             Supreme Court’s binding interpretation of its precedent simply
             because the Court didn’t overrule that precedent.

                  After Seila Law, a removal restriction is valid only if it
             (1) applies to a “multimember expert agenc[y], balanced along
             partisan lines” that (2) does not “wield substantial executive
             power.”173 Though the FHFA in Collins clearly failed the first
             prong, the Court also addressed the second prong. When
             Collins did so, it arguably “broaden[ed]” Seila Law and

             170
                 Wilcox Opp. 1, 15, 16.
             171
                 SEC v. Jarkesy, 144 S. Ct. 2117, 2138 (2024).
             172
                 Wilcox, 2025 WL 720914, at *11 n.13 (quoting Collins, 141 S.
             Ct. at 1761) (cleaned up).
             173
                 Seila Law, 140 S. Ct. at 2199-2200.
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                                              36
             narrowed Humphrey’s even more, by asking not whether an
             agency exercises “significant executive power” but only
             whether an agency exercises any “executive power.”174

                  Second, history does not support Wilcox either. The
             district court found it persuasive that no President before
             President Trump removed an NLRB commissioner.175 But
             Supreme Court precedent, not twentieth-century history,
             resolves this case. And as the district court said, Congress’s
             widespread use of independent, multimember boards and
             commissions did not begin until the early 1900s.176 So even if
             we were evaluating the original meaning of Article II on a
             blank slate, which we aren’t, that twentieth-century history
             would be of limited value for discerning the Constitution’s
             original meaning.177

                 Finally, the district court described the President’s
             removal of Wilcox as a “power grab” and “blatantly illegal.”178
             But unconstitutional statutes are void ab initio because



             174
                 Id. at 1801 (Kagan, J., concurring in part and concurring in the
             judgment).
             175
                 Wilcox, 2025 WL 720914, at *5.
             176
                 See id. at *6.
             177
                  Similarly unpersuasive is Wilcox’s assertion that Congress
             specifically designed the NLRB to be independent. Wilcox Opp. 5-
             6. That may well be true, but it does not bear on whether Article II,
             as interpreted by the Supreme Court, renders NLRB removal
             restrictions invalid. After all, “Members of Congress designed the
             PCAOB to have ‘massive power, unchecked power.’” Free
             Enterprise Fund v. PCAOB, 537 F.3d 667, 687 (D.C. Cir. 2008)
             (Kavanaugh, J., dissenting). That did not win the day at the Supreme
             Court.
             178
                 Wilcox, 2025 WL 720914, at *3, *5.
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             Congress lacks the authority to enact them.179 Such statutes are
             not law, so it is not “illegal” for the President to violate them.180
             And under the Supreme Court’s precedents, the President’s
             actions within the executive branch cannot amount to a “power
             grab” because “[t]he entire ‘executive Power’ belongs to the
             President alone.”181

                                           *    *     *

                  The NLRB exercises “substantial executive power.”182
             Therefore, the Government is likely to prevail in its argument
             that the NLRB’s removal protections are unconstitutional.

                                    2.   Harris v. Bessent

                 The Merit Systems Protection Board is an executive
             agency that resolves intra-branch disputes under the Civil


             179
                 Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803).
             180
                  Oral Arg. Tr. 77-78 (Question: “If [the statutory removal
             restrictions] are not constitutional, then would it be legal for the
             President to fire Ms. Wilcox?” Counsel for Wilcox: “I mean, I think
             you’re asking a very simple question. . . . You’re saying if we lose
             on everything and the statute is unconstitutional, does the President
             have the ability? Yes, of course.” Question: “And if the provisions
             are unconstitutional, they were always unconstitutional, right? They
             were void ab initio, right?” Counsel for Wilcox: “Yes, I think that’s
             the right way to think about the Constitution.” Question: “I do think
             these are simple questions, but I ask because the district court said
             that the President’s action was ‘blatantly illegal’ because the statute
             prohibits it. Well, if it’s an unconstitutional statute, then a statutory
             prohibition against it is not something that would make it ‘blatantly
             illegal.’” Counsel for Wilcox: “Yes . . . .”).
             181
                 See Seila Law, 140 S. Ct. at 2197.
             182
                 Id. at 2199-2200.
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             Service Reform Act.183 It has three members “appointed by the
             President, by and with the advice and consent of the Senate.”184
             They serve seven-year terms, and only two members “may be
             adherents of the same political party.”185 The Act also purports
             to restrict the President’s removal power.186

                  Under the Civil Service Reform Act, the MSPB’s powers
             are four-fold.187

                   1. It can “hear” and “adjudicate,” and ultimately “take
                      final action,” on a wide range of matters, including
                      removals, suspensions, furloughs, and demotions;
                      rights or benefits for servicemembers; whistleblower
                      complaints; Hatch Act violations; and other prohibited
                      personnel practices.188

                   2. It can “order any Federal agency or employee to
                      comply with any order or decision issued by the
                      [MSPB] . . . and enforce compliance with any such
                      order.”189

                   3. It can “conduct . . . special studies relating to the civil
                      service and to other merit systems in the executive
                      branch, and report to the President and to the Congress
                      as to whether the public interest in a civil service free

             183
                 5 U.S.C. § 1204(a).
             184
                 Id. § 1201.
             185
                 Id. §§ 1201(d), 1202(a).
             186
                 Id. § 1202 (“Any member may be removed by the President only
             for inefficiency, neglect of duty, or malfeasance in office.”).
             187
                 Id. § 1204(a).
             188
                  Id. § 1204(a)(1); see id. §§ 1214(a)(3), 1221, 1216(a), (c),
             2302(b), 4303(e), 7513(d); 38 U.S.C §§ 4322, 4324(a)(1).
             189
                 Id. § 1204(a)(2).
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                                              39
                      of prohibited personnel practices is being adequately
                      protected.”190

                   4. It can “review . . . rules and regulations of the Office
                      of Personnel Management” and “declare such
                      provision[s] . . . invalid” if it would cause an employee
                      to commit a prohibited personnel practice.191

                  These are “exercises of . . . the ‘executive Power.’”192
             Plus, the MSPB also represents itself in federal court — a
             “quintessentially executive function.”193 And a single MSPB
             member can unilaterally stay an agency’s personnel
             action — or 6,000 such actions, as it turns out194 — for 45 days
             without participation from the other members.195 That stay can
             then be extended “for any period which the Board considers
             appropriate.”196

                 Harris disagrees.        She emphasizes the MSPB’s
             “adjudicatory nature,” likening it to an “Article III court.” But

             190
                 Id. § 1204(a)(3).
             191
                 Id. § 1204(a)(4), (f); id. § 2302(b).
             192
                 City of Arlington, 569 U.S. at 304 n.4 (quoting U.S. Const., art.
             II, § 1, cl. 1).
             193
                 Seila Law, 140 S. Ct. at 2200; 5 U.S.C. § 7703(a)(2).
             194
                  Order on Stay Request, Special Counsel ex rel John Doe v.
             Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
             5, 2025), https://perma.cc/3F45-PKG5.
             195
                 5 U.S.C. § 1214(b)(1)(A)(i).
                As Judge Henderson notes, there is tension between that unilateral
             authority and Harris’s declaration, in which she claims she “cannot
             issue adjudication decisions unilaterally.” J. Henderson Op. 5 n.1
             (quoting Harris Decl. ¶ 26, Harris v. Bessent, No. 25-cv-412 (D.D.C.
             Feb. 23, 2025), ECF No. 22-3).
             196
                 Id. § 1214(b)(1)(B)(i).
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             the MSPB is not like the Federal Trade Commission in
             Humphrey’s or the War Claims Commission in Wiener because
             it resolves disputes within the executive branch.197 That
             distinguishes it from the 1935 FTC and the War Claims
             Commission, both of which adjudicated disputes between the
             government and the public. MSPB adjudication is nothing
             more than intra-branch dispute resolution. That’s an exercise
             of executive (not quasi-judicial) power.

                  In additional ways, the MSPB is not like the 1935 FTC as
             understood by Humphrey’s. It reviews the removal and
             discipline of federal employees and has the power to directly
             override other executive agencies’ disciplinary actions.198 That
             gives it a significant authority that the FTC never had.
             Additionally, the MSPB has the power to issue binding orders
             and “enforce compliance with any such order.”199 The 1935
             FTC lacked that power. It could issue cease-and-desist orders,
             but if those were disobeyed, the agency had to petition to a
             federal court to enforce its orders.200

                  Nor is the MSPB like the War Claims Commission in
             Wiener. The MSPB is a permanent body, unlike the temporary
             War Claims Commission, which served the limited purpose of
             assigning distributions from a compensation fund.201 More
             importantly, the MSPB’s powers far outstrip the War Claims
             Commission’s in a critical way — it can force the President to

             197
                 See Frazier v. MSPB, 672 F.2d 150, 154 (D.C. Cir. 1982) (the
             MSPB adjudicates “conflicts between federal workers and their
             employing agencies”).
             198
                 5 U.S.C. § 7701.
             199
                 Id. § 1204(a)(1)-(2).
             200
                 See Humphrey’s Executor, 295 U.S. at 620-21 (citing 15 U.S.C.
             § 45).
             201
                 Wiener v. United States, 357 U.S. 349, 350 (1958).
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                                             41
             work with thousands of employees he doesn’t want to work
             with, an unquestionable exercise of “substantial executive
             power.”202

                  It’s also clear that the MSPB does not exercise quasi-
             legislative functions. To the extent its ability to invalidate
             certain regulations resembles legislative activity, that authority
             does not involve public-facing regulation.203 So again, even
             under a broad reading of Humphrey’s, the MSPB’s functions
             do not align with those of the 1935 FTC or the War Claims
             Commission. The MSPB “is hardly a mere legislative or
             judicial aid.”204 It does far more than merely make “reports and
             recommendations to Congress, as the 1935 FTC did.”205

                  The district court recognized that the MSPB “preserves
             power within the executive branch by charging presidentially
             appointed [MSPB] members with mediation and initial
             adjudication of federal employment disputes.”206 But the
             district court erred in concluding that the MSPB’s “features”
             made any effect on the President’s exercise of the executive
             power “limited.”207 To the contrary, as one member of the
             Supreme Court has already acknowledged, the preserved
             power within the MSPB is “substantial executive authority.”208

                 In Harris’s tenure alone, the MSPB resolved thousands of
             cases involving “allegations that federal agencies engaged in

             202
                 Seila Law, 140 S. Ct. at 2200.
             203
                 See 5 U.S.C. § 1204(f).
             204
                 Seila Law, 140 S. Ct. at 2200.
             205
                 Id.
             206
                 Harris v. Bessent, No. 25-cv-412, 2025 WL 679303, at *6 (D.D.C.
             Mar. 4, 2025) (emphasis omitted).
             207
                 Id.
             208
                 PHH Corp., 881 F.3d at 173 (Kavanaugh, J., dissenting).
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                                            42
             prohibited personnel practices, such as targeting of federal
             employees based on political affiliation; retaliation against
             whistleblowers reporting violations of law, waste, fraud and
             abuse; discrimination; and [Uniformed Services Employment
             and Reemployment Rights Act] violations, among others.”209

                  Those cases highlight that the MSPB’s focus on internal-
             dispute resolution does not mean it is an insignificant or
             nonexecutive agency. Just because a CEO may informally
             adjudicate an internal employee dispute does not mean the
             CEO is any less the chief executive officer. It’s part of the job.
             What’s more, Harris has been a productive member of the
             MSPB, participating “in nearly 4,500 decisions” between June
             1, 2022, and February 10, 2025.210 In short, the district court’s
             self-contradictory assertion that the MSPB “does not wield
             substantial executive power, but rather spends nearly all of its
             time adjudicating inward-facing personnel matters involving
             federal employees,” tends to show that the MSPB does indeed
             exercise substantial executive power.211

                 Finally, the position of the Department of Justice two years
             ago in Severino v. Biden, supports at-will removal of MSPB
             members.212      There, DOJ argued that the President’s
             unrestricted removal power did not extend to the
             Administrative Conference of the United States because the
             Conference “does not resolve or commence matters for the
             Executive Branch or determine anyone’s rights or
             obligations.”213 The MSPB, in contrast, does “resolve . . .

             209
                 Harris, 2025 WL 679303, at *14.
             210
                 Id. at *2.
             211
                 Id. at *6 (cleaned up).
             212
                 71 F.4th 1038 (D.C. Cir. 2023).
             213
                 Appellee Supplemental Brief at 5, Severino v. Biden, 71 F.4th
             1038 (D.C. Cir. 2023) (No. 22-5047).
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                                           43
             matters for the Executive Branch”214 — sometimes several
             thousands of them in one day.215 So even according to the
             understanding of presidential removal power asserted by DOJ
             in Severino, the removal protections for MSPB members are
             unconstitutional.

                                       *    *   *

                  In sum, the Government is likely to prevail on its claim
             that MSPB members must be removable by the President at
             will and consequently that the relevant removal restrictions are
             unconstitutional.

                                B. Irreparable Harm

                 A stay applicant must show that it will be irreparably
             harmed absent a stay.216

                  Here, the Government contends that the President suffers
             irreversible harm each day the district courts’ injunctions
             remain in effect because he is deprived of the constitutional
             authority vested in him alone. I agree.

                   Article II vests the President with the “entire ‘executive
             Power,’” which “generally includes the ability to remove
             executive officials.”217 The district courts’ orders effectively
             nullify that power. That level of interference is “virtually
             unheard of,” and “it impinges on the ‘conclusive and
             preclusive’ power through which the President controls the
             214
                 Id.
             215
                  Order on Stay Request, Special Counsel ex rel John Doe v.
             Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
             5, 2025), https://perma.cc/3F45-PKG5.
             216
                 Nken, 556 U.S. at 434.
             217
                 Seila Law, 140 S. Ct. at 2197.
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             Executive Branch that he is responsible for supervising.”218 If
             the President “loses confidence in the intelligence, ability,
             judgment, or loyalty of any one of [his subordinates], he must
             have the power to remove him without delay.”219

                   To be clear, this is not an abstract constitutional injury; it
             is a serious, concrete harm. Each year, the NLRB oversees tens
             of thousands of unfair labor practice charges and decides (on
             average) roughly 200 cases.220 Additionally, the NLRB lacks
             a quorum without Wilcox, meaning the district court’s order
             tips the scales in favor of political appointees that do not share
             the President’s policy objectives. The President’s removal
             power, properly understood, avoids that result.221

                  As for the MSPB, just this month, upon the motion of a
             judicially reinstated Special Counsel, Harris (also judicially
             reinstated) stayed the termination of roughly 6,000
             probationary employees.222         Now, in opposing the
             Government’s stay motion, Harris assures us that we need not
             worry about such actions because the President (after action by
             this court) replaced the Special Counsel. But even if Harris no
             longer has the opportunity to stay personnel actions, she

             218
                 Dellinger v. Bessent, No. 25-5028, 2025 WL 559669, at *14, *16
             (D.C. Cir. Feb. 15, 2025) (Katsas, J., dissenting) (quoting Trump v.
             United States, 144 S. Ct. 2312, 2327-28 (2024)).
             219
                 Myers, 272 U.S. at 134 (emphasis added).
             220
                 Wilcox, 2025 WL 720914, at *17; Board Decisions Issued,
             NLRB, perma.cc/T9XE-TF8M.
             221
                  Such disagreement on policy is not mere speculation; the
             President cited the NLRB’s recent policy decisions as a partial basis
             for Wilcox’s removal.
             222
                 Order on Stay Request at 11, Special Counsel ex rel John Doe v.
             Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
             5, 2025), https://perma.cc/3F45-PKG5.
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             continues to play an ongoing role in resolving intra-branch,
             employee-employer clashes, against the wishes of the “one
             person” who is “responsible for all decisions made by and in
             the Executive Branch.”223

                  The Government has established a likelihood of
             irreparable harm.

                            C. Harm to Removed Officials

                  Although the two “most critical” factors support issuing
             stays, I also consider whether those stays “will substantially
             injure the other parties interested in the proceeding.”224

                  They will not. Harris and Wilcox identify harms that are
             either incognizable or outweighed by the irreparable harm
             suffered by the Government under the district courts’
             injunctions.225

                  First, Wilcox and Harris assert a statutory right to remain
             in office. According to Harris, a stay will prevent her “from
             fulfilling her duties while removed,” which she says is
             irreparable because she “took an oath of office to fulfill specific
             statutory functions set out by Congress.”226 Similarly, Wilcox




             223
                  Free Enterprise Fund, 537 F.3d at 689 (Kavanaugh, J.,
             dissenting).
             224
                 Nken, 556 U.S. at 434.
             225
                  Vague assertions about presidential removal committing
             “violence to the statute Congress enacted” will not suffice — even
             setting aside that an unconstitutional statutory provision cannot be
             validly enacted. See Harris Opp. 23.
             226
                 Harris Opp. 23.
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             suggests that her removal “prevents her from carrying out the
             duties Congress has assigned to her.”227

                  The assertion of a “statutory right” is, of course, entangled
             with the merits because a statutory right exists only if the
             statute is constitutional. I’ve explained why the removal
             provisions here are likely not constitutional. And I assume that
             Wilcox and Harris each took an oath to “support and defend the
             Constitution.”228 So I’m not convinced that their removals
             inflict any irreparable harm.

                  Second, both Harris and Wilcox allege that if we issue a
             stay, their agencies will be harmed. Specifically, Wilcox
             argues that she (and the other NLRB commissioners) will be
             “deprived of the ability to carry out their congressional
             mandate in protecting labor rights” and “suffer an injury due to
             the loss of the office’s independence.”229 She adds that her
             removal “eliminated a quorum, . . . bringing an immediate and
             indefinite halt to the NLRB’s critical work.”230 For her part,
             Harris contends “a stay would mar the very independence that
             Congress afforded Harris and the other members of the
             Board.”231

                  To begin, those are institutional interests, not personal
             interests, so we may take them into account only as they relate
             to the public interest. Even then, this court recently doubted its
             ability to “balance [one agency’s] asserted public interest
             against the public interest asserted by the rest of the executive

             227
                 Wilcox Opp. 21 (quoting Harris v. Bessent, No. 25-cv-412, 2025
             WL 521027, at *8 (D.D.C. Feb. 18, 2025)).
             228
                 5 U.S.C. § 3331.
             229
                 Wilcox, 2025 WL 720914, at *15-16.
             230
                 Wilcox Opp. 21.
             231
                 Harris Opp. 23.
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             branch.”232 Even assuming a court could weigh those
             conflicting governmental interests, Wilcox admits the
             President “could easily establish a majority on the Board by
             appointing members to fill its two vacant positions,” solving
             the quorum problem.233 And if that were not the case, “the fact
             that a given law or procedure is efficient, convenient, and
             useful in facilitating functions of government, standing alone,
             will not save it if it is contrary to the Constitution.”234

                                    D. Public Interest

                  Staying these cases pending appeal is in the public
             interest. The people elected the President, not Harris or
             Wilcox, to execute the nation’s laws.235

                  The forcible reinstatement of a presidentially removed
             principal officer disenfranchises voters by hampering the
             President’s ability to govern during the four short years the
             people have assigned him the solemn duty of leading the
             executive branch.236 One may honestly believe that labor
             disputes and personnel matters are more conveniently or
             efficiently resolved by an independent agency, but




             232
                 Order at 7, Dellinger v. Bessent, No. 25-5052 (D.C. Cir. Mar. 10,
             2025).
             233
                 Wilcox Opp. 20.
             234
                 INS v. Chadha, 462 U.S. 919, 944 (1983).
             235
                 See Seila Law, 140 S. Ct. at 2203 (“Only the President (along with
             the Vice President) is elected by the entire Nation.”); see also
             Andrew Jackson, Presidential Proclamation, 11 Stat. 771, 776 (Dec.
             10, 1832) (“We are one people in the choice of President and Vice-
             President.”).
             236
                 PHH Corp., 881 F.3d at 137 (Henderson, J., dissenting).
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             “[c]onvenience and efficiency are not the primary objectives—
             or the hallmarks—of democratic government.”237

                                       IV. Conclusion

                  The district courts did their level best in rushed
             circumstances to follow Supreme Court precedent. But their
             fidelity to that precedent was unduly selective. By reading
             Humphrey’s Executor in an expansive manner, they read it in a
             manner that Seila Law and Collins preclude. Though those
             cases did not overturn Humphrey’s Executor, their holdings
             relied on an exceptionally narrow reading of it.

                  Even the most casual reader will have guessed by now that
             I agree with how Seila Law and Collins read Humphrey’s
             Executor. But even if I disagreed with them, this court would
             lack the authority to undo what they did. For a lower court like
             us, that would be a “power grab.”238




             237
                   Chadha, 462 U.S. at 944.
             238
                   Wilcox, 2025 WL 720914, at *3.
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                  KAREN LECRAFT HENDERSON, Circuit Judge, concurring
             in the grants of stay: I agree with many of the general
             principles in Judge Walker’s opinion about the contours of
             presidential power under Article II of the Constitution,
             although I view the government’s likelihood of success on the
             merits as a slightly closer call. Whatever the continuing vitality
             of Humphrey’s, I agree that we should not extend it in this
             preliminary posture during the pendency of these highly
             expedited appeals. I write separately to highlight areas of the
             merits inquiry that remain murky and to emphasize that the
             government has easily carried its burden of showing irreparable
             harm—the second of the two “most critical” stay factors. Nken
             v. Holder, 556 U.S. 418, 434 (2009).

                                            A.

                  I do not repeat at length here my views on the presidential
             removal power doctrine pre-Seila Law LLC v. CFPB, 591 U.S.
             197 (2020), which I expressed in PHH Corp. v. CFPB, 881
             F.3d 75, 138 (D.C. Cir. 2018) (en banc) (Henderson, J.,
             dissenting). Instead, I emphasize certain ways in which Seila
             Law left unclear where the rule from Myers v. United States,
             272 U.S. 52 (1926), ends and the exception from Humphrey’s
             Executor, 295 U.S. 602 (1935), begins.

                  Seila Law described the scope of the Humphrey’s Executor
             exception as applying to “multimember expert agencies that do
             not wield substantial executive power.” 591 U.S. at 218. The
             Court first observed that the CFPB is not a multimember expert
             agency because it “is led by a single Director who cannot be
             described as a ‘body of experts’ and cannot be considered ‘non-
             partisan’ in the same sense as a group of officials drawn from
             both sides of the aisle.” Id. The Court then distinguished the
             CFPB from the 1935 FTC—which had been characterized as a
             “mere legislative or judicial aid”—based on three sets of
             powers. Id. Those powers “must be exercises of” the
             “executive Power” under our constitutional structure but they
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             can “take ‘legislative’ and ‘judicial’ forms.” Id. at 216 n.2
             (quoting City of Arlington v. FCC, 569 U.S. 290, 305 n.4
             (2013)).

                  First, in terms of executive power with a legislative form
             the CFPB Director “possesses the authority to promulgate
             binding rules fleshing out 19 federal statutes, including a broad
             prohibition on unfair and deceptive practices in a major
             segment of the U.S. economy.” Seila Law, 591 U.S. at 218.
             Second, as to executive power with a judicial form, “the
             Director may unilaterally issue final decisions awarding legal
             and equitable relief in administrative adjudications.” Id. at 219.
             Third, regarding purely executive power, “the Director’s
             enforcement authority includes the power to seek daunting
             monetary penalties against private parties on behalf of the
             United States in federal court—a quintessentially executive
             power not considered in Humphrey’s Executor.” Id. Based on
             the breadth of those three powers, and before going on to raise
             other concerns about the novelty of the CFPB’s structure, the
             Court held that the CFPB was “[u]nlike the New Deal-era FTC
             upheld [in Humphrey’s].” Id. at 218.

                  The next question becomes what kind of agency—single-
             or multi-headed—falls on either side of Seila Law’s
             “substantial executive power” dividing line. On the one hand,
             a plurality of the Seila Law court mused in its discussion of
             severability that “[o]ur severability analysis does not foreclose
             Congress from pursuing alternative responses to the problem—
             for example, converting the CFPB into a multimember
             agency.” Id. at 237 (Roberts, C.J.). But simply converting the
             CFPB into a multi-headed agency could not have sufficed
             because the Court had earlier explained that the CFPB failed
             the Humphrey’s “substantial executive power” test. See Seila
             Law, 591 U.S. at 218–19 (maj. op.) (explaining why the CFPB
             itself falls outside the Humphrey’s exception). Perhaps the
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             plurality’s dictum in another section of the opinion meant that
             such a response would be a necessary but not sufficient
             condition. Conversely, Seila Law’s gloss on Humphrey’s did
             use the same phrase—“substantial executive power”—as
             Justice Kavanaugh’s dissent in PHH when he was a judge on
             this court. 881 F.3d at 167 (Kavanaugh, J., dissenting). That
             opinion listed both the NLRB and the MSPB as “agencies
             exercising substantial executive authority.” Id. at 173.

                  In Collins v. Yellen, the Court further explained that “the
             nature and breadth of an agency’s authority is not dispositive
             in determining whether Congress may limit the President’s
             power to remove its head.” 594 U.S. 220, 251–52 (2021).
             Instead, “[c]ourts are not well-suited to weigh the relative
             importance of the regulatory and enforcement authority of
             disparate agencies, and we do not think that the
             constitutionality of removal restrictions hinges on such an
             inquiry.” Id. at 253; see also id. at 273 (Kagan, J., concurring
             in part and concurring in the judgment) (recognizing Collins’
             “broadening” of Seila Law); id. at 293 (Sotomayor, J.,
             concurring in part and dissenting in part) (same). However,
             Collins did not discuss Humphrey’s and the Court
             characterized its decision as a “straightforward application of
             our reasoning in Seila Law” because the agency there was also
             “led by a single Director.” Id. at 251 (maj. op.). Thus, it is not
             clear that Collins’ instruction not to weigh up the nature and
             breadth of an agency’s authority extends to multimember
             boards.

                  Accordingly, reasonable minds can—and often do—
             disagree about the ongoing vitality of the Humphrey’s
             exception. See, e.g., Consumers’ Rsch. v. CPSC, 98 F.4th 646
             (5th Cir.) (mem.) (splitting 9–8 on whether to grant rehearing
             en banc on the constitutionality of the Consumer Product
             Safety Commission’s removal restrictions). But simply
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             applying Seila Law’s test and examining both the NLRB’s and
             the MSPB’s executive powers—regardless of their legislative,
             judicial and executive forms—the government has satisfied its
             burden of showing a strong likelihood that they are substantial.
             Both Wilcox and Harris concede that their agencies wield
             substantial power of an “adjudicative” form—indeed, that is
             how they hope to fall within the Humphrey’s exception. We
             must therefore consider those powers that are of a legislative
             and executive form.

                  The NLRB has traditionally preferred to set precedent by
             adjudicating, Wilcox v. Trump, 2025 WL 720914, at *9
             (D.D.C. Mar. 6, 2025), but it retains broad authority of a
             legislative form to promulgate “such rules and regulations as
             may be necessary to carry out” its statutory mandate, 29 U.S.C.
             § 156. Moreover, its regulatory authority over labor relations
             affects a “major segment of the U.S. economy.” Seila Law,
             591 U.S. at 218. Indeed, the district court explained that the
             NLRB was established by the Congress “in response to a long
             and violent struggle for workers’ rights,” Wilcox, 2025
             WL 720914, at *3, and emphasized its indisputably “important
             work,” id. at *17. Granted, the NLRB’s executive power is
             partly bifurcated because the General Counsel investigates
             charges and prosecutes complaints before the Board. See 29
             U.S.C. § 153(d). However, as Judge Walker points out, the
             Board retains the power to “seek monetary relief like backpay
             ‘against private parties on behalf of the United States in federal
             court,’ [which is] a ‘quintessentially executive power not
             considered in Humphrey’s Executor.’” Op. (Walker, J.) at 32
             (quoting Seila Law, 591 U.S. at 219).

                  The MSPB’s powers are relatively more circumscribed. In
             terms of power of a legislative form, its rulemaking authority
             is limited to issuing “such regulations as may be necessary for
             the performance of its functions.” 5 U.S.C. § 1204(h).
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             However, it possesses the negative power, even if rarely used,
             to review sua sponte and invalidate regulations issued by the
             Office of Personnel Management. Id. § 1204(f). As to power
             of an executive form, at least in certain circumstances it
             represents itself litigating in federal court. See Harris Decl.
             ¶ 33 (Harris Opp’n App. B at 7–8); 5 U.S.C. §§ 1204(i),
             7703(a)(2). As the Supreme Court stated in Buckley v. Valeo,
             424 U.S. 1, 139–40 (1976), the “responsibility for conducting
             civil litigation in the courts of the United States for vindicating
             public rights” is one of the “executive functions.” The MSPB’s
             litigation power also distinguishes it from other agencies that
             cannot be respondents in federal court. See, e.g., Oil, Chem. &
             Atomic Workers Int’l Union v. OSHRC, 671 F.2d 643, 651–53
             (D.C. Cir. 1982) (explaining that the Occupational Safety and
             Health Review Commission cannot be a respondent in federal
             court and contrasting it with the NLRB). And Harris as a single
             MSPB member recently wielded considerable power over the
             executive by temporarily reinstating thousands of probationary
             employees. Order on Stay Request (Mar. 5, 2025) (Harris
             Opp’n App. C).1

                  Granted, in Seila Law the Court distinguished the Office
             of the Special Counsel from the CFPB in part because the OSC
             “does not bind private parties,” 591 U.S. at 221, and the MSPB
             similarly operates entirely within the executive branch. But it
             may be that the Court was simply highlighting that the CFPB
             posed more of a threat to individual liberty than the OSC rather
             than diminishing the constitutional problem of dividing power
             within the executive branch. Compare PHH, 881 F.3d at 183
             (Kavanaugh, J., dissenting) (emphasizing the CFPB’s structure

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                Indeed, Harris’s declaration recites that she “cannot issue
             adjudication decisions unilaterally,” Harris Decl. ¶ 26 (Harris Opp’n
             App. B at 5), thereby conceding that perhaps her most expansive
             action to date—“staying” the termination of executive branch
             employees by the thousands—is not in fact adjudicative.
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             as a threat to individual liberty), with Seila Law, 591 U.S. at
             223 (explaining that the Framers sought to “divide” the
             legislative power and “fortif[y]” the executive power) (quoting
             The Federalist No. 51 (J. Madison)).

                  Accordingly, the first Nken factor is a somewhat closer call
             in my view than in Judge Walker’s but the government has met
             its “strong showing” burden at this stage because of the
             substantial executive power that the NLRB and MSPB both
             wield.

                                            B.

                 In addition, the government has more than satisfied its
             burden to show irreparable harm that far outweighs any harm
             to Harris and Wilcox from a stay. As Harris concedes, the
             “question of whether the government will prevail is distinct
             from whether the government will suffer irreparable harm
             absent a stay.” Harris Opp’n 19. Thus, we consider whether
             any harm suffered by the government can be undone if it
             prevails.

                  As this panel explained in Dellinger v. Bessent, “it is
             impossible to unwind the days during which a President is
             ‘directed to recognize and work with an agency head whom he
             has already removed.’” Dellinger v. Bessent, No. 25-5052, slip
             op. at 6 (D.C. Cir. Mar. 10, 2025) (alterations omitted) (quoting
             Dellinger v. Bessent, 2025 WL 559669, at *16 (D.C. Cir. Feb.
             15, 2025) (Katsas, J., dissenting)). Such a requirement
             encroaches on the President’s “conclusive and preclusive”
             power to supervise those wielding executive power on his
             behalf. Trump v. United States, 603 U.S. 593, 608–09 (2024)
             (citing Seila Law, 591 U.S. at 204; Myers, 272 U.S. at 106).

                 Harris is also wrong to downplay the government’s injury
             as a “vague assertion of harm to the separation of powers.”
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             Harris Opp’n 20. In addition to the concrete actions by the
             NLRB and the MSPB that Judge Walker details, Op. (Walker,
             J.) at 45, the executive branch—not merely the separation of
             powers—is harmed through (1) a “[d]iminution of the
             Presidency” and (2) a “[l]ack of accountability,” see PHH, 881
             F.3d at 155–60 (Henderson, J., dissenting).

                  First, as the Supreme Court explained in Free Enterprise
             Fund v. PCAOB, 561 U.S. 477, 499 (2010), our “Constitution
             was adopted to enable the people to govern themselves,
             through their elected leaders.” The growth of the “headless
             Fourth Branch” of government, FCC v. Fox Television
             Stations, Inc., 556 U.S. 502, 525–26 (2009) (Scalia, J.),
             “heightens the concern that [the Executive Branch] may slip
             from the Executive’s control, and thus from that of the people,
             Free Enter. Fund, 561 U.S. at 499. It is incongruous with the
             President’s duty to “take Care that the Laws be faithfully
             executed,” U.S. Const. art. II, § 3, that he be “fasten[ed]” with
             principal officers who “by their different views of policy might
             make his taking care that the laws be faithfully executed most
             difficult or impossible,” Myers, 272 U.S. at 131. It makes no
             difference that the President can appoint the chair or other
             members of a board to reduce the magnitude or duration of this
             diminution—it is a diminution nonetheless. See PHH, 881
             F.3d at 156–57 (Henderson, J., dissenting) (“Even assuming
             the CFPB violates Article II only some of the time—a year
             here, a couple years there—that is not a strong point in its
             favor.”).

                  Second, the Framers decided to check the President’s
             uniquely concentrated power by making him “the most
             democratic and politically accountable official in
             Government.” Seila Law, 591 U.S. at 224. That accountability
             is “enhanced by the solitary nature of the Executive Branch,
             which provides ‘a single object for the jealousy and
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             watchfulness of the people.’” Id. (quoting The Federalist No.
             70 (A. Hamilton)). Accordingly, the President “cannot
             delegate ultimate responsibility or the active obligation to
             supervise that goes with it . . . .” Id. (quoting Free Enter. Fund,
             561 U.S. at 496–97). Without the power to remove principal
             officers, “the President could not be held fully accountable for
             discharging his own responsibilities; the buck would stop
             somewhere else.” Free Enter. Fund, 561 U.S. at 514. That the
             buck would stop with members of a board rather than a solitary
             agency head obstructing his agenda does not eliminate his
             injury.

                  Conversely, both Harris and Wilcox assert harm from their
             inability to perform their official functions in addition to any
             backpay to which they may be entitled if they prevail. See
             Wilcox Opp’n 21 (arguing harm of deprivation of “statutory
             right to function”) Harris Opp’n 23 (arguing stay will “prevent
             Harris from fulfilling her duties”). Indeed, the district courts
             found injuries to Harris and Wilcox in being deprived of the
             “statutory right to function” as well as distinct injuries to their
             agencies. Harris v. Bessent, 2025 WL 679303, at *13 (D.D.C.
             Mar. 13, 2025) (quoting Berry v. Reagan, 1983 WL 538, at *5
             (D.D.C. Nov. 14, 1983), vacated as moot, 732 F.2d 949 (D.C.
             Cir. 1983) (per curiam)); see also Wilcox, 2025 WL 720914, at
             *15–16 (citing Berry, 1983 WL 538, at *5). Needless to say,
             we are not bound by a vacated district court decision from 40
             years ago. At this stage at least, it is far from clear that Harris
             or Wilcox may assert rights against the executive branch on
             behalf of their offices or agencies as opposed to themselves
             personally. See Op. (Walker, J.) at 46–48.

                  For its part, the government cites Raines v. Byrd, 521 U.S.
             811, 820 (1997), for the proposition that “public officials have
             no individual right to the powers of their offices.” Harris Gov’t
             Mot. 3; Wilcox Gov’t Mot. 3. The Supreme Court in Raines
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             pointed out that if a federal court were to have heard a dispute
             between the President and the Congress about the
             constitutionality of restrictions on the presidential removal
             power, it “would have been improperly and unnecessarily
             plunged into the bitter political battle being waged between”
             them. Raines, 521 U.S. at 827. Instead, Presidents wait for “a
             suit brought by a plaintiff with traditional Article III standing.”
             Id. Here, we are being asked to enter a political battle between
             the institutional offices of the NLRB, the MSPB and other
             executive-branch officials, including the President.

                   The district court in Harris sought to distinguish Raines by
             observing that it addressed whether legislators had standing to
             challenge a vote that did not go their way, that the injury was
             diffused across members of the Congress and that “the
             legislators did not claim injury arising from ‘something to
             which they personally are entitled.’” 2025 WL 679303, at *13
             (quoting Raines, 521 U.S. at 821). But the next clause of the
             quoted language reads: “such as their seats as Members of
             Congress after their constituents had elected them.” Raines,
             521 U.S. at 821. Here, voters elected the President, not Harris
             or Wilcox. As in Raines, Harris’s and Wilcox’s “injury thus
             runs (in a sense) with the Member’s seat, a seat which the
             Member holds (it may quite arguably be said) as trustee . . . ,
             not as a prerogative of personal power.” Id. (citing The
             Federalist No. 62 (J. Madison)). Moreover, in Raines the
             legislators “had not been authorized to represent their
             respective Houses of Congress in th[e] action, and indeed both
             Houses actively oppose[d] their suit.” Id. at 829. Here, there
             is at least a serious question whether Harris and Wilcox seek to
             vindicate personal rights or only those of the office and agency,
             and their suits are actively opposed by their own branch of
             government.
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                  As we recently explained in Dellinger, “[a]t worst” Harris
             and Wilcox “would remain out of office for a short period of
             time.” Dellinger, slip op. at 7. Because we have ordered highly
             expedited merits briefing with the agreement of the parties, that
             period is particularly brief. See Order, Wilcox v. Trump, No.
             25-5057 (D.C. Cir. Mar. 18, 2025); Order, Harris v. Bessent,
             No. 25-5037 & 25-5055 (D.C. Cir. Mar. 18, 2025). “By
             contrast, the potential injury to the government of . . . having
             to try and unravel [Harris’s and Wilcox’s] actions is
             substantial.” Dellinger, slip op. at 7. Thus, even if the first
             Nken factor is not a lead-pipe cinch, the injury-focused factors
             plainly favor a stay.

                                            C.

                  In terms of the public interest, and as we explained in
             Dellinger, it is not clear how we could balance Harris’s and
             Wilcox’s asserted public interest on behalf of the MSPB and
             NLRB continuing to function as the Congress intended against
             the public interest asserted by the rest of the executive branch.
             See Dellinger, slip op. at 7. And of course, “[o]nly the
             President (along with the Vice President) is elected by the
             entire Nation.” Seila Law, 591 U.S. at 224. At minimum, this
             factor does not weigh in Harris’s and Wilcox’s favor.

                                          ***

                  Accordingly, the government has met its burden for grants
             of a stay during the pendency of these appeals.
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                 MILLETT, Circuit Judge, dissenting: The two opinions
             voting to grant a stay rewrite controlling Supreme Court
             precedent and ignore binding rulings of this court, all in favor
             of putting this court in direct conflict with at least two other
             circuits. The stay decision also marks the first time in history
             that a court of appeals, or the Supreme Court, has licensed the
             termination of members of multimember adjudicatory boards
             statutorily protected by the very type of removal restriction the
             Supreme Court has twice unanimously upheld.

                 What is more, the stay order strips the National Labor
             Relations Board and the Merit Systems Protection Board of the
             quora that the district courts’ injunctions preserved, disabling
             agencies that Congress created and funded from acting for as
             long as the President wants them out of commission. That
             decision will leave languishing hundreds of unresolved legal
             claims that the Political Branches jointly and deliberately
             channeled to these expert adjudicatory entities. In addition, the
             majority decisions’ rationale openly calls into question the
             constitutionality of dozens of federal statutes conditioning the
             removal of officials on multimember decision-making
             bodies—everything from the Federal Reserve Board and the
             Nuclear Regulatory Commission to the National
             Transportation Safety Board and the Court of Appeals for
             Veterans Claims.

                 That would be an extraordinary decision for a lower federal
             court to make under any circumstances. But what makes it
             even more striking is that all we are supposed to decide today
             is whether a stay pending appeal should issue. As to that
             narrow question, the stay decision is an unprecedented and, in
             my view, wholly unwarranted use of this court’s stay power,
             which is meant only to maintain the status quo pending an
             appeal.      See Nken v. Holder, 556 U.S. 418, 429
             (2009) (“A stay simply suspend[s] judicial alteration of
             the status quo,” which is defined as “the state of affairs before
             the removal order[s] [were] entered.”) (citation omitted);
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             Washington Metro. Area Transit Comm’n v. Holiday Tours,
             Inc., 559 F.2d 841, 844 (D.C. Cir. 1977) (A stay pending appeal
             is “preventative, or protective; it seeks to maintain the status
             quo pending a final determination of the merits of the suit.”);
             see also Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733–734
             (D.C. Cir. 2022) (“[T]he status quo [i]s ‘the last peaceable
             uncontested status’ existing between the parties before the
             dispute developed.”) (quoting 11A Charles Alan Wright,
             Arthur R. Miller & Mary Kay Kane, Federal Practice and
             Procedure § 2948 (3d ed. 1998)).

                  I cannot join a decision that uses a hurried and preliminary
             first-look ruling by this court to announce a revolution in the
             law that the Supreme Court has expressly avoided, and to trap
             in legal limbo millions of employees and employers whom the
             law says must go to these boards for the resolution of their
             employment disputes. I would deny a stay.

                                            I

                                            A

                 These cases arise out of the summary termination, without
             notice, of two members of multimember adjudicatory bodies
             that Congress created to resolve disputes impartially and free
             of political influence for reasons of grave national importance.

                  Cathy Harris is a member of the Merit Systems Protection
             Board (“MSPB”). The MSPB is an adjudicatory body that
             primarily reviews federal employees’ appeals alleging that
             their government employer discriminated against them based
             on their race, color, gender, political affiliation, religion,
             national origin, age, disability, or marital status; retaliated
             against them for whistleblowing; failed to comply with
             protections for veterans; or otherwise subjected them to an
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             adverse employment action, such as termination, suspension,
             or a reduction in pay grade, 5 U.S.C. §§ 1204(a)(1); 1221;
             2302(b)(1), (8)–(9); 3330a(d); 7512.

                 The MSPB has three members who are appointed by the
             President with the advice and consent of the Senate to serve
             seven-year terms. 5 U.S.C. §§ 1201, 1202(a)–(c). No more
             than two members of the MSPB may belong to the same
             political party. Id. § 1201. The President can also appoint one
             of the members, with the advice and consent of the Senate, as
             the Chair of the MSPB. Id. § 1203(a). MSPB members may
             be removed only for “inefficiency, neglect of duty, or
             malfeasance in office.” Id. § 1202(d).

                   Gwynne Wilcox is a member, and former Chair, of the
             National Labor Relations Board (“NRLB”), which Congress
             charged with “prevent[ing] any person from engaging in any
             unfair labor practice[.]” 29 U.S.C. § 160(a). The NLRB has
             two distinct parts. The five-member Board, on which Wilcox
             sits, adjudicates appeals of labor disputes from administrative
             law judges. Id. § 153(a). Separately, the NLRB General
             Counsel prosecutes unfair labor-practice charges. Id. § 153(d);
             see also NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 139
             (1975).      These two divisions of the Board operate
             independently. NLRB. v. United Food & Com. Workers Union,
             Loc. 23, AFL-CIO, 484 U.S. 112, 118 (1987).

                 When reviewing administrative law judge decisions, the
             NLRB reviews the entire record, receives briefing, and issues
             its own decision on both the facts and the law. 29 U.S.C.
             § 160(c); 29 C.F.R. § 101.12. The Board may issue a cease-
             and-desist order to halt unfair labor practices, or it may issue
             an order requiring reinstatement of terminated employees, with
             or without backpay, and similar equitable remedies. 29 U.S.C.
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             § 160(c). These orders, however, are not self-executing. They
             are enforceable only by a federal court. Id. § 160(e).

                 The President appoints NLRB members with the advice
             and consent of the Senate, and the members serve staggered
             five-year terms. 29 U.S.C. § 153(a). The President also
             designates one of the members to serve as Chair. Id. Congress
             limited the President’s power to remove a Board member to
             “neglect of duty or malfeasance in office,” and required
             advance notice and a hearing. Id. In contrast, the President
             may remove the General Counsel at will. See id. § 153(d).

                                            B

                                            1

                 Cathy Harris began her seven-year term as a member of the
             MSPB in June 2022. On February 10, 2025, Harris received
             an email from the White House Office of Presidential
             Personnel stating: “On behalf of President Donald J. Trump, I
             am writing to inform you that your position on the Merit
             Systems Protection Board is terminated, effective
             immediately.” Declaration of Cathy Harris (“Harris Decl.”)
             ¶ 4. The email did not allege any inefficiency, neglect of duty,
             or malfeasance on Harris’s part.

                 Harris filed suit on February 11th, challenging her removal
             as ultra vires, unconstitutional, and a violation of the
             Administrative Procedure Act. She sought relief under the
             Declaratory Judgment Act, issuance of a writ of mandamus,
             and equitable relief. The district court awarded summary
             judgment to Harris and granted a permanent injunction and
             declaratory relief maintaining her in office. Harris v. Bessent,
             __ F. Supp. 3d __, No. 25-cv-412 (RC), 2025 WL 679303, at
             *3 (D.D.C. March 4, 2025). The court added that, if equitable
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             relief were “unavailable[,]” it would issue a writ of mandamus
             “as an alternative remedy at law.” Id. at *15.

                                            2

                  Gwynne Wilcox was confirmed in September 2023 for her
             second term as a member of the NLRB. President Biden
             designated her Chair of the Board in December 2024. On
             January 27, 2025, Wilcox received an email from the White
             House Office of Presidential Personnel stating that she was
             “hereby removed from the office of Member[] of the National
             Labor Relations Board.” Declaration of Gwynne Wilcox Ex.
             A, at 1. Wilcox did not receive the statutorily required advance
             notice of her termination, and the email did not offer Wilcox a
             hearing or claim any neglect of duty or malfeasance on her part.
             Id.; see also Motions Hearing Tr. 51:6–14 (March 5, 2025)
             (government acknowledging that Wilcox was not “removed for
             any neglect or malfeasance”).

                 Wilcox sued President Trump and the new Board
             Chairman, Marvin Kaplan, on February 5th, alleging that her
             removal violated the National Labor Relations Act. Her
             complaint sought an injunction directing Kaplan to reinstate
             her as a member of the Board. Because the suit involved only
             questions of law, Wilcox promptly moved for expedited
             summary judgment. The district court granted summary
             judgment for Wilcox, holding that her removal was unlawful
             and issued a permanent injunction maintaining her in office.
             Wilcox v. Trump, __ F. Supp. 3d__, No. 25-cv-334 (BAH),
             2025 WL 720914, at *5, 18 (D.D.C. Mar. 6, 2025).
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                The government appealed the judgments in both Harris’s
             and Wilcox’s cases and seeks a stay of the district courts’
             judgments.

                                             II

                 A stay pending appeal is an “extraordinary” remedy.
             Citizens for Resp. & Ethics in Washington v. Federal Election
             Comm’n, 904 F.3d 1014, 1017 (D.C. Cir. 2018) (per curiam).
             To obtain such exceptional relief, the stay applicant must (1)
             make a “strong showing that [it] is likely to succeed on the
             merits” of the appeal; (2) demonstrate that it will be
             “irreparably injured” before the appeal concludes; (3) show
             that issuing a stay will not “substantially injure the other parties
             interested in the proceeding”; and (4) establish that “the public
             interest” favors a stay. Nken, 556 U.S. at 434 (quoting Hilton
             v. Braunskill, 481 U.S. 770, 776 (1987)).

                  The government has satisfied none of those stay factors.
             First, the government has failed to make any showing, let alone
             a “strong showing[,] that [it] is likely to succeed on the merits”
             in its appeal to this court. Nken, 556 U.S. at 434; see also id.
             (the likelihood of success on the merits and irreparable injury
             are the “most critical” factors). Controlling Supreme Court
             precedents—Humphrey’s Executor v. United States, 295 U.S.
             602 (1935), and Wiener v. United States, 357 U.S. 349
             (1958)—establish that the MSPB and NLRB’s for-cause
             removal protections are constitutional. Circuit precedent binds
             this panel to that same conclusion.             In addition, the
             government’s efforts to de-constitutionalize those statutory
             protections are unlikely to succeed given the long tradition of
             removal limitations and their particular justifications.
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                Second, the government has not identified any irreparable
             harm that would arise from a stay while these appeals are
             expeditiously decided. Its argument that the President’s
             removal power is irreparably impaired depends entirely on this
             court overturning Supreme Court rulings holding that these
             removal protections do not unconstitutionally encroach on the
             President’s power.

                 Third, the balance of harms to the plaintiffs and the public
             interest weighs strongly against a stay.

                                           III

                                            A

                 The Supreme Court’s decisions in Humphrey’s Executor
             and Wiener squarely foreclose the government’s arguments on
             appeal. In those cases, the Supreme Court unanimously held
             that for-cause removal protections like those applicable to
             MSPB and NLRB members were constitutional as applied to
             officials on multimember independent agencies that exercise
             quasi-adjudicatory and quasi-legislative functions within the
             Executive Branch—just like those undertaken by the MSPB
             and NLRB. Humphrey’s Executor, 295 U.S. at 624; Wiener,
             357 U.S. at 355–356.

                 In Humphrey’s Executor, the Supreme Court upheld for-
             cause removal protections for members of the Federal Trade
             Commission (“FTC”). 295 U.S. at 620. The Court reasoned
             that, as a five-member board with no more than three
             commissioners from the same political party, the FTC was
             designed to be “nonpartisan” and “act with entire impartiality.”
             Id. at 619–620, 624. In addition, the FTC was “charged with
             the enforcement of no policy except the policy of the law.” Id.
             at 624.
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                 In that way, the FTC’s functions were held to be
             “predominantly      quasi-judicial   and     quasi-legislative.”
             Humphrey’s Executor, 295 U.S. at 624. The Commission’s
             functions were quasi-judicial because it could hold
             “hearing[s]” on claims alleging “unfair methods of
             competition,” prepare “report[s] in writing stating its findings
             as to the facts,” and “issue * * * cease and desist order[s,]”
             which only federal courts (and not the FTC itself) could
             enforce. Id. at 620–622, 628. The FTC was quasi-legislative,
             in that the Commission “fill[ed] in and administer[ed] the
             details” of the Federal Trade Commission Act and made
             “investigations and reports * * * for the information of
             Congress[.]” Id. at 628.

                 The Supreme Court reaffirmed Humphrey’s Executor two
             decades later. In Wiener, the Court upheld for-cause removal
             protections for members of the War Claims Commission—a
             three-member body that adjudicated Americans’ injury and
             property claims against Nazi Germany and its allies. 357 U.S.
             at 350. The Court concluded that the Commission could not
             accomplish its adjudicatory function—fairly applying
             “evidence and governing legal considerations” to the “merits”
             of claims—without some protection against removal. Id. at
             355–356. The Constitution, the Court held, permitted
             sheathing “the Damocles’ sword of removal” by instituting for-
             cause protections for Commission members. Id. at 356.

                 The Wiener Court also clarified what qualifies as a “quasi-
             judicial” function. It explained that, even though the
             Commission was part of the Executive Branch, its role was
             purely adjudicatory because Congress “chose to establish a
             Commission to ‘adjudicate according to law’ the classes of
             claims defined in the statute[.]” Wiener, 357 U.S. at 355. That
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             demonstrated the “intrinsic judicial character of the task with
             which the Commission was charged.” Id.

                                             B

                 Humphrey’s Executor and Wiener are precedential
             decisions that bind this court. Even as the Supreme Court has
             rejected more modern and novel constraints on the removal of
             single heads of agencies exercising substantial executive
             power, its modern precedent has consistently announced that
             Humphrey’s Executor remains “in place[.]” Seila Law v.
             CFPB, 591 U.S. 197, 215 (2020); see id. at 228 (“not
             revisit[ing] Humphrey’s Executor”); Collins v. Yellen, 594 U.S.
             220, 250–251 (2021) (recognizing that Seila Law did “not
             revisit [] prior decisions”) (quoting Seila Law, 591 U.S. at 204);
             see also Morrison v. Olson, 487 U.S. 654, 687 (1988) (in case
             involving restrictions on removal of an inferior officer,
             recognizing that Humphrey’s Executor remains good law); see
             generally Free Enter. Fund v. Public Acct. Oversight Bd., 561
             U.S. 477, 483 (2010) (in case involving multimember board,
             declining to “reexamine” Humphrey’s Executor); id. at 501
             (“[W]e do not” “take issue with for-cause limitations in
             general[.]”).

                 Free Enterprise Fund, for example, held unconstitutional
             double-layered for-cause removal protections.       That is,
             Members of the Public Company Accounting Oversight Board
             could be removed only for cause by the Securities Exchange
             Commission, whose members, in turn, the Court accepted
             could be removed by the President only for cause. Free Enter.
             Fund, 561 U.S. at 484–487. The Supreme Court held that a
             twice-restricted removal power imposed too great a constraint
             on the President’s authority. Id. at 492.
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                 In devising a remedy, the Supreme Court left the Securities
             and Exchange Commission’s accepted single-layer removal
             protections intact; only the Board’s protections were stricken.
             Free Enter. Fund, 561 U.S. at 492, 495, 509. The Court found
             this would be a sufficient constitutional remedy because, even
             with the Commissioners enjoying for-cause protection, the
             President could “then hold the Commission to account for its
             supervision of the Board, to the same extent that he may hold
             the Commission to account for everything else it does.” Id. at
             495–496. In so ruling, the Court repeated the rule from
             Humphrey’s Executor that “Congress can, under certain
             circumstances, create independent agencies run by principal
             officers appointed by the President, whom the President may
             not remove at will but only for good cause.” Id. at 483.

                 Seila Law likewise repeated that Humphrey’s Executor
             remains governing precedent. In that case, the Supreme Court
             invalidated the removal protections for the Consumer Financial
             Protection Bureau (“CFPB”)’s single director because she had
             “sole responsibility to administer 19 separate consumer-
             protections statutes” and could “unilaterally, without
             meaningful supervision, issue final regulations, oversee
             adjudications, set enforcement priorities, initiate prosecutions,
             and determine what penalties to impose on private parties.”
             Seila Law, 591 U.S. at 219, 225. Structural features of the
             CFPB further insulated the director from presidential control.
             Because the agency was headed by one director with a five-
             year term, “some Presidents may not have any opportunity to
             shape its leadership and thereby influence its activities.” Id. at
             225. The CFPB also receives its funding from the Federal
             Reserve Board, which is funded outside of the annual
             appropriations process, further diluting presidential oversight.
             Id. at 226.
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                 Importantly, the Supreme Court’s decision was explicit that
             Humphrey’s Executor remains “in place.” Seila Law, 591 U.S.
             at 215; id. at 228 (“[W]e do not revisit Humphrey’s Executor
             or any other precedent today[.]”). In fact, in Seila Law, three
             Justices invited Congress to “remedy[] the [CFPB’s] defect” by
             “converting the CFPB into a multimember agency,” id. at 237
             (Roberts, C.J., joined by Alito and Kavanaugh, JJ., concurring
             in the judgment), and four more Justices agreed that such a
             redesign would be constitutional, id. at 298 (Kagan, J., joined
             by Ginsburg, Breyer, and Sotomayor, JJ., concurring in the
             judgment with respect to severability and dissenting in part).

                Most recently, the Supreme Court’s decision in Collins,
             which struck down another single-headed agency performing
             predominantly executive functions, also acknowledged that
             Humphrey’s Executor remained precedential. Collins, 594
             U.S. at 250–251.

                                            C

                Under the precedent set in Humphrey’s Executor and
             Wiener, and preserved in Free Enterprise Fund, Seila Law, and
             Collins, the MSPB and NLRB removal protections are
             constitutional.

                                            1

                 The MSPB is a “multimember expert agenc[y] that do[es]
             not wield substantial executive power[.]” Seila Law, 591 U.S.
             at 218. No more than two of its three members may hail from
             the same political party. 5 U.S.C. § 1201; see also Humphrey’s
             Executor, 295 U.S. at 624 (“The commission is to be
             nonpartisan[.]”). MSPB members serve staggered seven-year
             terms, giving each President the “opportunity to shape [the
             Board’s] leadership and thereby influence its activities.” Seila
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             Law, 591 U.S. at 225. President Trump, in fact, will be able to
             appoint at least two of the MSPB’s three members.

                 In the government’s own words, the MSPB is
             “predominantly an adjudicatory body.” Oral Arg. Tr. 12:19–
             23. The MSPB has no investigatory or prosecutorial role.
             Instead, it hears disputes between federal employees and
             federal agencies. 5 U.S.C. §§ 1204(a)(1), 7701(a). As such,
             the MSPB is passive and must wait for appeals to be initiated
             either by employees who have suffered an adverse employment
             action, discrimination, or whistleblower retaliation, or by
             employing agencies or the Office of Special Counsel. Id.
             §§ 1204(a)(1), 1214(b)(1)(a); 5 C.F.R. § 1201.3; see Seila Law,
             591 U.S. at 219–220 (reiterating the constitutionality of
             removal protections for an officer who wielded “core executive
             power” because “that power, while significant, was trained
             inward to high-ranking Governmental actors identified by
             others, and was confined to a specified matter in which the
             Department of Justice had a potential conflict of interest”). 1

                 Like the War Claims Commission in Wiener, the MSPB
             must “‘adjudicate according to law’ the classes of claims
             defined in the statute[.]” 357 U.S. at 355. That confirms the
             “intrinsic judicial character of the task with which” the MSPB
             is “charged.” Id.



                  1
                    In the exercise of its adjudicatory authority, the MSPB has
             limited jurisdiction. Only civil servants that fall within the statutorily
             defined term “employee” can seek its review.                   5 U.S.C.
             §§ 7511(a)(1), 7701(a); see also Roy v. MSPB, 672 F.3d 1378, 1380
             (Fed. Cir. 2012). That definition excludes, among other categories,
             political appointees and civil servants in “probationary” or “trial
             period[s]” of employment. 5 U.S.C. § 7511(a)(1); see also Roche v.
             MSPB, 596 F.3d 1375, 1383 (Fed. Cir. 2010).
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                                            13
                  The history of the MSPB as a bifurcated entity reinforces
             its almost exclusively adjudicatory role. In 1978, Congress
             divided the Civil Service Commission into the Office of
             Personnel Management and the MSPB. Civil Service Reform
             Act of 1978, Pub. L. No. 95-454, § 201, 92 Stat. 1111, 1119.
             The Office of Personnel Management was tasked with
             “executing, administering, and enforcing * * * civil service
             rules and regulations[,]” while the MSPB—then, as now—was
             tasked with adjudicating disputes. Id. § 202, 92 Stat. at 1122.

                 Once the MSPB issues decisions, federal agencies and
             employees are expected to “comply” with its orders, 5 U.S.C.
             § 1204(a)(2), but the MSPB has no independent means of
             enforcing its orders. Cf. Humphrey’s Executor, 295 U.S. at
             620–621 (FTC cease-and-desist orders could only be enforced
             by application “to the appropriate Circuit Court of
             Appeals[.]”).

                 In addition, most MSPB decisions are subject to Article III
             review. Employees can appeal to federal court any decision
             that “adversely affect[s] or aggrieve[s]” them, and the Director
             of the Office of Personnel Management can petition for judicial
             review of any MSPB decision that the Director believes is
             erroneous and “will have a substantial impact on a civil service
             law, rule, regulation, or policy directive.”          5 U.S.C.
             § 7703(a)(1), (d)(1).

                 The MSPB has limited rulemaking authority to prescribe
             only those regulations “necessary for the performance of its
             functions,” many of which are akin to the federal rules of
             procedure and local rules that courts adopt. 5 U.S.C.
             § 1204(h); see, e.g., 5 C.F.R. §§ 1201.14 (electronic filing
             procedures), 1201.23 (computation of time for deadlines),
             1201.26 (service of pleadings). It also must prepare “special
             studies” and “reports” on the civil service for the President and
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             Congress, 5 U.S.C. § 1204(a)(3), but these are just
             “recommendations[,]” carry no force of law, and are not
             enforced by the MSPB, Harris Decl. ¶ 30; see Humphrey’s
             Executor, 295 U.S. at 621 (citing 15 U.S.C. § 46). In addition,
             the MSPB remains accountable to the President and Congress
             through the appropriations process. See, e.g., Pub. L. No. 118-
             47, 138 Stat. 557 (2024). That affords the President an
             “opportunity to recommend or veto spending bills” to fund its
             operations. Seila Law, 591 U.S. at 226.

                                           2

                 The NLRB also fits the Humphrey’s Executor and Wiener
             mold. Indeed, Congress enacted the National Labor Relations
             Act, which created the NLRB, just over a month after
             Humphrey’s Executor was decided and modeled the statute on
             the FTC’s organic statute. Compare National Labor Relations
             Act, Pub. L. No. 74-198, 49 Stat. 449 (1935), with An Act to
             create a Federal Trade Commission, Pub. L. No. 63-203, 38
             Stat. 717 (1914); see also J. Warren Madden, Origin and Early
             Years of the National Labor Relations Act, 18 HASTINGS L.J.
             571, 572–573 (1967).

                 As designed, the NLRB is a “multimember” agency that
             does “not wield substantial executive power[.]” Seila Law, 591
             U.S. at 218. It is composed of five members that serve
             staggered five-year terms, thus affording each President the
             chance to affect its composition. 29 U.S.C. § 153(a); see also
             Seila Law, 591 U.S. at 225. Though the Act does not require
             the Board’s members to be balanced across party lines,
             Presidents since Eisenhower have adhered to a “tradition” of
             appointing no more than three members from their own party.
             Brian D. Feinstein & Daniel J. Hemel, Partisan Balance with
             Bite, 118 COLUM. L. REV. 9, 54–55 (2018). No one disputes
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             that continues to be the case with the current Board of which
             Wilcox is a member.

                 The NLRB is predominantly an adjudicatory body. It hears
             complaints alleging unfair labor practices by employers and
             labor unions. Glacier Northwest v. International Bhd. of
             Teamsters Loc. Union No. 174, 598 U.S. 771, 775–776 (2023).
             It can issue cease-and-desist orders aimed at unfair labor
             practices and orders requiring reinstatement or backpay. 29
             U.S.C. § 160(c). These orders, however, are not independently
             enforceable. They must be given legal force by a federal court
             of appeals. Id. at §§ 154(a), 160(e); see also Dish Network
             Corp. v NLRB, 953 F.3d 370, 375 n.2 (5th Cir. 2020) (The
             NLRB “needs a court’s imprimatur to render its orders
             enforceable.”). In addition, any person “aggrieved” by an
             NLRB decision may obtain judicial review in federal court. 29
             U.S.C. § 160(f).

                 Conspicuously absent from the NLRB’s authority is any
             power to investigate or prosecute cases. That authority is left
             to the (removable-at-will) General Counsel. See 29 U.S.C.
             § 153(d). So the NLRB’s powers are less than those of the FTC
             in Humphrey’s Executor because the FTC could launch
             investigations “at its own instance[.]” Brief for Samuel F.
             Rathbun, Executor, at 46 n.21, Humphrey’s Executor, 295 U.S.
             602 (1935) (No. 667); see Seila Law, 591 U.S. at 219 n.4
             (“[W]hat matters” for assessing Humphrey’s Executor “is the
             set of powers the Court considered as the basis for its
             decision[.]”).

                 Like the MSPB, the NLRB is funded through congressional
             appropriations. See, e.g., Pub. L. No. 118-47, 138 Stat. 698
             (2024). Also like the MSPB, the NLRB has circumscribed
             rulemaking authority. It can issue rules and regulations that are
             necessary to carry out its statutory duties. 29 U.S.C. § 156. As
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             part of this authority, the NLRB may promulgate interpretive
             rules “advis[ing] the public of [its] construction” of the
             National Labor Relations Act, Shalala v. Guernsey Mem’l
             Hosp., 514 U.S. 87, 99 (1994) (citation omitted), but Article III
             courts review those interpretations de novo, Loper Bright
             Enters. v. Raimondo, 603 U.S. 369, 394 (2024).

                                             D

                All of that makes the answer to the question whether the
             government is likely to succeed in its appeal an easy “No.” The
             unanimous holdings in Humphrey’s Executor and Wiener that
             removal restrictions on multimember, non-partisan bodies
             engaged predominantly in adjudicatory functions are
             constitutional bind this court, especially in light of the Supreme
             Court’s repeated preservation of that precedent and Seila Law’s
             express invitation for Congress to change the CFPB into a
             multimember body.

                 The government and my colleagues’ opinions press two
             central arguments to escape this binding authority, but neither
             affords the government a likelihood of success on appeal.

                                             1

                To start, the government and the opinions of Judges
             Henderson and Walker try to distinguish the MSPB and NLRB
             from the multimember agencies at issue in Humphrey’s
             Executor and Wiener. But those efforts do not work.

                 The government casts the MSPB as exercising executive
             authority because the MSPB “hear[s]” and “adjudicate[s]”
             matters, is authorized to take “final action” on those matters,
             “issue[s]” remedies, and orders “compliance” with its
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             decisions. Gov’t Stay Mot. in Harris 12 (quoting 5 U.S.C.
             § 1204(a)(1)–(2)).

                 True—the MSPB does do those things. But those are the
             hallmarks of an adjudicative body.          The War Claims
             Commission was an “adjudicatory body[,]” and it issued final
             and unreviewable decisions that ordered funds to be paid from
             the Treasury Department’s War Claims Fund. Wiener, 357
             U.S. at 354–356. The decisions of the MSPB and NLRB, more
             modestly, can only be enforced by a federal court. See 5 U.S.C.
             §§ 1204(a)(2), 7703 (MSPB); 29 U.S.C. § 160(e) (NLRB).

                 The government points out that the MSPB can invalidate
             rules issued by the Office of Personnel Management. Gov’t
             Stay Mot. in Harris 12 (citing 5 U.S.C. § 1204(f)). But the
             MSPB can invalidate only those rules that are themselves
             inherently unlawful because they would require employees to
             violate the law by engaging in discriminatory, retaliatory, or
             other impermissible conduct. 5 U.S.C. §§ 1204(f)(2), 2302(b).
             Needless to say, that type of invalidation is an “exceedingly
             rare occurrence,” Harris Decl. ¶ 31, and could not trench upon
             any lawful exercise of the President’s duty to “faithfully
             execute” the laws of the United States, U.S. CONST. Art. II, § 3.
             And the government nowhere disclaims its ability to obtain
             judicial review of such a decision. See generally 5 U.S.C.
             § 7703(d)(1).

                 The government also highlights that MSPB attorneys, as
             opposed to lawyers from the Department of Justice, may
             represent the Board in civil actions in the lower federal courts.
             Gov’t Mot. in Harris 12 (citing 5 U.S.C. § 1204(i)). But that is
             also true of the Federal Reserve Board, 12 U.S.C. § 248(p), and
             the Securities Exchange Commission, whose removal
             protections the Supreme Court took as given as part of the
             constitutional remedy adopted in Free Enterprise, 15 U.S.C.
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             §§ 77t(b)–(c), 78u(c)–(e). Anyhow, independent litigating
             authority is not uniquely executive in character. The Political
             Branches have statutorily authorized the Senate Legal Counsel
             and the General Counsel of the House to represent the Senate
             and House, respectively, in court proceedings. 2 U.S.C.
             §§ 288c, 5571(a).

                  Finally, Judge Walker claims that the MSPB wields
             executive power because “it can force the President to work
             with thousands of employees he doesn’t want to work with[.]”
             J. Walker Op. 40–41. The assertion that the President could
             fire every single employee in the Executive Branch, as opposed
             to principal officers, is a breathtaking broadside on the very
             existence of a civil service that not even the government
             advances. And Judge Walker cites no authority for that
             proposition, which is odd given that the only issue before us is
             the likelihood of the government’s success on appeal on the
             arguments it advances.

                 Anyhow, his point proves the opposite. Issuing an order
             that an employee was unlawfully discharged is intrinsically
             adjudicative. Federal courts often conclude that employment
             discharges by the federal government were contrary to law and
             order employees reinstated. See, e.g., Vitarelli v. Seaton, 359
             U.S. 535, 546 (1959) (reversing lower courts and ordering
             reinstatement of Department of Interior employee who was
             fired without procedurally proper notice or hearing); Lander v.
             Lujan, 888 F.2d 153, 158 (D.C. Cir. 1989) (affirming district
             court order reinstating Bureau of Mines employee to position
             he was demoted from in violation of Title VII); American
             Postal Workers Union, AFL-CIO v. United States Postal Serv.,
             830 F.2d 294, 312 (D.C. Cir. 1987) (finding Postal Worker
             discharged in violation of the First Amendment was entitled to
             reinstatement and back pay).
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                 Judge Walker’s opinion also overlooks that the MSPB has
             no legal authority to “force” its decisions on anybody as it has
             no enforcement arm or sanctions to impose for noncompliance.
             Only a federal court can do that. And even then, the decisions
             only “force” the President to work with individuals whom the
             President cannot legally fire under the anti-discrimination,
             whistleblower-protection, and veterans-preference laws that he
             has sworn to uphold. So just like the FTC, the MSPB’s charge
             is “the enforcement of no policy except the policy of the law.”
             Humphrey’s Executor, 295 U.S. at 624.

                 As for the NLRB, the government insists that the Board is
             not “hermetically sealed” off from the General Counsel’s
             enforcement functions. Gov’t Stay Mot. in Wilcox 16. In
             particular, the government argues that the Board, not the
             General Counsel, may seek injunctions against unfair labor
             practices in federal court. Id. (citing 29 U.S.C. § 160(j)). My
             colleagues’ opinions likewise note that the NLRB can seek
             backpay against private parties in federal court. J. Walker Op.
             33–34; J. Henderson Op. 4.

                 But the Board’s power to seek injunctions in federal court
             mirrors the 1935 FTC’s power to “apply” to circuit courts for
             “enforcement” of cease-and-desist orders.          Humphrey’s
             Executor, 295 U.S. at 620–621. In any event, the Board cannot
             act until the General Counsel does. The Board may seek an
             injunction only upon the “issuance of a complaint[,]” 29 U.S.C.
             § 160(j), which the General Counsel has “final authority” to
             issue or not, id. § 153(d). As for backpay, such equitable relief
             must be sought by the General Counsel who alone supervises
             the attorneys representing the NLRB in federal court. Id.

                 Lastly, Judge Walker’s opinion says that having an
             intrinsically adjudicatory function like the War Claims
             Commission in Wiener does not count because the
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             Commission’s work was “temporary.” J. Walker Op. 40. The
             opinion nowhere explains why the length of an agency’s
             mandate matters constitutionally. If Congress established an
             agency to run the military, gave its directors for-cause removal
             protection, but limited its operation to two years, that agency
             would trench on the President’s Article II authority far more
             than the NLRB or MSPB ever could. In any event, if time
             matters, Harris’s and Wilcox’s remaining tenures in office
             would be shorter than those of the War Claims Commissioners.
             See War Claims Act of 1948, Pub. L. No. 80-896, § 2(a), (c)–
             (d), 62 Stat. 1240, 1241 (The War Claims Commissioners were
             originally authorized to serve up to five-year terms).

                 In short, none of the government’s arguments or my
             colleagues’ opinions distinguish the MSPB or NLRB in any
             materially relevant way from the Supreme Court’s holdings in
             Humphrey’s Executor and Wiener.

                                            2

                                            a

                  As their second tack, the government and my colleagues’
             opinions take aim at Humphrey’s Executor. The government
             says that decision has effectively been overruled and confined
             to its facts because its conclusion about the nature of the FTC’s
             executive power “has not withstood the test of time.” Gov’t
             Stay Mot. in Harris 15 (quoting Seila Law, 591 U.S. at 216 n.2);
             see also Gov’t Stay Mot. in Wilcox 14.

                 The Supreme Court expressly rejected this argument in
             Morrison. See Morrison, 487 U.S. at 686–691, 689 n.28
             (applying Humphrey’s Executor even though the “powers of
             the FTC at the time of Humphrey’s Executor would at the
             present time be considered ‘executive,’ at least to some
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             degree”). That ruling binds this court. Plus that argument has
             nothing to say about the controlling force of Wiener, which
             involved a predominantly adjudicatory body much more akin
             to the NLRB and MSPB.

                 It is this court’s job to apply Supreme Court precedent, not
             to cast it aside or to declare it on “jurisprudential life support.”
             J. Walker Op. 26. If a precedent of the Supreme Court “has
             direct application in a case”—as Humphrey’s Executor and
             Wiener do here—“a lower court ‘should follow the case which
             directly controls,’” leaving to the Supreme Court “‘the
             prerogative of overruling its own decisions.’” Mallory v.
             Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023) (quoting
             Rodriguez de Quijas v. Shearson/American Express, Inc., 490
             U.S. 477, 484 (1989)).

                 Importantly, that rule governs “even if the lower court
             thinks the precedent is in tension with ‘some other line of
             decisions.’” Mallory, 600 U.S. at 136 (quoting Rodriguez de
             Quijas, 490 U.S. at 484); see also Agostini v. Felton, 521 U.S.
             203, 237 (1997) (“We do not acknowledge, and we do not hold,
             that other courts should conclude our more recent cases have,
             by implication, overruled an earlier precedent.”); National
             Security Archive v. CIA, 104 F.4th 267, 272 n.1 (D.C. Cir.
             2024) (“This Court is charged with following case law that
             directly controls a particular issue[.]”). 2

                 Yet “tension” is the most that the government and my
             colleagues’ opinions can claim. The government frankly
             admits it. At oral argument, the government, with admirable

                 2
                    See also Shea v. Kerry, 796 F.3d 42, 54 (D.C. Cir. 2015)
             (quoting Agostini, 521 U.S. at 237); Sierra Club v. E.P.A., 322 F.3d
             718, 725 (D.C. Cir. 2003) (quoting Rodriquez de Quijas, 490 U.S. at
             484).
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             candor, acknowledged no less than four times that it believes
             the constitutionality of removal protections for multimember
             bodies is not “clear.” Oral Arg. Tr. 24:25; see id. at 10:24–11:5
             (“[T]he Supreme Court has left the lower courts in something
             of a tough spot[.]”); 84:16–23 (There is, “at a minimum, a very
             substantial question” and “reasonable minds can differ” about
             the scope of Humphrey’s Executor today.); 88:17–18
             (“[T]here’s some uncertainty” in the wake of Collins.).

                 Judge Henderson agrees that it is “unclear” when the
             Humphrey’s Executor rule for multimember boards applies, J.
             Henderson Op. 1, and that “reasonable minds can—and often
             do—disagree” about how to apply the Supreme Court’s
             precedent, id. at 3.

                 The reason for that lack of clarity is obvious: The Supreme
             Court has not overruled Humphrey’s Executor or Wiener.
             Quite the opposite, it has expressly carved out multimember
             independent boards from its recent holdings on the removal
             power and has expressly left Humphrey’s Executor “in
             place[.]” Seila Law, 591 U.S. at 215. That is why the
             concurring opinion of Justices Thomas and Gorsuch in Seila
             Law exists at all: They write to say that they would have gone
             further than the Court and struck down Humphrey’s Executor.
             Id. at 238–239 (Thomas, J., joined by Gorsuch, J., concurring
             in part and dissenting in part). So Judge Walker cannot cite a
             single Supreme Court case saying that the Court has effectively
             overruled Humphrey’s Executor or confined that opinion to its
             facts, never to be applied again. See J. Walker Op. 30.

                 Judge Walker’s opinion, instead, presumes to do the
             Supreme Court’s job for it. After omitting what the Supreme
             Court actually said about Humphrey’s Executor in Free
             Enterprise, Seila Law, and Collins, Judge Walker discerns a
             clarity that everyone else has missed, announcing that the
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             Supreme Court has imposed “a binding command on the lower
             courts” not to extend Humphrey’s Executor to “any new
             contexts,” so that this court “cannot extend Humphrey’s—not
             even an inch.” J. Walker Op. 30.

                 The problem? The opinion never cites to Supreme Court
             language for that “binding obligation,” nor does it quote or cite
             anything for the proposed requirement that any multimember
             board must be an “identical twin” to the FTC to be sustained.

                 That is because the Supreme Court has not said either thing.
             Rather than take the Supreme Court at its word, Judge Walker’s
             opinion prognosticates that the Supreme Court will in the
             future invalidate all removal protections for all multimember
             boards that exercise “any” executive power in any form. J.
             Walker Op. 36.

                  But that is the very job the Supreme Court has forbidden us
             to undertake. We are to apply controlling precedent, not play
             jurisprudential weather forecasters. To do otherwise would be
             to accuse the Supreme Court of not meaning what it said when
             it repeatedly left Humphrey’s Executor in place, and of
             engaging in a disingenuous bait-and-switch when seven
             Justices openly invited Congress to repair the constitutional
             flaw in the CFPB by reconstituting it as a multimember body.
             Seila Law, 591 U.S. at 237 (Roberts, C.J., joined by Alito and
             Kavanaugh, JJ., concurring in the judgment); id. at 298 (Kagan,
             J., joined by Ginsburg, Breyer, and Sotomayor, JJ., concurring
             in the judgment with respect to severability and dissenting in
             part).

                 Getting out ahead of the Supreme Court that way is beyond
             my pay grade. When the Supreme Court makes and expressly
             preserves precedent, “we [should] take its assurances seriously.
             If the Justices [were] just pulling our leg, let them say so.”
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             Sherman v. Community. Consol. Sch. Dist. 21 of Wheeling
             Township, 980 F.2d 437, 448 (7th Cir. 1992) (Easterbrook, J.);
             see also Illinois v. Ferriero, 60 F.4th 704, 718–719 (D.C. Cir.
             2023) (“[C]arefully considered language of the Supreme Court,
             even if technically dictum, generally must be treated as
             authoritative.”) (citation omitted).

                 Staying in our lane is even more vital in deciding a motion
             to stay. A stay pending appeal, like a preliminary injunction,
             is meant to be a “stopgap measure[,]” made under “conditions
             of grave uncertainty” and with the awareness that it may prove
             to be “mistaken” once the merits are decided. Singh v. Berger,
             56 F.4th 88, 95 (D.C. Cir. 2022) (citation omitted). It is not an
             opportunity to effect a sea change in the law—especially one
             that the Supreme Court itself has repeatedly forborne.

                                            b

                 As if Supreme Court precedent was not enough to find that
             the government is not likely to succeed in these appeals,
             binding circuit precedent doubles down on it. Prior circuit
             opinions are “of course binding on us under the law-of-the-
             circuit doctrine.” Palmer v. FAA, 103 F.4th 798, 806 (D.C. Cir.
             2024); Campaign Legal Ctr. v. 45Committee, Inc., 118 F.4th
             378, 386 n.* (D.C. Cir. 2024) (“‘One three-judge panel’ of this
             court ‘does not have the authority to overrule another three-
             judge panel of the court. * * * That power may be exercised
             only by the full court,’ either through an en banc decision or a
             so-called Irons footnote.”) (quoting LaShawn A. v. Barry, 87
             F.3d 1389, 1395 (D.C. Cir. 1996) (en banc)).

                 This court has repeatedly applied Humphrey’s Executor as
             precedent, including as recently as the last two years. See Meta
             Platforms, Inc. v. FTC, No. 24-5054, 2024 WL 1549732, at *2
             (D.C. Cir. Mar. 29, 2024) (per curiam); Severino v. Biden, 71
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             F.4th 1038, 1047 (D.C. Cir. 2023); FEC v. NRA Political
             Victory Fund, 6 F.3d 821, 826 (D.C. Cir. 1993) (noting that
             cases such as Humphrey’s Executor and Morrison confirmed
             the constitutionality of the Federal Election Commission’s
             structure). Yet both Judge Walker’s and Judge Henderson’s
             opinions ignore that binding precedent.

                 Other circuits too have faithfully hewed to the Supreme
             Court’s admonition not to get out over their jurisprudential skis
             and have continued to apply Humphrey’s Executor. See
             Consumers’ Research v. CPSC, 91 F.4th 342, 347, 352 (5th
             Cir. 2024) (Humphrey’s Executor is “still-on-the-books
             precedent” and “has not been overruled[.]”), cert. denied, 145
             S. Ct. 414 (2024); Leachco, Inc. v. CPSC, 103 F.4th 748, 761–
             762 (10th Cir. 2024) (“[T]he Supreme Court in Seila Law
             clearly stated that Humphrey’s Executor remains binding
             today.”); Magnetsafety.org v. CPSC, No. 22-9578, 2025 WL
             665101, at *7 (10th Cir. Mar. 3, 2025) (“Humphrey’s Executor
             remains binding today.”) (quoting Leachco, 103 F.4th at 761).

                 In sum, this court’s duty—especially at this early stay
             stage—is to follow binding and dispositive Supreme Court and
             circuit precedent in evaluating the government’s likelihood of
             success. And the government has not shown any likelihood of
             prevailing under Humphrey’s Executor and Wiener, as well as
             circuit precedent. If the government thinks it has a likelihood
             of success on certiorari to the Supreme Court, it can raise that
             argument there. This court has no business getting ahead of
             that Court in these appeals. And we certainly should not cast
             off Supreme Court precedent, depart from circuit precedent,
             and create a circuit conflict just to determine the government’s
             eligibility for a stay that is meant only to maintain the status
             quo.
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                 Even if Supreme Court precedent did not dictate the answer
             to the likelihood-of-success question, the government’s and my
             colleagues’ efforts in their opinions to reduce Humphrey’s
             Executor and Wiener to constitutional rubble are not likely to
             succeed.

                                            1

                This court’s starting point is to presume that the Civil
             Service Reform Act and the National Labor Relations Act are
             constitutional. United States v. Davis, 588 U.S. 445, 463 n.6
             (2019); Mississippi Commission on Environmental Quality v.
             E.P.A., 790 F.3d 138, 182 (D.C. Cir. 2015). And with or
             without that presumption, the statutory removal provisions
             pass constitutional muster.

                 To start, the removal restrictions comport with the
             Constitution’s text. Article I gives Congress the full authority
             to create agencies and the officer positions to run those
             agencies. U.S. CONST. Art. I, § 8, cl. 18 (“The Congress shall
             have Power * * * To make all Laws which shall be necessary
             and proper for carrying into Execution the foregoing Powers,
             and all other Powers vested by this Constitution in the
             Government of the United States, or in any Department or
             Officer thereof.”). The Constitution also makes explicit that
             Congress, and not just the President, has a role in staffing the
             agencies and positions created by law. Under Article II’s
             Appointments Clause, the President can appoint principal
             officers only “by and with the Advice and Consent of the
             Senate” and only as the legislature “shall * * * establish[] by
             Law” those positions. Art. II, § 2, cl. 2. Congress also has
             plenary power to vest the appointment of inferior officers “in
             the President alone, in the Courts of Law, or in the Heads of
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             Departments.” Id. And, of course, it is Congress who pays,
             with taxpayer dollars, for everyone employed in the Executive
             Branch. Art. I, § 8, cl. 1.

                 Article II, for its part, says nothing about removal power.
             But it does vest in the President “[t]he executive Power” and
             charge the President with “tak[ing] Care that the Laws be
             faithfully executed[.]” U.S. CONST. Art. II, §§ 1, 3. Read
             together, the Constitution invests both the President and
             Congress with coordinate responsibilities to build an effective
             and efficient government that serves the Nation’s important
             interests.

                 History confirms that Congress may, as part of its design
             and staffing decisions, condition the President’s removal
             authority when necessary to accomplish vital national goals.
             Congressional authority to enact for-cause removal restrictions
             traces back to the time of the Constitution’s adoption. When
             Congress reenacted the Northwest Ordinance, it transferred the
             Confederation Congress’s removal authority over territorial
             officials to the President, An Act to provide for the Government
             of the Territory Northwest of the river Ohio, ch. 8, § 1, 1 Stat.
             50, 53 (Aug. 7, 1789), but left intact for-cause removal
             protections for territorial judges, id. at 51. 3

                 Then, in 1790, Congress created the Sinking Fund
             Commission (the Federal Reserve’s early predecessor) to
             perform economically critical executive and policy functions.
             Congress directed that two of its five directors would be
             officials whom the President could not remove. An Act making

                 3
                     Territorial judges do not constitutionally enjoy tenure
             protection because they are not Article III judges. American
             Insurance Co. v. 356 Bales of Cotton, 26 U.S. 511, 546 (1828).
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             provision for the reduction of the Public Debt, ch. 47, § 2, 1
             Stat. 186 (1790). As for the First and Second Banks of the
             United States, Congress provided the President no removal
             authority over members of the First Bank, An act to
             incorporate the subscribers in the Bank of the United States,
             ch. 10, § 4, 1 Stat. 191, 192–193 (1791), and gave the President
             control over only five out of twenty-five members of the
             Second Bank, An Act to incorporate the subscribers to the
             Bank of the United States, ch. 44, § 8, 3 Stat. 266, 269 (1816). 4

                 Next, in 1855, Congress created the Court of Claims, the
             judges of which held office “during good behaviour,” An Act
             to establish a Court for the Investigation of Claims against the
             United States, ch. 22, § 1, 10 Stat. 612 (1855), even though they
             were not Article III judges, see Williams v. United States, 289
             U.S. 553, 563 (1933).

                 The list goes on. The statute creating the Comptroller of
             the Currency required the President to gain Senate approval
             before removing the Comptroller, An Act to provide a national
             Currency, ch. 58, § 1, 12 Stat. 665–666 (1863), and its
             successor statute, while vesting removal authority in the
             President, still required the President to “communicate[]” his
             reason “to the Senate” before exercising that authority, An Act

                  4
                    Judge Walker’s opinion makes much of the Decision of 1789.
             See J. Walker Op. 9–10. But the only thing decided in 1789 was that
             the President need not always consult with the Senate before
             removing a principal officer, a proposition that no one contests today.
             E.g., Myers v. United States, 272 U.S. 52, 241 (1926) (Brandeis, J.,
             dissenting). Rather than focusing on short snippets from legislative
             debates and law review articles, one can simply observe that the same
             Congress that apparently decided against removal restrictions also
             decided to create removal restrictions, just not for every principal
             officer.
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             to provide a National Currency, ch. 106, § 1, 13 Stat. 100
             (1864).

                 Then, in 1887, Congress created the Interstate Commerce
             Commission to regulate railroads. Neither President Cleveland
             nor a single member of Congress raised a constitutional
             objection to the provision allowing the removal of
             Commissioners only “for inefficiency, neglect of duty, or
             malfeasance in office[.]” An act to regulate commerce, ch.
             104, § 11, 24 Stat. 383 (1887).

                 Founding-era Supreme Court precedent documents the
             practice as well. In Marbury v. Madison, 5 U.S. (1 Cranch)
             137 (1803), the Supreme Court, through Chief Justice
             Marshall, recognized that some executive officers are not
             removable by the President:

                 Where an officer is removable at the will of the
                 executive, the circumstance which completes his
                 appointment is of no concern; because the act is at any
                 time revocable; and the commission may be arrested,
                 if still in the office. But when the officer is not
                 removable at the will of the executive, the
                 appointment is not revocable, and cannot be annulled.
                 It has conferred legal rights which cannot be resumed.

             Id. at 162; see also id. at 172–173 (Marbury “has been
             appointed to an office, from which he is not removable, at the
             will of the executive; and being so appointed, he has a right to
             the commission which the secretary has received from the
             president for his use.”). 5

                 5
                   To be sure, the Supreme Court in dicta has dismissed this
             discussion in Marbury as “ill-considered dicta.” Seila Law, 591 U.S.
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                 None of this is surprising given the Constitution’s textual
             checking and balancing, and general opposition to the over-
             concentration of power in a single Branch. As Justice Scalia
             summarized when discussing the modern counterparts of these
             early agencies, “removal restrictions have been generally
             regarded as lawful for so-called ‘independent regulatory
             agencies,’ such as the Federal Trade Commission, * * * the
             Interstate Commerce Commission, * * *, and the Consumer
             Product Safety Commission * * *, which engage substantially
             in what has been called the ‘quasi-legislative activity’ of
             rulemaking[.]” Morrison, 487 U.S. at 724–725 (Scalia, J.,
             dissenting). Such “‘long settled and established practice is a
             consideration of great weight in a proper interpretation of
             constitutional provisions’ regulating the relationship between
             Congress and the President.” NLRB v. Noel Canning, 573 U.S.
             513, 524 (2014) (quoting The Pocket Veto Case, 279 U.S. 655,
             689 (1929)).




             at 227. But it seems to me to be wisdom and knowledge gained from
             firsthand experience at the time of the founding, and so cannot be
             brushed away so easily. John Marshall participated in the Virginia
             ratification debates and served in the legislative and executive
             branches before becoming Chief Justice. See Supreme Court
             Historical Society, Life Story:            John Marshall (2025),
             https://perma.cc/JHA4-EPTH. He was joined by Justice Paterson, a
             delegate to the Constitutional Convention and a Senator in 1789,
             when the debate over removal took place. See Supreme Court
             Historical       Society,       William         Paterson   (2025),
             https://perma.cc/TL6M-7Y9M. In searching for the Constitution’s
             original meaning, it is hard to understand the preference of Judge
             Walker’s opinion for Myers—written 138 years after the
             Constitution’s ratification—to Marbury, written by jurists who
             helped to write and to ratify the Constitution.
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                 That is the historical grounding for the Supreme Court’s
             decisions in Humphrey’s Executor and Wiener. And the
             MSPB’s and NLRB’s for-cause removal protections fit that
             historical practice.

                                             a

                 Start with the MSPB. In 1883, Congress created the Civil
             Service Commission—the MSPB’s predecessor entity—to
             address the serious problem of a federal workforce beset by
             political patronage, political coercion, and instability.
             Presidents and their subordinates could reward their supporters
             with taxpayer-funded government jobs, but often had to fire
             those already in office to make room for their favorites. The
             result was administrative dysfunction. As one commentator
             put it, “[a]t present there is no organization save that of
             corruption[;] * * * no system save that of chaos; no test of
             integrity save that of partisanship; no test of qualification save
             that of intrigue.” Ari Hoogenboom, The Pendleton Act and the
             Civil Service, 64 AM. HIST. REV. 301, 301 (1959) (quoting
             Julius Bing, Our Civil Service, PUTNAM’S MAG. 232, 236 (Aug.
             1868)); see id. at 302 (“Contemporaries noted the cloud of fear
             that hovered over government workers, especially after a
             change of administration. It was impossible for an esprit de
             corps or for loyalty to office or agency to develop in an
             atmosphere of nervous tension. * * * A civil servant was loyal
             primarily to his patron—the local political who procured him
             his job.”).

                 Concerns about this patronage system were a longstanding
             concern. As Mark Twain observed: “Unless you can get the
             ear of a Senator, or a Congressman, or a Chief of a Bureau or
             Department, and persuade him to use his ‘influence’ in your
             behalf, you cannot get an employment of the most trivial nature
             in Washington. Mere merit, fitness and capability[] are useless
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             baggage to you without ‘influence.’” MARK TWAIN &
             CHARLES WARNER, THE GILDED AGE 223 (1873); see also
             Mark Twain, Special Dispatch, N.Y. Times (Oct. 2, 1876) (“We
             hope and expect to sever [the civil] service as utterly from
             politics as is the naval and military service, and we hope to
             make it as respectable, too. We hope to make worth and
             capacity the sole requirements of the civil service[.]”).

                 Governmental malfunction was so disabling that President
             Garfield devoted a portion of his 1881 inaugural address to the
             problem. He emphasized the need for tenure protections,
             explaining that the civil service could “never be placed on a
             satisfactory basis until it is regulated by law[s]” that “prescribe
             the grounds upon which removals shall be made during the
             terms for which incumbents have been appointed.” President
             James A. Garfield, Inaugural Address (March 4, 1881),
             https://perma.cc/B5DM-T738.                President     Garfield’s
             assassination a few months later by a disappointed job seeker
             transformed concerns about the patronage system into a
             national crisis. Alan Gephardt, The Federal Civil Service and
             the Death of President James A. Garfield, National Park
             Service (2012), https://perma.cc/3QY2-LEUT.

                 Two years later, “strong discontent with the corruption and
             inefficiency of the patronage system of public employment
             eventuated in the Pendleton Act, [ch. 27, 22 Stat. 403 (1883)].”
             Elrod v. Burns, 427 U.S. 347, 354 (1976). That Act created a
             Civil Service Commission to eliminate the “patronage system”
             of governance and create a professional civil service dedicated
             only to working for the American people. Id. In that way,
             “Congress, the Executive, and the country” all agreed “that
             partisan political activities by federal employees must be
             limited if the Government is to operate effectively and fairly[.]”
             United States Civil Service Comm’n v. National Association of
             Letter Carriers, AFL-CIO, 413 U.S. 548, 564 (1973).
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                 The MSPB’s raison d’etre is to effectuate this
             governmental commitment to prioritizing merit over partisan
             loyalty. Housing all employment matters in the Civil Service
             Commission had proven unworkable as the Commission had
             accumulated “conflicting responsibilities” in its roles as “a
             manager, rulemaker, prosecutor and judge.” President Jimmy
             Carter, Fed. Civ. Serv. Reform Msg. to Cong. (March 2,
             1978), https://perma.cc/2URA-FJRR. Its slow pace of
             decision-making had also confounded efforts to enforce civil
             service laws for both employees and employing agencies. See
             United States v. Fausto, 484 U.S. 439, 458 (1988) (Stevens, J.,
             dissenting).

                 To address the problem, the 1978 Civil Service Reform Act
             created the Office of Personnel Management to perform
             “personnel administration[,]” the Office of Special Counsel to
             “investigate and prosecute[,]” and the MSPB to “be the
             adjudicatory arm of the new personnel system.” President
             Carter, Fed. Civ. Serv. Reform Msg.; see Civil Service Reform
             Act of 1978, Pub. L. No. 95-454, § 3, 92 Stat. 1111, 1112 (The
             Act will provide “the people of the United States with a
             competent, honest, and productive Federal work force” that is
             governed by “merit system principles and free from prohibited
             personnel practices[.]”).

                 The Reform Act provided MSPB members with some
             removal protection to ensure both employees and agencies that
             decisions would be made based on the facts and law, rather than
             political allegiance or fear of retribution. The MSPB also hears
             claims by whistleblowers exposing waste, fraud, and abuse
             within federal agencies.            Removal protections offer
             whistleblowers assurance that their claims will be heard
             impartially and objectively, free from retributive political
             pressure. For “it is quite evident that one who holds his office
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             only during the pleasure of another cannot be depended upon
             to maintain an attitude of independence against the latter’s
             will.” Humphrey’s Executor, 295 U.S. at 629.

                 Said another way, if the Constitution requires that
             Presidents be allowed to fire members of the Merit Systems
             Protection Board for any partisan, policy, or personal reason,
             then Congress and the taxpayers cannot have a professional
             civil service based on merit. Nor could the MSPB provide the
             “requirement of neutrality in adjudicative proceedings” that
             “safeguards the * * * central concerns of procedural due
             process[.]” Marshall v. Jericco, 446 U.S. 238, 242 (1980); see
             Schweiker v. McClure, 456 U.S. 188, 195 (1982) (“[D]ue
             process demands impartiality on the part of those who function
             in judicial or quasi-judicial capacities.”).

                 At the same time, by housing the adjudicatory authority in
             a multimember board, the Political Branches prevented the
             accumulation of power in the hands of a single individual
             answerable to no one. Cf. Seila Law, 591 U.S. at 222–226;
             Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635
             (1952) (Jackson, J., concurring) (“[T]he Constitution diffuses
             power the better to secure liberty[.]”). The group decision-
             making dynamic of the collective Board also helps to ensure
             that members can and will ground their decisions in the law and
             facts alone, which they have to justify in their judicially
             reviewable written decisions. That is, they have to show their
             work. The requirement of a politically balanced Board
             demonstrates the Political Branches’ bipartisan commitment to
             creating a neutral and unbiased adjudicatory process. That
             contrasts sharply with the single heads of agencies in Seila Law
             and Collins, who were accountable to no one and did not need
             to be appointed in a politically neutral manner.
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                 Presumably that balance is why, over the last 50 years and
             eight presidential administrations, there has been nary a
             constitutional objection in a presidential signing statement or
             Office of Legal Counsel opinion to the MSPB’s removal
             restrictions. Quite the opposite. Shortly before passage of the
             Reform Act, the Office of Legal Counsel agreed that the MSPB
             was “a quasi-judicial body whose officials may be legitimately
             exempted from removal at the pleasure of the President.”
             Presidential Appointees—Removal Power—Civil Serv. Reform
             Act-Const. L. (Article II, S 2, Cl. 2), 2 Op. O.L.C. 120, 121
             (1978). 6


                  6
                    The government’s briefs and Judge Henderson’s and Judge
             Walker’s opinions cite nothing at all. The most I have found is that
             Presidents George H. Bush and Clinton noted different potential
             constitutional problems related to the MSPB with the Whistleblower
             Protection Act of 1989 and MSPB Reauthorization Act of 1994,
             respectively, but those had nothing to do with constitutional concerns
             about removal protections for MSPB members. Presidential
             Statement upon Signing the Whistleblower Protection Act of 1989,
             25 WEEKLY COMP. PRES. DOC. 516 (Apr. 10, 1989); Presidential
             Statement on Signing Legislation Reauthorizing the Merit Systems
             Protection Board and the Office of Special Counsel, 30 WEEKLY
             COMP. PRES. DOC. 2202 (Oct. 29, 1994). Moreover, to my
             knowledge, neither OLC nor any President in a signing statement has
             called into doubt Humphrey’s Executor or Wiener or suggested that
             those opinions have lost their validity. This stands in sharp contrast
             to removal restrictions on the four modern single-head agencies
             whose constitutionality was questioned from the outset. Seila Law,
             591 U.S. at 221 (The Office of Special Counsel was the “first
             enduring single-leader office, created nearly 200 years after the
             Constitution was ratified, [and] drew a contemporaneous
             constitutional objection from the Office of Legal Counsel under
             President Carter and a subsequent veto on constitutional grounds by
             President Reagan.”); Collins, 594 U.S. at 251 (These agencies
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                 The critical national need for an impartial, multimember
             adjudicatory process applies with at least equal force to the
             NLRB. Before its creation, the United States was racked by
             violent labor strikes and brutal repression of the strikers.
             Between 1877 and 1934, there were thousands of violent labor
             disputes, many of which required state and federal troops to
             control. See Philip Taft & Philip Ross, American Labor
             Violence: Its Causes, Character, and Outcome, in VIOLENCE
             IN AMERICA: HISTORICAL AND COMPARATIVE PERSPECTIVES:
             A STAFF REPORT TO THE NATIONAL COMM’N. ON THE CAUSES
             AND PREVENTION OF VIOLENCE 225–272 (Hugh Graham & Ted
             Gurr eds. 1969) (“National Report on Labor Violence”). In
             1934 alone, the National Guard had to be mobilized to quell
             strikes in Minnesota, Alabama, Georgia, North Carolina, South
             Carolina and California. Id. at 269–272. In addition to the
             human toll of the many killed and wounded, the economic costs
             were staggering: “the vacating of 1,745,000 jobs,” the “loss of
             50,242,000 working days every 12 months,” and a cost to the
             economy of “at least $1,000,000,000 per year” in 1934 dollars,
             which would be approximately $23.5 billion per year now. S.
             REP. NO. 74-573, at 2 (1935); see National Labor Relations
             Act, Pub. L. No. 74-198, 49 Stat. 449 (1935) (“The denial by
             some employers of the right of employees to organize
             * * * lead[s] to strikes and other forms of industrial strife or
             unrest, which have * * * the necessary effect of burdening or
             obstructing commerce[.]”).




             “lack[] a foundation in historical practice[.]”) (quoting Seila Law,
             591 U.S. at 204).
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                  The inability to facilitate peaceful negotiations between
             employers and labor was “one of the most prolific causes of
             strife” and, according to the Supreme Court, was such “an
             outstanding fact in the history of labor disturbances that it [wa]s
             a proper subject of judicial notice and require[d] no citation of
             instances.” NLRB v. Jones & Laughlin Steel Corp., 301 U.S.
             1, 42 (1937).

                 Importantly, federal and state courts had proven unable to
             resolve these conflicts. See FELIX FRANKFURTER & NATHAN
             GREENE, THE LABOR INJUNCTION (1930); HOWARD GILLMAN,
             THE CONSTITUTION BESIEGED 61–100 (1995). That is why
             Congress created the NLRB—an expert agency capable of
             facilitating “negotiation” and “promot[ing] [the] industrial
             peace[.]” Jones & Laughlin, 301 U.S. at 45. “Everyday
             experience in the administration of the [National Labor
             Relations Act] gives [the NLRB] familiarity with the
             circumstances and backgrounds of employment relationships
             in various industries, with the abilities and needs of the workers
             for self organization and collective action, and with the
             adaptability of collective bargaining for the peaceful settlement
             of their disputes with their employers.” NLRB v. Hearst
             Publications, 322 U.S. 111, 130 (1944).

                 As with the MSPB, the Political Branches concluded that
             the neutrality of Board members would be indispensable to
             their vital role, so they had to be kept free from both the
             perception and the reality of direct political influence that an
             unalloyed removal power would permit. With “the Damocles’
             sword of removal by the President” hanging over the NLRB,
             Wiener, 357 U.S. at 356, employers and labor would lose faith
             that the NRLB is impartially administering the law rather than
             tacking to ever-changing political winds.
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                 In addition, an unchecked removal power would cause
             frequent and sharp changes in how the NLRB adjudicates
             cases. That lack of stability in the law would make it harder
             for businesses and labor to enter into agreements to resolve
             labor disputes. One party might prefer to wait for the next
             election before committing to a collective bargaining
             agreement. Or those agreements could be shortened to mirror
             the terms of politically replaceable Board members. Both
             would spawn more breakdowns in labor relations, strikes, and
             economic disruption. See International Organization of
             Masters, Mates & Pilots, ILA, AFL-CIO v. NLRB, 61 F.4th 169,
             180 (D.C. Cir. 2023) (discussing the importance of consistent
             policymaking to protect and encourage reliance interests).

                 Ninety years after the NLRA, it may be hard to imagine the
             exceptional disruption to the national economy caused by the
             absence of an impartial and expert administrative forum for the
             resolution of labor disputes. But that is because the NLRB has
             worked. National Report on Labor Violence at 292 (“The
             sharp decline in the level of industrial violence is one of the
             great achievements of the National Labor Relations Board.”).
             And it is the indispensability of a neutral adjudicator between
             labor and employers that explains why the Supreme Court has
             said directly that the NLRB does not “offend against the
             constitutional requirements governing the creation and action
             of administrative bodies.” Jones & Laughlin, 301 U.S. at 46–
             47.

                                           2

                 In response to the Political Branches’ joint and
             longstanding conclusions as to the critical necessity for a
             professional civil service and a neutral adjudicatory forum to
             obtain industrial peace in the national economy, the
             government and Judge Walker’s opinion blow a one-note horn:
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             accountability. J. Walker Op. 1, 7, 21–22; Gov’t Stay Mot. in
             Harris 10, 13; Gov’t Stay Mot. in Wilcox 9, 12.

                 But accountability remains. Harris and Wilcox were
             nominated by the President and confirmed by the Senate. S.
             Roll Call Vote No. 209, 117th Cong., 2d Sess. (2022) (Harris);
             S. Roll Call Vote No. 216, 118th Cong., 1st Sess. (2023)
             (Wilcox). They must leave office when their terms of seven
             and five years respectively end. 5 U.S.C. § 1202(a) (Harris);
             29 U.S.C. § 153(a) (Wilcox). In the interim, the President can
             remove them for cause if they fail to “faithfully execute[]” the
             law, as well as for basic incompetence. U.S. CONST. Art. II,
             § 3; see 5 U.S.C. § 1202(d) (Harris); 29 U.S.C. § 153(a)
             (Wilcox). This alone gives the President “ample authority” to
             ensure they are “competently performing [their] statutory
             responsibilities[.]” Morrison, 487 U.S. at 692; see also Free
             Enter. Fund, 561 U.S. at 509 (With “a single level of good-
             cause tenure” between the President and the Board, “[t]he
             Commission is then fully responsible for the Board’s actions,
             which are no less subject than the Commission’s own functions
             to Presidential oversight.”). On top of this, Congress can
             eliminate their offices completely. U.S. CONST. Art. I,
             § 8. The public can comment on their policies. 5 U.S.C.
             § 553(c). And they must regularly send reports to the President
             and Congress. Id. § 1206 (Harris); 29 U.S.C. § 153(c)
             (Wilcox). Just because a President cannot fire Harris and
             Wilcox for no reason or because he does not like their rulings
             does not mean that they wield unchecked and unaccountable
             authority.

                 Beyond that, the suggestion in Judge Walker’s opinion that
             electoral accountability is the Constitution’s lodestar for the
             executive branch is misplaced. See J. Walker Op. 48 (“The
             people elected the President, not Harris or Wilcox, to execute
             the nation’s laws.”) (emphases added). But there are other
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              values at stake—stability, competence, experience, efficiency,
              energy, and prudence, for example. Anyhow, the members of
              Congress who created the MSPB and NLRB are directly
              elected by the people who are affected by the competence and
              stability of the federal civil service and labor disruptions. By
              contrast, Americans do not directly elect the President. Instead,
              they vote for delegates to the electoral college who cast votes
              for the President. See U.S. CONST. Amend. XII. This
              procedure was not designed to maximize popular
              accountability. See THE FEDERALIST NO. 68 (Alexander
              Hamilton) (“It was equally desirable, that the immediate
              election should be made by men most capable of analyzing the
              qualities adapted to the station, and acting under circumstances
              favorable to deliberation, and to a judicious combination of all
              the reasons and inducements which were proper to govern their
              choice. A small number of persons, selected by their fellow-
              citizens from the general mass, will be most likely to possess
              the information and discernment requisite to such complicated
              investigations.”). To the extent that Judge Walker’s opinion’s
              description of the presidency appears familiar, it is because it
              describes the presidency circa 2025, not circa 1788 when the
              Constitution was adopted and the roles of Congress and the
              President in designing the government were formulated.

                                         *****

                   In short, this Nation’s historical practice of removal
              restrictions on multimember boards combined with the acute
              need for impartial adjudicatory bodies to give effect to civil
              service protections and to provide labor peace and stability
              together demonstrate the constitutional permissibility of the
              removal limitations for members of these two adjudicatory
              bodies. Such a “systematic, unbroken, executive practice, long
              pursued to the knowledge of the Congress and never before
              questioned, engaged in by Presidents who have also sworn to
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              uphold the Constitution, making as it were such exercise of
              power part of the structure of our government, may be treated
              as a gloss on ‘executive Power’ vested in the President by § 1
              of Art. II.” Youngstown Sheet & Tube Co., 343 U.S. at 610–
              611 (Frankfurter, J., concurring).

                   For all those reasons, at this procedural juncture, the
              government is not likely to succeed on the merits of its
              argument that the removal provisions are unconstitutional even
              if binding Supreme Court and circuit precedent did not already
              resolve the likelihood of success question in favor of Harris and
              Wilcox.

                                               F

                  The government additionally has failed to demonstrate a
              likelihood of success on its argument that this court cannot
              remedy Harris’s and Wilcox’s injuries. “The very essence of
              civil liberty certainly consists in the right of every individual to
              claim the protection of the laws, whenever he receives an
              injury.” Marbury, 5 U.S. at 163. And it is “indisputable” that
              the wrongful removal from office constitutes “a cognizable
              injury[.]” Severino, 71 F.4th at 1042; see Sampson v. Murray,
              415 U.S. 61, 91 (1974); Wiener, 357 U.S. at 356 (permitting
              suit for damages). Indeed, the government acknowledges that
              Harris and Wilcox have remediable injuries. Gov’t. Stay Mot.
              in Harris 18; Gov’t. Stay Mot. in Wilcox 19.

                  Four remedies are available in this context, should the
              district court judgments in favor of Harris and Wilcox be
              sustained on appeal.

                  First, there is no dispute that Harris and Wilcox could
              obtain backpay due to an unlawful firing if their wages have
              been disrupted. See, e.g., Myers, 272 U.S. at 106.
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                  Second, federal courts may preserve in office or reinstate
              someone fired from the Executive Branch with an injunction if
              the circumstances are “extraordinary.” Sampson, 415 U.S. at
              92 n.68; see Service v. Dulles, 354 U.S. 363, 388 (1957). The
              plaintiff must demonstrate “irreparable injury sufficient in kind
              and degree to override” the “disruptive effect” to “the
              administrative process[.]” Sampson, 354 U.S. at 83–84; see id.
              at 92 n.68.

                  This rule extends to officers who hold positions on
              multimember boards. Even though an injunction cannot
              restore such officeholders to office de jure, this court’s
              precedent holds that a court can order their restoration to office
              de facto. In Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996),
              President Clinton removed Robert Swan from the board of the
              National Credit Union Administration, id. at 974. This court
              held that it could grant Swan relief by enjoining the board and
              all other relevant executive officials subordinate to the
              President to treat Swan as a legitimate board member. Id. at
              980. Similarly, in Severino v. Biden, this court concluded that
              it could issue an injunction to “reinstate a wrongly terminated
              official ‘de facto,’ even without a formal presidential
              reappointment.” 71 F.4th at 1042–1043 (quoting Swan, 100
              F.3d at 980).

                  At this juncture, the government has failed to show that,
              should the judgments in favor of Harris and Wilcox be
              sustained on appeal, there would be an insufficient basis for the
              injunctions that retained them in office. Harris’s and Wilcox’s
              removals would disrupt the routine administration of the
              Executive Branch by (1) depriving the adjudicatory bodies on
              which they sit of quora to function, and (2) denying the parties’
              whose cases Congress has channeled to the MSPB and NLRB
              the very impartiality and expertise in decision-making that
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              protections against removal provide. A merits panel could find
              that to be a severe injury to the public.

                  The government invokes older caselaw holding that an
              injunction cannot restore someone to their position in the
              Executive Branch. See Gov’t Stay Mot. in Harris 19–20 (citing
              In re Sawyer, 124 U.S. 200, 212 (1888), and White v. Berry,
              171 U.S. 366, 377 (1898)). But, as the Supreme Court itself
              has said: “Much water has flowed over the dam since 1898,”
              and it is now well established that “federal courts do have
              authority to review the claim of a discharged governmental
              employee.” Sampson, 415 U.S. at 71.

                  The government argues that we cannot enjoin the President.
              Gov’t Stay Mot. in Harris 18. That argument is beside the point
              because Harris and Wilcox never asked the district court to
              enjoin the President. The district courts enjoined subordinate
              executive officers, not the President, consistent with circuit
              precedent in Swan that binds this panel. Harris, 2025 WL
              679303, at *16; Wilcox, 2025 WL 720914 at *16, 18.
              Injunctions against subordinate executive officials to prevent
              illegal action by the Executive Branch are well known to the
              law. See, e.g., Youngstown Sheet & Tube Co., 343 U.S. at 584;
              Hamdan v. Rumsfeld, 548 U.S. 557, 567 (2006); Swan, 100
              F.3d at 980. Nor do such injunctions “necessarily target[] the
              President[.]” Dellinger v. Bessent, No. 25-5028, 2025 WL
              559669, at *13 n.2 (D.C. Cir. Feb. 15, 2025) (Katsas, J.,
              dissenting). The injunctions put the President under no legal
              obligation to recognize Harris and Wilcox as legitimate
              officeholders.       The injunctions instead require other
              government officials to treat them as de facto office holders for
              the rest of their terms.

                  The government reads Swan and Severino as limited to
              disputes about standing. Gov’t Stay Mot. in Harris 20. That
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              makes no sense. Standing is a jurisdictional prerequisite to
              bringing suit in federal court. Steel Co. v. Citizens for a Better
              Environment, 523 U.S. 83, 102 (1998). To establish standing,
              plaintiffs must show, among other things, that their “injury
              would likely be redressed by judicial relief.” TransUnion LLC
              v. Ramirez, 594 U.S. 413, 423 (2021); see Lujan v. Defenders
              of Wildlife, 504 U.S. 555, 568–571 (1992); Steel Co., 523 U.S.
              at 107. So recognizing the existence of a legal remedy is a
              critical precondition to resolving a lawsuit on the merits.
              Because jurisdiction in both Swan and Severino depended on
              holding that an injunction could issue, and both cases held that
              there was jurisdiction and went on to decide the merits, both
              cases necessarily held that an injunction could restore someone
              to office de facto.

                  Third, the government did not dispute in district court that
              Wilcox could obtain a declaratory judgment, so it has forfeited
              any argument as to the unavailability of that form of relief in
              her case. Wilcox, 2025 WL 720914, at *16.

                  The government does argue that Harris is ineligible for
              declaratory relief. Gov’t Stay Mot. in Harris 21. That is
              incorrect. Declaratory relief is governed by “the same
              equitable principles relevant to the propriety of an injunction.”
              Samuels v. Mackell, 401 U.S. 66, 73 (1971). For the same
              reasons that injunctions could be warranted in these cases, so
              too could declaratory judgments. And a declaratory judgment
              may issue against the President. Clinton v. City of New York,
              524 U.S. 417, 428 (1998); National Treasury Employees, 492
              F.2d at 616.

                  Fourth, a writ of mandamus is another available form of
              relief for Harris and Wilcox. A writ of mandamus is a
              traditional remedy at law ordering an executive official to carry
              out a mandatory and legally ministerial duty, Swan, 100 F.3d
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              at 977, which includes redressing an unlawful removal from
              public office, In re Sawyer, 124 U.S. at 212; White, 171 U.S. at
              377.

                  The use of mandamus to assert title to an office was well
              known at the founding. See, e.g., R. v. Blooer (1760) 97 Eng.
              Rep. 697, 698 (KB) (Mansfield, C.J.) (“A mandamus to restore
              is the true specific remedy where a person is wrongfully
              dispossessed of any office or function[.]”); 3 WILLIAM
              BLACKSTONE, COMMENTARIES ON THE LAWS OF ENGLAND
              *264 (1765) (“The writ of mandamus” is “a most full and
              effectual remedy” for “wrongful removal, when a person is
              legally possessed” of an office.); R. v. The Mayor, Aldermen,
              and Common Council, of London, (1787) 100 Eng. Rep. 96,
              97–98 (KB) (Ashhurst, J.) (agreeing with counsel’s argument
              that “[w]henever a person is improperly suspended or removed
              from an office * * * the Court will grant a mandamus to restore
              him”); R. v. The Mayor and Alderman of Doncaster (1752) 96
              Eng. Rep. 795, 795 (KB) (restoring an alderman to office with
              a writ of mandamus). Indeed, Marbury—who, like Harris and
              Wilcox, was nominated by the President, and confirmed by the
              Senate, Journal of the Executive Proceedings of the Senate,
              vol. 1, at 338, 390 (1801)—sought mandamus to compel
              delivery of his commission to serve as a justice of the peace in
              Washington D.C, see Marbury, 5 U.S. at 155.

                  If no injunctive relief were available, mandamus could
              issue in these cases because the President violated a non-
              discretionary statutory duty by firing Harris and Wilcox
              without relevant justification, in direct violation of the
              governing laws’ plain language. See 5 U.S.C. § 1202(d)
              (MSPB members “may be removed by the President only for
              inefficiency, neglect of duty, or malfeasance in office.”); 29
              U.S.C. § 153(a) (The President can remove NLRB board
              members only with advance notice and “for neglect of duty or
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              malfeasance in office”). Although the President certainly
              enjoys broad discretion when making a finding of inefficiency,
              neglect, or malfeasance, the duty to justify removal on one of
              those grounds is non-discretionary under both statutes.

                  The government argues that the President is not amenable
              to mandamus. Gov’t. Stay Mot. in Harris 22. While issuance
              of mandamus against the President would be a last-resort
              remedy to enforce the rule of law, binding circuit precedent
              says that “[m]andamus is not precluded because the federal
              official at issue is the President of the United States.” National
              Wildlife Federation v. United States, 626 F.2d 917, 923 (D.C.
              Cir. 1980); see National Treasury Employees Union v. Nixon,
              492 F.2d 587, 616 (D.C. Cir. 1974).

                  The government relies on Mississippi v. Johnson, 71 U.S.
              475 (1866), but that case expressly “left open” the question
              whether mandamus can issue against the President. Franklin
              v. Massachusetts, 505 U.S. 788, 801–802 (1992); see Swan,
              100 F.3d at 977. That is because Johnson involved the
              President’s discretionary judgment under the Reconstruction
              Acts to use military force to govern the former confederate
              states. 71 U.S. at 499. So that decision does not speak to circuit
              precedent holding that mandamus is available for non-
              discretionary ministerial duties.

                 For all those reasons, the government is not likely to
              succeed in its argument that no remedy can be given to Harris
              and Wilcox, should the decisions in their favor be sustained on
              appeal.

                                             IV

                  The remaining stay factors concern injury to the parties and
              the public interest. That balance implicates multiple competing
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              interests here because the government seeks to have provisions
              of duly enacted federal statutes declared unconstitutional and
              to prevent agencies created and funded by Congress from
              functioning during (at least) the pendency of these appeals, if
              not longer.

                  As the party seeking a stay, the government bears the
              burden of demonstrating that it will suffer an irreparable injury
              during the time these cases are pending before this court. Nken,
              556 U.S. at 433–434. The government has disclaimed any
              argument that Harris and Wilson are incompetent or
              malfeasant. Instead, the sole irreparable injury asserted is that
              the President’s asserted constitutional right to terminate Harris
              and Wilcox will be infringed. See Gov’t. Stay Mot. in Harris
              22; Gov’t. Stay Mot. in Wilcox 22. That falls short of an
              irreparable injury for three reasons.

                  First, the asserted injury to the President is entirely bound
              up with the merits of the government’s constitutional
              argument. And controlling Supreme Court precedent says
              there is no such constitutional injury. The Supreme Court in
              Wiener said specifically that “no such power” to remove a
              predominantly adjudicatory board official “is given to the
              President directly by the Constitution[.]” 357 U.S. at 356; see
              Humphrey’s Executor, 295 U.S. at 629. This court is in no
              position to recognize an injury that the Supreme Court has
              twice unanimously disclaimed. See Agostini, 521 U.S. at 237.
              So the same lack of clarity that Judge Henderson’s opinion sees
              in the merits, J. Henderson Op. 1–3, means that the asserted
              injury of not being able to remove Harris and Wilcox is equally
              uncertain to exist.

                   Second, the government itself has not manifested in this
              litigation the type of imminent or daily injury now claimed by
              the government and Judge Walker’s opinion. Gov’t Stay Mot.
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              in Harris 22–23; Gov’t Stay Mot. in Wilcox 22–24; J. Walker
              Op. 43–45. Harris’s and Wilcox’s cases have been pending for
              almost two months. In Harris’s case, the government agreed to
              have the district court proceed to briefing and decision on
              summary judgment on an expedited basis while a temporary
              restraining order was in place. Joint Status Report for Harris,
              ECF No. 13 at 1. In Wilcox’s case, the government proposed
              lengthening the briefing schedule, requesting that its brief be
              due on March 10th, rather than Wilcox’s proposed February
              18th. Joint Response Regarding Briefing Schedule for Wilcox,
              ECF No. 12 at 2. The government has not explained why it
              could not similarly afford this court the time necessary to
              decide a highly expedited appeal.

                   Third, the notion that the presidency is irreparably
              weakened by not terminating Harris and Wilcox while this
              litigation is pending ignores that eight Presidents (including
              this President) have faced similar constraints in removing
              MSPB members for decades, and fifteen Presidents could not
              remove NLRB members without cause. Yet the government
              points to no concrete manifestation of the harm it asserts, or
              even a public complaint from any preceding President. Plus, if
              the government prevails on appeal, any decisions resulting
              from Harris’s and Wilcox’s presence on their Boards would
              have to be “completely undone” if a party requested it. Collins,
              594 U.S. at 259–260. So any harm in terms of decisions made
              is repairable.

                   By contrast, the entry of a stay in these cases materially
              alters the status quo in an unprecedentedly injurious manner to
              the public as well as to Harris and Wilcox. The point of a stay
              is to preserve the status quo pending litigation. Nken, 556 U.S.
              at 429; Ohio Citizens for Responsible Energy, Inc. v. NRC, 479
              U.S. 1312, 1312 (1986) (Scalia, J., in chambers). And this
              court’s precedent defines the relevant status quo as “the last
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              uncontested status which preceded the pending controversy[,]”
              which is Harris and Wilcox in office. Huisha-Huisha, 27 F.4th
              at 733 (citation omitted). So does the Supreme Court:
              “Although such a stay acts to ‘ba[r] Executive Branch officials
              from removing [the applicant,] * * * it does so by returning to
              the status quo—the state of affairs before the removal order
              was entered.” Nken, 556 U.S. at 429 (citation omitted); cf.
              Lackey v. Stinnie, 145 S. Ct. 659, 662 (2025) (“The purpose of
              a preliminary injunction is merely to preserve the relative
              positions of the parties until a trial on the merits can be held.”).

                 Yet the stay sought by the government and entered by the
              court today turns the status quo for the last 46 and 89 years
              upside down. By virtue of a preliminary and expeditiously
              considered order, this court has, for the first time in the
              Nation’s history, allowed the termination of an MSPB member
              and an NLRB member in violation of express statutory
              conditions, 5 U.S.C. § 1202(d) (MSPB); 29 U.S.C. § 153(a)
              (NLRB), and on-point Supreme Court and circuit precedent.

                  In addition, this court, without any adjudication of the
              merits, has afforded the government relief that will disable the
              MSPB and NLRB from operating by depriving both boards of
              a quorum. 5 C.F.R. § 1200.3 (MSPB); 29 U.S.C. § 153(b)
              (NLRB). Far from “staying” anything, the court’s order acts to
              kneecap two federal agencies and prevent them from
              performing the work assigned them by federal law and funded
              by Congress.

                  Because federal law expressly channels federal employee
              and labor disputes to these agencies, the stay will lead to an
              immediate backlog of cases. When the MSPB was deprived of
              a quorum between 2017 and 2022, a backlog of 3,793 cases
              built up. MSPB, Lack of Quorum and the Inherited Inventory:
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              Chart of Cases Decided and Cases Pending at 2 (Feb. 2025),
              https://perma.cc/Q58S-PLVV.

                  The NLRB likewise cannot decide cases without a quorum.
              See 29 U.S.C. § 153(b); New Process Steel, L.P. v. NLRB, 560
              U.S. 674, 676 (2010). Although the NLRB can delegate some
              of its responsibilities, 29 C.F.R. §§ 102.178–182; Order
              Contingently Delegating Authority to the General Counsel, 76
              Fed. Reg. 69,768 (Nov. 9, 2011), it cannot delegate the
              authority to decide cases. Hundreds of cases are already
              pending before the NLRB. NLRB, Administrative Law Judge
              Decisions (Mar. 18, 2025), https://perma.cc/Z5S2-4UEP.

                  If these Boards are deprived of quora, both employers and
              workers will be trapped with no other place to take their
              disputes for resolution. Federal courts cannot hear labor
              disputes in the first instance because prior review by the NLRB
              is a jurisdictional prerequisite for judicial review. 29 U.S.C.
              § 160(f); Boire v. Greyhound Corp., 376 U.S. 473, 476–477
              (1964). Nor can the parties resort to state court because the
              National Labor Relations Act preempts state procedures. San
              Diego Building Trades Council, Millmen’s Union, Loc. 2020 v.
              Garmon, 359 U.S. 236, 245 (1959) (“[T]he States as well as
              the federal courts must defer to the exclusive competence of
              the National Labor Relations Board if the danger of state
              interference with national policy is to be averted.”). Paralyzing
              the peaceful resolution of labor disputes threatens the vital
              public interests in avoiding labor strife and the severe
              economic consequences it causes.

                  There is also a risk that these boards will be disabled for a
              much longer period of time. Nothing obligates the President to
              appoint replacement members. So by granting a stay, the
              majority opinion converts the President’s removal authority
              into the power to render inoperable, potentially for years on
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              end, boards that Congress established and funded to address
              critical national problems. And that single-handed power to
              shutter agencies would render vital federal legislation a futility.

                  In short, whatever the scope of the non-textual
              constitutional removal power, it cannot license the Executive
              to destroy the ability of Congress to solve critical national
              problems and to provide Americans with neutral and impartial
              decision-making processes when their economic lives,
              property, and wellbeing are affected. The authority of two
              Branches is equally at stake. That is why historical practice has
              treated the statutory adoption of removal limitations for
              multimember boards and adjudicatory bodies as a matter for
              Congress and Presidents to work out together through the
              enactment and presentment process.

                  These are just the consequences for the two agencies before
              this court. But given the test proposed by Judge Walker’s
              opinion foreclosing the exercise of “any” executive power or
              deviating in any trivial manner from the 1935 FTC, this stay
              decision admits of no cabining. See J. Walker Op. 10 (The
              Decision of 1789 eliminated “any” Congressional control over
              removal.), 14 (“[T]he President ha[s] inherent, inviolable, and
              unlimited authority to remove principal officers exercising
              substantial executive authority[.]”), 15 (Humphrey’s Executor
              “has few, if any, applications today.”), 20 (There can be no
              removal protections for “any agency that wields the substantial
              executive power that Humphrey’s understood the 1935 FTC
              not to exercise.”), 30 (Humphrey’s Executor cannot be
              extended “to any new contexts[.]”), 36 (Removal protections
              are unconstitutional if the agency exercises “any” executive
              power.); see also J. Henderson Op. 1 (questioning “the
              continuing vitality of Humphrey’s”).
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                  That would mean that a century-plus of politically
              independent monetary policy is set to vanish with a pre-merits
              snap of this court’s fingers. A constitutional ruling that the
              President has unrestricted removal power over all
              multimember agencies exercising any executive power directly
              threatens the independence of numerous multimember
              agencies, including the Federal Reserve Board, the Open
              Market Committee, the Nuclear Regulatory Commission, the
              National Transportation Safety Board, the Chemical Safety and
              Hazard Investigation Board, and the National Mediation
              Board, among others.

                   The government insists that there is a special rule for the
              Federal Reserve Board. Gov’t Reply Br. in Harris 8; Gov’t
              Reply Br. in Wilcox 7–8. The President does not agree. While
              his recent Executive Order chose to exempt “the Board of
              Governors of the Federal Reserve System” and “the Federal
              Open Market Committee” from his “ongoing supervision and
              control,” that carveout is limited only to their “conduct of
              monetary policy.”        Exec. Order No. 14,215, Ensuring
              Accountability for All Agencies, 90 Fed. Reg. 10,447, 10,448
              (Feb. 24, 2025). As to all other Federal Reserve Board
              activities, such as bank regulation, 12 U.S.C. § 1813(q)(3), and
              consumer protection regulation, 15 U.S.C. § 1681m(e)(1), the
              Executive Order claims unlimited power to remove members
              of the Federal Reserve Board for any reason or no reason at all,
              90 Fed. Reg. at 10,448. That part-in-part-out approach allows
              a President unhappy with monetary policy to fire one or all
              Federal Reserve members at will because he need not give any
              reason for a firing. By definition, a right to remove someone
              for no reason cannot be confined to certain reasons.

                  Beyond that, the Executive Order does not disclaim
              authority to remove members of the Federal Reserve or Federal
              Open Market Committee going forward, and the government’s
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              position and Judge Walker’s opinion here admit of no such
              limit. Indeed, it is difficult to understand how it could, as the
              theory that the President has illimitable removal authority is,
              by definition, a theory that there are no limits on the President’s
              authority to remove every single executive official. 7

                  Agencies are not the only entities at risk under the majority
              opinion’s new regime. Given the primarily adjudicatory nature
              of the MSPB and the NLRB, it is difficult to understand how
              the majority opinion’s rule does not eliminate removal
              restrictions on non-Article III judges, including judges of the
              Court of Federal Claims, the Bankruptcy Courts, the Court of
              Appeals for Veterans Claims, and the Court of Appeals for the
              Armed Forces. Apparently all of those adjudicators can now
              be fired based not on any constitutional decision by the
              Supreme Court or this court, but simply on the government’s
              application for a stay citing nothing more than the President’s
              inability to fire those officials as the requisite irreparable
              injury.

                  Such action fails to exhibit the normal “judicial humility”
              that courts adopt at a preliminary stage when there is still

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                     To the extent that the government suggests a potential
              exemption for the Federal Reserve Board given its “unique historical
              background” and “special arrangement sanctioned by history,” see
              CFPB v. Community Financial Services Association of America,
              Ltd., 601 U.S. 416, 467 n.16 (2024) (Alito, J., dissenting), that
              exemption applies equally to the MSPB and NLRB, given that
              removal restrictions on adjudicators like territorial and Claims Court
              judges and justices of the peace go back to the founding. Since there
              is no basis in the Constitution’s text or separation-of-powers
              principles for minting an ad hoc exception just for certain functions
              of one entity, the better lesson to draw from this history is that limited
              removal restrictions for multimember and adjudicatory bodies are a
              manifestation of the Constitution’s division of powers.
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              “grave uncertainty” about the merits. Hanson v. District of
              Columbia, 120 F.4th 223, 247 (D.C. Cir. 2024) (quoting O
              Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft,
              389 F.3d 973, 1015 (10th Cir. 2004) (McConnell, J.,
              concurring)).

                                           V

                  The whole purpose of a stay is to avoid instability and
              turmoil. But the court’s decision today creates them. I
              accordingly respectfully dissent from the decision to grant a
              stay pending appeal.
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                          Appendix B
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CATHY A. HARRIS, in her personal capacity :
 and in her official capacity as Member of the :
 Merit Systems Protection Board,               :
                                               :
        Plaintiff,                             :         Civil Action No.:      25-412 (RC)
                                               :
        v.                                     :         Re Document No.:       22
                                               :
 SCOTT BESSENT, in his official capacity as :
 Secretary of the Treasury, et al.,            :
                                               :
        Defendants.                            :

                                  MEMORANDUM OPINION

                  GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

                                      I. INTRODUCTION

        Plaintiff Cathy A. Harris was appointed to the Merit Systems Protection Board (“MSPB”)

 on June 1, 2022, for a term set to expire on March 1, 2028. Federal law states that members of

 the MSPB may be removed from office “only for inefficiency, neglect of duty, or malfeasance in

 office.” On February 10, 2025, President Donald J. Trump informed Harris that her position on

 the MSPB was “terminated, effective immediately” but provided no reason for Harris’s

 termination. The following day, Harris filed this lawsuit against President Trump and several

 other federal officials (“Defendants”), claiming that her termination violated federal law. She

 moved for a temporary restraining order enjoining Defendants from treating her as removed from

 office, which this Court granted. The parties consolidated preliminary injunction briefing with

 the merits, and Harris moved for summary judgment. The Court grants that motion, along with

 declaratory judgment and a permanent injunction.
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                                        II. BACKGROUND

                                     A. Statutory Background

        Congress created the Merit Systems Protection Board as a component of the Civil Service

 Reform Act of 1978 (“CSRA”), which “establishes a framework for evaluating personnel actions

 taken against federal employees.” Kloeckner v. Solis, 568 U.S. 41, 44 (2012); see also CSRA,

 Pub. L. No. 95-454, § 202, 92 Stat. 1111, 1121–25 (1978) (codified at 5 U.S.C. §§ 1201–05).

 Congress’s Findings and Statement of Purpose indicate that “[i]t is the policy of the United

 States that . . . to provide the people of the United States with a competent, honest, and

 productive Federal work force[,] . . . Federal personnel management should be implemented

 consistent with merit system principles.” CSRA § 3, 92 Stat. at 1112. Those merit system

 principles include, among others, “[r]ecruitment . . . from qualified individuals” where “selection

 and advancement [is] determined solely on the basis of relative ability, knowledge, and skills,

 after fair and open competition which assures that all receive equal opportunity.” Id. § 101, 92

 Stat. at 1113 (codified at 5 U.S.C. § 2301). Congress additionally instructed that “[e]mployees

 should be . . . protected against arbitrary action, personal favoritism, or coercion for partisan

 political purposes,” as well as “against reprisal for the lawful disclosure of information which the

 employees reasonably believe evidences,” among other things, violations of law, gross waste of

 funds, an abuse of authority, or substantial and specific dangers to public health or safety. Id., 92

 Stat. at 1114 (codified at 5 U.S.C. § 2301).

        The CSRA established the MSPB as “an independent agency consisting of three

 members” and “charged [it] with protecting the merit system principles and adjudicating

 conflicts between federal workers and their employing agencies.” Frazier v. Merit Sys. Prot.

 Bd., 672 F.2d 150, 154 (D.C. Cir. 1982); see also CSRA § 101, 92 Stat. at 1114–17 (codified at 5




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 U.S.C. § 2302) (establishing prohibited personnel practices, such as employment discrimination,

 unlawful political activities, and any other violations of law within the federal civil service). The

 Board’s primary function is to review federal employee appeals of adverse actions “which [are]

 appealable to the Board under any law, rule, or regulation,” including those related to removal or

 suspension for periods greater than fourteen days. 5 U.S.C. § 7701(a); see also id. § 1204(a)(1).

 These adjudications consume approximately 95 percent of MSPB members’ time. See Pl.’s

 Statement of Undisputed Material Facts ¶ 54 (“SUMF”), ECF No. 22-2. The Board may order

 federal agencies and employees to comply with its decisions, see 5 U.S.C. § 1204(a)(2), which

 are nonetheless subject to judicial review. See id. § 7703. The MSPB thus acts as a preliminary

 adjudicator of these employment disputes, with federal courts providing the final say if the

 parties so desire.

         The MSPB carries out other limited tasks in pursuit of its mission. It conducts studies

 “relating to the civil service” for the President and Congress, see 5 U.S.C. § 1204(a)(3), although

 this function takes up less than one percent of members’ time, see SUMF ¶ 62. The Board may

 also review “rules and regulations of the Office of Personnel Management,” see id. § 1204(a)(4),

 on its own motion, following a complaint from the Special Counsel, or in response to a third

 party’s petition, see id. § 1204(f)(1). The MSPB may invalidate the rule or its implementation if

 it would require a federal employee to engage in prohibited personnel practices. See id.

 § 1204(f)(2). 1

         Members of the MSPB are “appointed by the President, by and with the advice and

 consent of the Senate,” and “not more than 2 of [the members] may be adherents of the same


         1
          Harris explains that invalidation of an Office of Personnel Management rule under this
 mechanism “is an exceedingly rare occurrence” that has not happened during her tenure. Harris
 Decl. ¶ 31, ECF No. 22-3.


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 political party.” CSRA § 202 (codified at 5 U.S.C. § 1201). Members of the MSPB are

 appointed to seven-year terms that may be extended by up to one year if a successor has not yet

 been appointed. Id. (codified at 5 U.S.C. § 1202(a)–(c)). “Any member may be removed by the

 President only for inefficiency, neglect of duty, or malfeasance in office.” Id. (codified at 5

 U.S.C. § 1202(d)).

                             B. Factual and Procedural Background

         President Joseph R. Biden nominated Harris to be a member of the MSPB in January

 2022. SUMF ¶ 1. The Senate confirmed her on May 25, 2022, and she was sworn in on June 1,

 2022. Id. ¶ 2. Her term expires on March 1, 2028. Id. ¶ 3. The Senate later confirmed Harris as

 Chairman, and she was sworn in as Chairman on March 14, 2024. Id. ¶¶ 4–5.

         Defendants do not dispute that Harris has been efficient and effective in her role at the

 MSPB. See id. ¶ 8. When the MSPB’s quorum was restored in March 2022, the agency had a

 backlog of approximately 3,800 cases that had accrued since 2017, and officials estimated that it

 would take five or six years for the agency to catch up. Id. ¶¶ 12–14. By January 2025,

 however, the MSPB had cleared nearly 99 percent of its backlog. Id. ¶ 20. From June 1, 2022,

 to February 10, 2025, Harris participated in nearly 4,500 decisions. Id. ¶ 10.

         On February 10, 2025, Harris received an email from Trent Morse, Deputy Assistant to

 the President and the Deputy Director of the White House Presidential Personnel Office, which

 stated in its entirety:

         On behalf of President Donald J. Trump, I am writing to inform you that your
         position on the Merit Systems Protection Board is terminated, effective
         immediately. Thank you for your service[.]

 Ex. 4 to Pl.’s Mot. for Prelim. Inj. and J. on the Merits, ECF No. 22-4. The communication did

 not explain the basis for Harris’s termination.




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        Harris filed this lawsuit on February 11, 2025, claiming that her firing was ultra vires,

 unconstitutional, and a violation of the Administrative Procedure Act (“APA”). See Compl.

 ¶¶ 31–37, 40–41, ECF No. 1. She seeks relief under the Declaratory Judgment Act, issuance of a

 writ of mandamus, and equitable relief. See id. ¶¶ 38–39, 42–46. Harris additionally filed a

 motion for a temporary restraining order, see Pl.’s Mot. for TRO, ECF No. 2, which Defendants

 opposed, see Defs.’ Opp’n to Mot. for TRO, ECF No. 6. The Court held a hearing on the TRO

 motion on February 13, 2025, and granted the motion on February 18, 2025. See Min. Entry

 dated Feb. 13, 2025; Order Granting Pl.’s Mot. for TRO, ECF No. 8; Mem. Op. Granting Pl.’s

 Mot. for TRO (“Mem. Op.”), ECF No. 9. Defendants appealed that order to the D.C. Circuit,

 and the appeal remains pending. See Notice of Appeal, ECF No. 15.

        On February 19, 2025, the parties filed a joint status report indicating that the Court’s

 consideration of the subsequent motion for preliminary injunction should be consolidated with

 the merits of the case pursuant to Federal Rule of Civil Procedure 65(a)(2). See Joint Status

 Report, ECF No. 13. On February 23, 2025, Harris filed a motion for a preliminary injunction

 and judgment on the merits. See Pl.’s Mot. for Prelim. Inj. and J. on the Merits (“Pl.’s Mot.”),

 ECF No. 22. Defendants opposed the motion, see Defs.’ Opp’n to Pl.’s Mot. for Prelim. Inj. and

 J. on the Merits (“Defs.’ Opp’n”), ECF No. 33, and Harris filed a reply, see Defs.’ Reply, ECF

 No. 38. The parties appeared for a hearing before the Court on March 3, 2025.

                                    III. LEGAL STANDARD

        “Having granted consolidation under Rule 65(a)(2), the Court ‘treats the parties’ briefing

 as cross-motions for summary judgment.’” Penkoski v. Bowser, 486 F. Supp. 3d 219, 226

 (D.D.C. 2020) (quoting Trump v. Comm. on Oversight & Reform of the U.S. House of

 Representatives, 380 F. Supp. 3d 76, 90 (D.D.C. 2019)). “The court shall grant summary




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 judgment if the movant shows that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine if

 “the evidence presents a sufficient disagreement to require submission to a jury.” Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 251–52 (1986). And a fact is material if it “might affect the

 outcome of the suit under the governing law.” Id. at 248. On summary judgment, the Court

 views all evidence “in the light most favorable to the nonmoving party and . . . must draw all

 reasonable inferences in favor of the nonmoving party.” Talavera v. Shah, 638 F.3d 303, 308

 (D.C. Cir. 2011).

        The principal purpose of summary judgment is to streamline litigation by disposing of

 factually unsupported claims or defenses and determining whether there is a genuine need for

 trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 322–24 (1986). The movant bears the initial

 burden of identifying portions of the record that demonstrate the absence of any genuine issue of

 material fact. See Fed. R. Civ. P. 56(c)(1); Celotex, 477 U.S. at 323. In response, the non-

 movant must point to specific facts in the record that reveal a genuine issue that is suitable for

 trial. See Celotex, 477 U.S. at 324. In considering a motion for summary judgment, a court must

 “eschew making credibility determinations or weighing the evidence[,]” Czekalski v. Peters, 475

 F.3d 360, 363 (D.C. Cir. 2007), and all underlying facts and inferences must be analyzed in the

 light most favorable to the non-movant, see Anderson, 477 U.S. at 255. Nevertheless,

 conclusory assertions offered without any evidentiary support do not establish a genuine issue

 for trial. See Greene v. Dalton, 164 F.3d 671, 675 (D.C. Cir. 1999).

                                          IV. ANALYSIS

        The Court first considers the constitutionality of the MSPB’s structure, concluding that

 its members’ for-cause removal protections are constitutional under Humphrey’s Executor.




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 Federal law thus prevents the President from removing members of the MSPB without cause,

 and the President’s attempt to terminate Harris was unlawful. As such, Harris is entitled to

 summary judgment. The Court next determines the remedies to which Harris may be entitled,

 granting her declaratory judgment and a permanent injunction. To the extent that injunctive

 relief may be unavailable, the Court would grant mandamus relief in the alternative.

              A. Constitutionality of the MSPB Members’ Removal Protections

        Harris claims that her termination was ultra vires in violation of statutory authority,

 violated the separation of powers, and was contrary to law under the APA. See Compl. ¶¶ 31–

 37, 40–41. She argues that this case falls squarely within the heartland of Humphrey’s Executor

 v. United States, 295 U.S. 602 (1935), and its progeny, and that the Board is a traditional

 multimember body that does not wield traditional executive power. See Pl.’s Mot. at 11–20.

 MSPB members’ removal protections are therefore constitutional, according to Harris. See id. at

 11–12. Defendants respond that the MSPB does not fall within Humphrey’s Executor, and that

 the independent agency wields substantial executive power. See Defs.’ Opp’n at 5–13. The

 Court concludes that MSPB members’ removal protections are constitutional under Humphrey’s

 Executor and must be upheld here.

        In Humphrey’s Executor, the Supreme Court upheld a statutory provision identical to the

 one at issue here restricting removal of Federal Trade Commission (“FTC”) members. See

 Humphrey’s Executor, 295 U.S. at 619–20 (discussing 15 U.S.C. § 41); 5 U.S.C. § 1202(d). The

 FTC comprises five members “appointed by the President[,] by and with the advice and consent

 of the Senate,” and “[n]ot more than three of the commissioners shall be members of the same

 political party.” Humphrey’s Executor, 295 U.S. at 619–20 (quoting 15 U.S.C. § 41). “Any

 Commissioner may be removed by the President for inefficiency, neglect of duty, or malfeasance




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 in office.” Id. (quoting 15 U.S.C. § 41). In Humphrey’s Executor, President Hoover had

 appointed William Humphrey as a member of the Federal Trade Commission, which carried a

 term of seven years. 295 U.S. at 612. Less than two years later, President Roosevelt terminated

 Humphrey over differences of political opinion, stating, “[e]ffective as of this date you are

 hereby removed from the office of Commissioner of the Federal Trade Commission.” Id. at 619.

 Humphrey died several months later, but his estate sued to recover backpay on the basis that his

 removal was unlawful. Id. at 612.

        The Supreme Court confirmed that President Roosevelt’s termination of Humphrey was

 indeed unlawful. The Court observed that “[t]he statute fixes a term of office, in accordance

 with many precedents.” Id. at 623. The Court further explained that the commission comprised

 a “nonpartisan” “body of experts” that was intended to “act with entire impartiality.” Id. at 624.

 It was “charged with the enforcement of no policy except the policy of the law” and acted in a

 manner that was “predominantly quasi judicial and quasi legislative” rather than traditionally

 “political []or executive” in nature. Id. The Court differentiated FTC members from the

 postmaster in Myers v. United States, 272 U.S. 52 (1926) (evaluating statute stating that

 postmasters “shall hold their offices for four years unless sooner removed or suspended

 according to law”). “A postmaster is an executive officer restricted to the performance of

 executive functions” and is “charged with no duty at all related to either the legislative or judicial

 power.” Id. at 627. The FTC, in contrast, “acts in part quasi legislatively and in part quasi

 judicially” rather than exercising traditional executive powers. Id. at 628. “We think it plain

 under the Constitution that illimitable power of removal is not possessed by the President in

 respect of officers of the character of those just named,” the Court concluded. Id. at 629.




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        Two decades later, the Court considered President Eisenhower’s removal of a member of

 the War Claims Commission, whom President Truman had appointed and the Senate had

 confirmed. See Wiener v. United States, 357 U.S. 349, 350 (1958). Congress charged that

 commission with processing “claims for compensating internees, prisoners of war, and religious

 organizations . . . who suffered personal injury or property damage at the hands of the enemy in

 connection with World War II,” and the commissioners’ terms were limited by the short duration

 of the commission’s existence. Id. The Court reasoned that Congress intended to “preclude[]

 the President from influencing the Commission in passing on a particular claim,” which meant

 that the President naturally could not “hang . . . the Damocles’ sword of removal” over the

 commissioners. Id. at 356. The Court reaffirmed that the President had “no such power” to

 “remove a member of an adjudicatory body like the War Claims Commission merely because he

 wanted his own appointees on such a Commission.” Id. 2

        In two more recent cases, however, the Supreme Court ruled that for-cause removal

 provisions applying to independent agencies with a single director violated the separation of

 powers. See Seila Law LLC v. Consumer Financial Protection Bureau, 591 U.S. 197, 218

 (2020); Collins v. Yellen, 594 U.S. 220, 253 (2021). Neither of those cases undermines the




        2
              The Court once again considered a multimember body in Mistretta v. United States
 when passing on the constitutionality of the United States Sentencing Commission, which
 formally resides in the Judiciary. 488 U.S. 361 (1989). The Sentencing Report Act of 1984
 empowered the President to appoint commissioners to the Sentencing Commission, with
 members “subject to removal by the President ‘only for neglect of duty or malfeasance in office
 or for other good cause shown.’” Id. at 368 (quoting 28 U.S.C. § 991(a)). When considering
 whether the Act affords the President undue influence over federal judges who served as
 commissioners, the Court recognized that “the President’s removal power under the Act is
 limited.” Id. at 410. “Such congressional limitation on the President’s removal power, like the
 removal provisions upheld in Morrison v. Olson, 487 U.S. 654 (1988), and Humphrey’s Executor
 . . . , is specifically crafted to prevent the President from exercising ‘coercive influence’ over
 independent agencies.” Id. at 410–411.


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 constitutionality of for-cause removal provisions for multimember bodies of experts heading an

 independent agency. See Seila Law, 591 U.S. at 228 (“[W]e do not revisit Humphrey’s Executor

 or any other precedent today.”).

        “Rather than create a traditional independent agency headed by a multimember board or

 commission, Congress elected to place the [Consumer Financial Protection Bureau (“CFPB”)]

 under the leadership of a single Director.” Seila Law, 591 U.S. at 207. In Seila Law, the Court

 observed that “[a]n agency with a structure like that of the CFPB is almost wholly

 unprecedented.” Id. as 220; see also id. at 220–22 (searching for historical precedent to support

 the CFPB’s structure). The Court further concluded that “[t]he CFPB’s single-Director

 structure” contravenes the separation of powers “by vesting significant governmental power in

 the hands of a single individual accountable to no one,” emphasizing that the director may act

 “unilaterally” and “[w]ith no colleagues to persuade.” Id. at 224–25. Two other features of the

 CFPB undermined the constitutionality of the agency’s structure. First, the director’s five-year

 term meant that “some Presidents may not have any opportunity to shape [the agency’s]

 leadership and thereby influence its activities.” Id. at 225. Second, “[t]he CFPB’s receipt of

 funds outside the appropriations process further aggravates the agency’s threat to Presidential

 control.” Id. at 226. For these reasons, the Court concluded that the CFPB’s structure violated

 the separation of powers. See id. at 232.

        None of the reasoning in Seila Law undermined the constitutionality of the traditional

 independent agency structure outlined in Humphrey’s Executor. See id. at 218 (describing

 “exception[]” for “multimember expert agencies that do not wield substantial executive power”).

 Rather, the Court’s reasoning reaffirmed the constitutionality of multimember boards with for-

 cause removal protections, as those agencies have a robust basis in this country’s history, and




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 their members lack the power to act unilaterally. See Pl.’s Mot. at 11 (emphasizing that

 Congress established the first such board in 1887). The Court’s rationale also relied on the

 CFPB’s divergence from traditional agency structures when finding the for-cause removal

 protections unconstitutional. See, e.g., Seila Law, 591 U.S. at 205–07 (emphasizing facts

 showing drift from Elizabeth Warren’s initial proposal for multimember board to Congress’s

 enactment of single-headed agency). The Court even opined that Congress could fix the problem

 by “for example, converting the CFPB into a multimember agency.” Id. at 237.

        Collins then represented a “straightforward application” of the Court’s “reasoning in

 Seila Law” to the Federal Housing Finance Agency (“FHFA”). 594 U.S. at 251; see also Seila

 Law, 591 U.S. at 222 (noting doubt as to the constitutionality of the FHFA’s structure).

 Similarly to the CFPB, the FHFA was “an agency led by a single Director” that “lack[ed] a

 foundation in historical practice and clashe[d] with constitutional structure by concentrating

 power in a unilateral actor insulated from Presidential control.” 594 U.S. at 251.

        Humphrey’s Executor thus remains alive and well, and it dictates the outcome here. The

 MSPB is “a traditional independent agency headed by a multimember board or commission,”

 Seila Law, 591 U.S. at 207, and as such Congress may grant the Board’s members for-cause

 removal protections. The MSPB is “a multimember body of experts” that is “balanced along

 partisan lines.” Seila Law, 591 U.S. at 216; see also Humphrey’s Executor, 295 U.S. at 624

 (noting that the FTC is a “nonpartisan” “body of experts” that was intended to “act with entire

 impartiality”). The CSRA envisions that the Board “is to be nonpartisan; and it must, from the

 very nature of its duties, act with entire impartiality.” Humphrey’s Executor, 295 U.S. at 624.

 The CSRA also “fixes a term of office.” Id. at 623. The Board’s members serve on overlapping,

 staggered seven-year terms, meaning that the President will have the “opportunity to shape [the




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 MSPB’s] leadership and thereby influence its activities.” 3 Seila Law, 591 U.S. at 225. The

 members’ staggered terms permit them to “accumulate[] expertise” in the operation of federal

 agencies and federal employment law. Id. at 218. The MSPB’s duties are “quasi judicial,”

 Humphrey’s Executor, 295 U.S. at 624, in that it conducts preliminary adjudications of federal

 employees’ claims, which may then be appealed to Article III courts. See 5 U.S.C. § 7703

 (providing for review in the Federal Circuit); Perry v. Merit Sys. Prot. Bd., 582 U.S. 420, 423

 (2017) (providing for review of mixed cases in district court). The MSPB’s rulemaking

 authority is limited to “regulations . . . necessary for the performance of its functions.” 5 U.S.C.

 § 1204(h). Congress further intended the agency to aid its legislative goals by regularly

 transmitting reports to Congress regarding the Board’s functions. See 5 U.S.C. §§ 1204(l), 1205.

 It is additionally evident that Congress hoped to “preclude[] the President from influencing the

 [Board] in passing on a particular claim.” Wiener, 357 U.S. at 356. The MSPB nonetheless

 remains politically accountable to both Congress and the President through the appropriations

 process in a manner inapplicable to independent agencies with their own funding sources, such

 as the CFPB and FHFA. See Selia Law, 591 U.S. at 226; Collins, 594 U.S. at 231.

        The MSPB also “do[es] not wield substantial executive power,” Seila Law, 591 U.S. at

 218, but rather spends nearly all of its time adjudicating “inward-facing personnel matters”

 involving federal employees, Pl.’s Mot. at 4. The Board does not regulate the conduct of private

 parties, nor does it possess its own rulemaking authority except in furtherance of its judicial

 functions. See id. at 12. It cannot initiate its own personnel cases, but must instead “passively



        3
          One MSPB member’s term has now expired, and Harris’s term expires on March 1,
 2028. See Pl.’s Mot. at 29 n.20; Pl.’s Reply at 13–14; SUMF ¶ 3. President Trump will
 therefore have the opportunity to appoint at least two members to the MSPB during his term in
 office.


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 wait for them to be brought.” Id. at 12; see also 5 U.S.C. § 1204 (defining the Board’s powers

 and functions). Harris additionally points out that the MSPB preserves power within the

 executive branch by charging presidentially appointed Board members with mediation and initial

 adjudication of federal employment disputes, rather than shifting those decisions to Article III

 courts in the first instance. See Pl.’s Mot. at 14.

        Several other features of the MSPB demonstrate its limited effects on the President’s

 powers. The MSPB’s jurisdiction is generally restricted to civil servants and does not include

 political appointees. 4 See 5 U.S.C. § 7511. Even among civil servants, members of the Senior

 Executive Service removed “for less than fully successful executive performance” are entitled

 only to an informal hearing before the Board. See 5 U.S.C. § 3592(a). Furthermore, the MSPB’s

 decisions are generally not the final word. Federal employees may appeal the Board’s decisions

 to Article III courts, see 5 U.S.C. § 7703(a), and the Director of the Office of Personnel

 Management may similarly seek review of any decision that he determines “will have a

 substantial impact on a civil service law, rule, regulation, or policy directive,” id. § 7703(d)(1)–

 (2).

        Finally, the MSPB’s mission and purpose require independence. In enacting the CSRA,

 Congress exercised its power to regulate the civil service, defining certain prohibited personnel

 practices, to include discrimination, loyalty oaths, coercion to engage in political activity, and

 retaliation against whistleblowers. See 5 U.S.C. § 2302(b)(1)–(3), (8). Direct political control

 over the MSPB would have limited effect on the President’s implementation of his policy

 agenda. It would instead neuter the CSRA’s statutory scheme by allowing high-ranking


        4
           Nor may the Board review the merits of determinations concerning an employee’s
 eligibility to occupy a sensitive position that implicates national security. See Kaplan v.
 Conyers, 733 F.3d 1148, 1166 (Fed. Cir. 2013).


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 government officials to engage in prohibited practices and then pressure the MSPB into inaction.

 The MSPB’s independence is therefore structurally inseparable from the CSRA itself. These

 duties dovetail with United States v. Perkins, in which the Supreme Court held that Congress

 may “limit, restrict, and regulate the removal” of inferior officers. 116 U.S. 483, 485 (1886).

 Denying independence to the Board would undermine these constitutionally sound limitations on

 the removal of civil servants.

        Defendants cannot argue that Humphrey’s Executor has been overturned, so they instead

 suggest that even if the MSPB is a traditional multimember agency, it wields “‘substantial’

 executive power” in a manner found significant in Seila Law. Defs.’ Opp’n at 8 (quoting Seila

 Law, 591 U.S. at 218). Yet the Supreme Court has clarified that it did not mean Humphrey’s

 Executor to exclude removal protections for any official exercising authority within the

 executive branch. See Morrison v. Olson, 487 U.S. 654, 688–89 (1988); see also Seila Law, 591

 U.S. at 216 (detailing “several organizational features that helped explain” the Humphrey’s

 Executor court’s “characterization of the FTC as non-executive”). There is instead a “spectrum”

 that runs from “‘purely executive’ officials who must be removable by the President at will if he

 is to be able to accomplish his constitutional role” and those who serve “‘quasi-legislative’ or

 ‘quasi-judicial’” roles, where the President’s control is not “so central to the functioning of the

 Executive Branch” as to require the President to be able to terminate the official at will.

 Morrison, 487 U.S. at 690–91. As the Court explained above, the Board’s duties—which

 primarily include adjudication of employment claims—do not represent “substantial” executive

 power and instead take on a quasi-judicial role. Furthermore, the MSPB’s powers are no more

 expansive than the FTC’s functions upheld in Humphrey’s Executor, which remains good law.




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         Several courts have deployed similar reasoning when rejecting challenges to the

 structures of traditional multimember agencies in the years since Seila Law and Collins. Last

 year, the Fifth Circuit upheld the structure of the Consumer Product Safety Commission

 (“CPSC”), concluding that the agency is “a prototypical ‘traditional independent agency, run by

 a multimember board,’” is not directed by a single individual, and that the President may

 influence its activities through appointments or the appropriations process. Consumers’ Rsch. v.

 Consumer Prod. Safety Comm’n, 91 F.4th 342, 354–55 (5th Cir. 2024), cert. denied, 145 S. Ct.

 414, 170 (2024). The Tenth Circuit turned away a comparable challenge to the agency,

 reasoning that Humphrey’s Executor remains good law, that the CPSC is structured similarly to

 the FTC, and that limited civil and criminal enforcement powers do not undermine the

 constitutionality of its tenure protections. Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103

 F.4th 748, 762 (10th Cir. 2024), cert. denied, No. 24-156, 2025 WL 76435 (U.S. Jan. 13, 2025).

 Courts have additionally found the FTC’s structure constitutionally sound because the Supreme

 Court has not revisited Humphrey’s Executor. See Illumina, Inc. v. Fed. Trade Comm’n, 88

 F.4th 1036, 1047 (5th Cir. 2023); Meta Platforms, Inc. v. Fed. Trade Comm’n, 723 F. Supp. 3d

 64, 87 (D.D.C. 2024). This Court, likewise, cannot reach a different outcome regarding the

 MSPB.

         Because the MSPB falls within the scope of Humphrey’s Executor, Congress has the

 power to specify that members of the MSPB may serve for a term of years, with the President

 empowered to remove those members only for inefficiency, neglect of duty, or malfeasance in

 office. The President thus lacks the power to remove Harris from office at will. Because the

 President did not indicate that he sought to remove Harris for inefficiency, neglect of duty, or




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 malfeasance in office, his attempt to terminate her was unlawful and exceeded the scope of his

 authority. 5

                                              B. Remedy

         With the merits aside, the Court turns to the question of remedy. Harris offers up three

 avenues for relief: declaratory judgment, a permanent injunction, and a writ of mandamus. See

 Compl. ¶¶ 38–39, 42–44, 45–46; Pl.’s Mot. at 27–36. The Court concludes that because any

 attempt to remove Harris is unlawful, she is entitled to declaratory judgment that she remains a

 properly appointed member of the MSPB. The Court additionally determines that Harris has met

 her burden for the permanent injunction she seeks, and that a writ of mandamus would be

 appropriate if such injunctive relief were unavailable.

                                       1. Declaratory Judgment

         The Declaratory Judgment Act provides that, “[i]n a case of actual controversy within its

 jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

 of any interested party seeking such declaration, whether or not further relief is or could be

 sought.” 28 U.S.C. § 2201(a). It provides neither jurisdiction nor a cause of action, but rather a

 form of relief when the case is already properly before the Court. See C&E Servs., Inc. of

 Washington v. D.C. Water & Sewer Autho., 310 F.3d 197, 201 (D.C. Cir. 2002); Glenn v.

 Thomas Fortune Fay, 222 F. Supp. 3d 31, 35 (D.D.C. 2016). The Article III case-or-controversy

 requirement “is no less strict when a party is seeking a declaratory judgment than for any other



         5
           The parties do not debate the cause of action through which this legal challenge must
 flow—whether it be the APA, an ultra vires claim, or a separation of powers claim. These
 distinctions can be meaningful. See, e.g., Lewis v. U.S. Parole Comm’n, 743 F. Supp. 3d 181,
 199–201 (D.D.C. 2024) (examining the compatibility of an APA and ultra vires claim). The
 Court does not interpret this issue to be jurisdictional, however, and does not address an question
 the parties themselves declined to raise.


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 relief.” Fed. Express Corp. v. Air Line Pilots Ass’n, 67 F.3d 961, 963 (D.C. Cir. 1995) (citing

 Altvater v. Freeman, 319 U.S. 359, 363 (1943)). To establish that a matter is a “controversy”

 within the meaning of the Declaratory Judgment Act and Article III of the Constitution, a party

 “must ‘show that there is a substantial controversy, between parties having adverse legal

 interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.’”

 Hoffman v. Dist. of Columbia, 643 F. Supp. 2d 132, 140 (D.D.C. 2009) (quoting Md. Cas. Co. v.

 Pac. Coal & Oil Co., 312 U.S. 270, 273 (1941)).

        “[A] declaratory judgment always rests within the sound discretion of the court,”

 President v. Vance, 627 F.2d 353, 365 n.76 (D.C. Cir. 1980) (citing Brillhart v. Excess Ins. Co.

 of America, 316 U.S. 491, 494 (1942)), and “[t]here are no dispositive factors a district court

 should consider in determining whether it should entertain an action brought under the

 Declaratory Judgment Act.” New York v. Biden, 636 F. Supp. 3d 1, 31 (D.D.C. 2022) (quoting

 POM Wonderful LLC v. FTC, 894 F. Supp. 2d 40, 44 (D.D.C. 2012)). Several factors may be

 helpful to the Court’s consideration of “the propriety of granting a declaratory judgment,”

 however, such as “whether it would finally settle the controversy between the parties”; “whether

 other remedies are available or other proceedings pending”; and “the public importance of the

 question to be decided.” Hanes Corp. v. Millard, 531 F.2d 585, 592 n.4 (D.C. Cir. 1976). The

 Court might also consider “1) whether the judgment will serve a useful purpose in clarifying the

 legal relations at issue, or 2) whether the judgment will terminate and afford relief from the

 uncertainty, insecurity, and controversy giving rise to the proceeding.” Glenn, 222 F. Supp. 3d

 at 36 (citing President, 627 F.2d at 365 n.76).

        First, the Court finds a “controversy” here within the meaning of the Declaratory

 Judgment Act. The parties place before the Court a “substantial controversy” over the




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 lawfulness of the President’s effort to terminate Harris without cause, and whether she remains a

 member of the MSPB. Hoffman, 643 F. Supp. 2d at 140; see also Pl.’s Mot. at 11–26; Defs.’

 Opp’n at 5–13. The parties have adverse legal interests, with Defendants arguing that the

 President has a power that Harris claims he does not. See, e.g., Defs.’ Opp’n at 5 (arguing that

 the President’s removal power over principal officers is absolute). This controversy is also “of

 sufficient immediacy and reality to warrant the issuance of a declaratory judgment.” Hoffman,

 643 F. Supp. 2d at 140. The controversy here is not based, for instance, on “the occurrence of a

 future or contingent event,” but has rather come to a head after the President attempted to

 terminate Harris. C.F. Folks, Ltd. v. DC Jefferson Bldg., LLC, 308 F. Supp. 3d 145, 150 (D.D.C.

 2018).

          The Court additionally finds that declaratory relief is appropriate here. A declaratory

 “judgment will serve a useful purpose in clarifying the legal relations” between Harris and

 Defendants and abate ongoing “uncertainty, insecurity, and controversy” over her status as a

 member of the MSPB. Glenn, 222 F. Supp. 3d at 36. The question is also one of significant

 “public importance,” Hanes Corp., 531 F.2d at 592 n.4, given that it concerns the structure and

 independence of a federal agency. Although “other remedies” may be available, id., declaratory

 judgment remains appropriate to clarify Harris’s legal status, particularly given the complexity of

 injunctive relief in this area. In addition, the Declaratory Judgment Act grants authority to enter

 declaratory judgment “whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

          Defendants argue that the Court cannot issue declaratory judgment because it cannot

 enjoin the President. See Defs.’ Mot. at 21–22 (citing Samuels v. Mackell, 401 U.S. 66, 70

 (1971)). First, the declaratory judgment here clarifies not just the President’s legal relationship

 with MSPB members, but also subordinate officials’ legal rights and duties. Second, the




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 Supreme Court clarified in Samuels that it did “not mean to suggest that a declaratory judgment

 should never be issued in cases of this type if it has been concluded that injunctive relief would

 be improper.” Samuels, 401 U.S. at 73. “There may be unusual circumstances in which an

 injunction might be withheld because, despite a plaintiff’s strong claim for relief under the

 established standards, the injunctive remedy seemed particularly intrusive or offensive.” Id.

 “[I]n such a situation, a declaratory judgment might be appropriate and might not be contrary to

 the basic equitable doctrines governing the availability of relief.” Id. Courts withhold injunctive

 relief against the President precisely because it is considered “particularly intrusive or

 offensive,” and declaratory judgment remains warranted here given Harris’s “strong claim for

 relief under the established standards.” Id. Defendants additionally cite no controlling authority

 for the notion that declaratory judgment may not clarify the legal relationship between the

 President and other parties. To the contrary, appellate courts have previously affirmed the

 issuance of declaratory relief involving the President. See Nat’l Treasury Emps. Union v. Nixon,

 492 F.2d 587, 616 (D.C. Cir. 1974) (considering declaratory judgment to be a less drastic remedy

 than a writ of mandamus); see also Clinton v. City of New York, 524 U.S. 417, 421 (1998)

 (affirming declaratory judgment that the President’s actions under Line Item Veto Act were

 invalid).

         For these reasons, the Court enters declaratory judgment in this case clarifying that Harris

 remains a member of the MSPB, and that she may not be removed from her position absent

 inefficiency, neglect of duty, or malfeasance in office.

                                       2. Permanent Injunction

         Harris additionally seeks a permanent injunction barring several officials—not including

 the President—from removing her or treating her as removed. See Compl. ¶¶ 45–46; Pl.’s Mot.




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 at 28–30; Pl.’s Proposed Order, ECF No. 22-1. Defendants argue that Harris is not entitled to an

 injunction because the Court lacks the power to issue equitable relief “reinstating” an officer

 removed by the President. Defs.’ Opp’n at 14–18. Defendants also contend that Harris has not

 suffered an irreparable injury and that the balance of the equities weigh in their favor. See id. at

 18–21. The Court must therefore examine its power to issue equitable relief here before it

 considers whether to issue that relief.

                                  a. Availability of Injunctive Relief

         Defendants argue that Harris’s remedy must be limited to backpay, and that an injunction

 is inappropriate because that relief was not “traditionally accorded by courts of equity” to

 remedy an official’s wrongful removal from office. Defs.’ Opp’n at 14 (quoting Grupo

 Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 319 (1999)). Plaintiff

 responds that federal courts have long granted injunctive relief reinstating federal employees,

 and that mandamus should be available in the alternative. See Pl.’s Reply at 10–19.

         In Grupo Mexicano, the Supreme Court considered whether “a United States District

 Court has the power to issue a preliminary injunction preventing the [debtor] defendant from

 transferring assets in which no lien or equitable interest is claimed.” 527 U.S. at 310. The Court

 explained that “equity is flexible; but in the federal system, at least, that flexibility is confined

 within the broad boundaries of traditional equitable relief.” Id. at 322. “[E]quity jurisdiction of

 the federal courts is the jurisdiction in equity exercised by the High Court of Chancery in

 England at the time of the adoption of the Constitution and the enactment of the original

 Judiciary Act, 1789 (1 Stat. 73).” Id. at 318 (quoting A. Dobie, Handbook of Federal

 Jurisdiction and Procedure 660 (1928)). The Court concluded that because the Court of

 Chancery lacked “an equitable power to restrict a debtor’s use of his unencumbered property




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 before judgment,” a contemporary federal court lacks that power as well. Id. at 322; see also id.

 at 319–20. Defendants similarly reason that because the Court of Chancery did not issue

 injunctions returning public officials to their offices, this Court cannot either. See Defs.’ Opp’n

 at 14–15. That contention stumbles, however, for at least two reasons.

        The first is on-point Supreme Court guidance. In Sampson v. Murray, the Supreme Court

 considered whether a probationary employee at the General Services Administration could

 receive a temporary restraining order enjoining her dismissal during an administrative appeal to

 the Civil Service Commission. 415 U.S. 61, 62–63 (1974). The Court explained that a district

 court has “authority to grant interim injunctive relief to a discharged Government employee,” id.

 at 63, but that the plaintiff before the Court did not make the elevated “showing of irreparable

 injury sufficient in kind and degree to override” the Government’s usual autonomy over its

 internal affairs, id. at 84. Loss of wages and reputation could be remedied through further

 proceedings and was not enough to warrant injunctive relief for a federal employee, see id. at

 91–92, but that relief may be appropriate “in the genuinely extraordinary situation,” rather than

 “in the routine case.” Id. at 92 n.68. The Court specifically addressed White v. Berry, in which

 the Supreme Court reasoned that “a court of equity has no jurisdiction over the appointment and

 removal of public officers.” 171 U.S. 366, 377 (1898) (quoting In re Sawyer, 124 U.S. 200, 212

 (1888)). The Sampson Court asserted that “[m]uch water has flowed over the dam since 1898,”

 and that subsequent cases had recognized that federal courts are generally empowered to review

 the claims of discharged federal employees. Sampson, 415 U.S. 71–72 (citing Service v. Dulles,

 354 U.S. 363 (1957)); see also Kloeckner, 568 U.S. at 44–46 (discussing remedies for federal

 employee under the CSRA, Title VII of the Civil Rights Act of 1964, and the Age

 Discrimination in Employment Act of 1967); Elgin v. Dep’t of Treasury, 567 U.S. 1, 22 (2012)




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 (listing “reinstatement” as among “the kinds of relief that the CSRA empowers” courts to

 provide). Harris’s situation is additionally akin to that of the Sampson plaintiff because there is a

 federal standard to which Harris’s hiring and firing must adhere, and one that the Court must

 enforce. Sampson thus instructs that equitable relief is available to Harris if she can show that

 her termination represents a “genuinely extraordinary situation,” rather than a “routine case.”

 Sampson, 415 U.S. at 92 n.68. 6 Sampson is not unique; the Supreme Court has repeatedly

 determined that plaintiff federal employees were entitled to reinstatement after termination

 violated their legal rights. See Service, 354 U.S. at 388–89; Vitarelli v. Seaton, 359 U.S. 535,

 546 (1959); see also Miller v. Clinton, 687 F.3d 1332, 1360 n.7 (D.C. Cir. 2012) (Kavanaugh, J.,

 dissenting) (explaining that for a federal employee experiencing “unconstitutional

 discrimination, equitable relief could include an injunction prior to termination or reinstatement

 subsequent to termination”).

        The D.C. Circuit has also found injunctive relief against subordinate federal officials to

 be available to restore presidential appointees to their offices, although the Government did not

 raise the scope of historical equitable relief in those cases. See Swan v. Clinton, 100 F.3d 973,

 976–81 (D.C. Cir. 1996); Severino v. Biden, 71 F.4th 1038, 1042–43 (D.C. Cir. 2023). 7 In Swan,

 the six-year term of a member of the Board of the National Credit Union Administration

 (“NCUA”) had expired, but he remained in office because the relevant statute allowed members

 to serve until their successors had qualified. Swan, 100 F.3d at 975–76. President Clinton



        6
          There can additionally be no dispute that federal courts may grant injunctive relief “with
 respect to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr.,
 Inc., 575 U.S. 320, 327 (2015) (citing Am. Sch. of Magnetic Healing v. McAnnulty, 187 U.S. 94,
 110 (1902)).
        7
         Cases before other courts add further evidence that this power exists. See Pl.’s Reply at
 11–12 (collecting cases).


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 removed the board member, who then sued seeking declaratory judgment and an injunction

 ordering his reinstatement. See id. The court assessed the board member’s standing to bring the

 case, focusing on whether his claims were judicially redressable. Id. at 976–81. The court was

 uncertain of its power to enjoin the President himself from removing the plaintiff from office, see

 id. at 977–78, but reasoned that it could instead “ensure the rule of law” by issuing “injunctive

 relief against subordinate officials” effectuating his reinstatement “de facto by” requiring his

 colleagues to treat him “as a member of the NCUA Board and allowing him to exercise the

 privileges of that office,” id. at 978, 980. This encompassed, for instance, “including [the

 plaintiff official] in Board meetings, giving him access to his former office, recording his votes

 as official votes of a Board member, allowing him to draw the salary of a Board member etc.” 8

 Id. at 980. The Circuit reprised this analysis in Severino, in which President Biden removed a

 member of the Administrative Conference of the United States Council, see Severino, 71 F.4th at

 1041, and the plaintiff had standing because a court could “enjoin ‘subordinate executive

 officials’ to reinstate a wrongly terminated official ‘de facto,’ even without a formal presidential

 reappointment,” id. at 1042–43 (quoting Swan, 100 F.3d at 980). 9

        Second, it is also clear that even if Sampson, Swan, and Severino did not make equitable

 relief available to Harris in a “genuinely extraordinary situation,” she would nonetheless be

 entitled to a writ of mandamus—which is a remedy at law. See Kalbfus v. Siddons, 42 App. D.C.


        8
          The Circuit ultimately concluded that the board member’s claim failed on the merits
 because, even assuming that NCUA board members had removal protections, holdover members
 would be entitled to no such protection. See Swan, 100 F.3d at 983–88.
        9
          Defendants argue that these cases are not on point because the courts there were
 considering the redressability of the plaintiffs’ claims when evaluating their standing. See Defs.’
 Opp’n at 16; Swan, 100 F.3d 976–81; Severino, 71 F.4th at 1042–43. Yet the Circuit’s reasoning
 is no mere dicta, as a federal court must determine that it has the power to grant effective relief
 before assuming jurisdiction over a case. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–
 61 (1992).


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 310, 319–21 (D.C. Cir. 1914) (collecting cases); see also Pl.’s Reply at 15–16 (collecting

 sources). To the extent that English equity courts declined to issue injunctions reinstating

 officials to their positions, they likely did so because the King’s Bench, a court of law, would

 readily issue mandamus instead. See Walkley v. City of Muscatine, 73 U.S. 481, 483–84 (1867)

 (explaining, relying on English cases, that “a court of equity is invoked” only where “a court of

 law . . . is inadequate to afford the proper remedy”); Parker v. Winnipiseogee Lake Cotton &

 Woolen Co., 67 U.S. 545, 550–51 (1862) (similar). English courts around the time of the

 founding recognized this power and exercised it regularly. See, e.g., R. v. Mayor of London, 100

 Eng. Rep. 96, 98 (1787) (recognizing power to issue mandamus reinstating public official); 10 R.

 v. Mayor and Aldermen of Doncaster (1752), 96 Eng. Rep. 795 (restoring municipal official to

 his office after removal by town council); R. v. Mayor, Bailiffs, and Common Council of the

 Town of Liverpool (1759), 97 Eng. Rep. 533 (same); 11 R. v. Mayor, Aldermen and Burgesses of

 Doncaster (1729), 92 Eng. Rep. 513 (same); 73 Eng. Rep. at 752 (discussing Thompson v.

 Edmonds, in which the King’s Bench restored a bailiff to his office because he “was removed”

 by the mayor “without cause”); R. v. Mayor, Aldermen, and Common Council of Gloucester, 90

 Eng. Rep. 1148 (restoring official to office of capital burgess). Numerous treatises further

 confirm this practice. See 3 W. Blackstone, Commentaries *264–265 (“The writ of mandamus is

 . . . a most full and effective remedy, in the first place, for refusal of admission where a person is

 entitled to an office or place in any such [municipal] corporation; and, secondly, for wrongful


        10
            During this case, respected trial lawyer Thomas Erskine explained that “[w]henever a
 person is improperly suspended or removed from an office, whether it concern public or private
 duties, if he has a certain term in it, and there are profits annexed to it, and the party has no other
 specific legal remedy, the Court will grant mandamus to restore him.” 100 Eng. Rep. at 97.
        11
          Here, Lord Mansfield explained that when officials respond to an action for
 mandamus, “the return must set out all the necessary facts, precisely; to shew that the person is
 removed in legal and proper manner, and for a legal cause.” 97 Eng. Rep. at 537.


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 removal, when a person is legally possessed.”); Thomas Tapping, The Law and Practice of the

 High Prerogative Writ of Mandamus as it Obtains Both in England and in Ireland 221 (1853)

 (“The writ of mandamus . . . has by a great number of cases held to be grantable . . . to restore

 him who has been wrongfully displaced, to any office, function, or franchise of a public nature

 . . . .”); id. at 224 (distinguishing an officer “at pleasure” who may be removed without cause). 12

 Even the treatise cited in Defendants’ opposition explains that a court sitting in equity would

 “not interfere by injunction” in such cases simply because it would instead “leave that question

 to be determined by a legal forum.” 2 James L. High, Treatise on the Law of Injunctions § 1312

 (2d ed. 1880); see also Defs.’ Opp’n at 15. This was the state of the law at the time of the

 founding, as well as when Congress passed the All Writs Act as part of the Judiciary Act of

 1789. See Pa. Bureau of Corr. v. U.S. Marshals Serv., 474 U.S. 34, 40 (1985). For this reason,

 the Supreme Court was careful in both In re Sawyer and White v. Berry to specify that

 mandamus was available “to determine the title to a public office” in “the courts of law.” In re

 Sawyer, 124 U.S. at 212; White, 171 U.S. at 377. 13




        12
            Later treatises provide additional support for use of the writ of mandamus “for the
 purpose of restoring an individual to an office, where he has been illegally deprived of the
 possession thereof.” Horace G. Wood, A Treatise on the Legal Remedies of Mandamus and
 Prohibition, Habeas Corpus, Certiorari and Quo Warranto 11 (1891). “When the title to the
 office is indisputable,” proceedings for the writ of quo warranto would be “dilatory” and “a
 mandamus would be proper and should be awarded.” Id. at 12 (quoting 7 How., 128); see also 1
 Howard Clifford Joyce, A Treatise on the Law Relating to Injunctions § 55 (1909) (“The
 jurisdiction to determine the title to a public office belongs only to courts of law and is exercised
 . . . by mandamus . . . and the mode of procedure established by the common law or by statute”);
 2 Eugene McQuillin, A Treatise on the Law of Municipal Corporations § 582 (1911) (same).
        13
            Defendants argue that Harris was effectively removed from office and seeks a court
 order returning her to it. See Defs.’ Opp’n at 15. The D.C. Circuit has clarified that this is not
 the case, and that Harris was never in fact removed. See Kalbfus, 42 App. D.C. at 321 (“In the
 present case the removal of the relator having been illegal and void, the office never became
 vacant . . . .”).


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        As the Court explains below, however, a writ of mandamus can issue under our

 contemporary jurisprudence only when “the party seeking issuance of the writ ha[s] no other

 adequate means to attain the relief he desires.” Kerr v. U. S. Dist. Ct. for N. Dist. of California,

 426 U.S. 394, 403 (1976) (citing Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 26 (1943)).

 Because the Court reads Sampson, Swan, and Severino to allow it to issue an injunction, it

 concludes that this injunction represents “adequate means” to provide Harris’s requested relief,

 barring a mandamus remedy. Kerr, 426 U.S. at 403. This represents a curious reversal from

 norms before English courts, where reinstatement of officials through legal means was preferred

 over restoration through equitable means. See Swan, 100 F.3d at 976–81; Severino, 71 F.4th at

 1042–43. Yet the broader point is that this Court may provide Harris some form of effective

 relief preventing her unlawful termination from the MSPB, whether it be through an injunction

 or a writ of mandamus. See Swan, 100 F.3d at 977 n.1 (explaining that a request for injunction

 and request for writ of mandamus can be “essentially” the same thing in some contexts).

        Finally, Defendants argue that the Court cannot enjoin the President or enjoin others in a

 manner that restricts his Article II authority. See Defs.’ Opp’n at 16. To be clear, Harris does

 not ask the Court to enjoin President Trump, see, e.g., Pl.’s Proposed Order, and the Court does

 not do so. 14 Yet Defendants cite no authority for the proposition that a court lacks the power to

 enjoin the President’s subordinates to restrain the President’s violation of law. In fact, that is


        14
           The availability of injunctive relief against the President may depend in part on
 whether compliance with 5 U.S.C. 1202(d) represents a ministerial rather than executive duty, a
 question the Supreme Court has “left open.” Franklin v. Massachusetts, 505 U.S. 788, 802
 (1992) (plurality opinion); see also State of Mississippi v. Johnson, 71 U.S. 475, 498 (1866)
 (declining to decide whether a court may require the President “to perform a purely ministerial
 act,” and defining a “ministerial duty” as “one in respect to which nothing is left to discretion);
 McCray v. Biden, 574 F. Supp. 3d 1, 9 (D.D.C. 2021) (“Franklin, however, did not absolutely
 slam the door shut on presidential injunctions.”). Of course, the Court need not decide this
 question here.


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 precisely the remedy the Supreme Court affirmed in Youngstown Sheet & Tube Co. v. Sawyer,

 343 U.S. 579, 584 (1952) (describing preliminary injunction restraining Secretary of Commerce

 from following President Truman’s orders and “continuing the seizure and possession of the

 [steel] plant”). And in Swan v. Clinton, the D.C. Circuit concluded that a district court could

 enjoin the President’s subordinates in order to effectuate a federal official’s reinstatement. See

 100 F.3d at 979; see also id. (concluding that “injunctive relief against such officials could

 substantially redress [the terminated official’s] injury”); see also Severino, 71 F.4th at 1042–43.

 Having assured itself that injunctive relief is available here, the Court proceeds to consider

 whether a permanent injunction is warranted. 15

                                b. Factors for Permanent Injunction

        An injunction “is an extraordinary remedy never awarded as of right.” Winter v. Nat.

 Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Yet “it goes without saying that federal courts

 must vigilantly enforce federal law and must not hesitate in awarding necessary relief.” DL v.

 District of Columbia, 860 F.3d 713, 726 (D.C. Cir. 2017) (quoting Horne v. Flores, 557 U.S.

 433, 450 (2009)). A permanent injunction is a “forward-looking” remedy, Gratz v. Bollinger,

 539 U.S. 244, 284 (2003), the “principal purpose” of which is to “deter future violations, and not

 to punish the violator,” Sec. & Exch. Comm’n v. Savoy Indus., Inc., 587 F.2d 1149, 1169 (D.C.

 Cir. 1978). “[A] plaintiff seeking a permanent injunction must satisfy a four-factor test before a

 court may grant such relief.” eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). A

 plaintiff must demonstrate: “(1) that it has suffered an irreparable injury; (2) that remedies


        15
          Defendants additionally suggest that “when executive officers have challenged their
 removal by the President, they have traditionally sought back pay, not reinstatement.” Defs.’
 Opp’n at 13. The Court fails to see how it might lack the power to issue injunctive relief here
 simply because the plaintiffs in Wiener and Humphrey’s Executor decided to seek another
 remedy.


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 available at law, such as monetary damages, are inadequate to compensate for that injury; (3)

 that, considering the balance of hardships between the plaintiff and defendant, a remedy in equity

 is warranted; and (4) that the public interest would not be disserved by a permanent injunction.”

 Id. Where the federal government is the opposing party, the balance of equities and public

 interest factors merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). The Supreme Court “has

 repeatedly held that the basis for injunctive relief in the federal courts has always been

 irreparable injury and the inadequacy of legal remedies.” Weinberger v. Romero-Barcelo, 456

 U.S. 305, 312 (1982); see also Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

 297 (D.C. Cir. 2006) (same).

        For the same reasons the Court discussed in its previous opinion, Harris has established

 that she has suffered irreparable harm and will likely suffer irreparable harm in the future absent

 injunctive relief. See Mem. Op. at 11–19; Standing Rock Sioux Tribe v. U.S. Army Corps of

 Eng’rs, 540 F. Supp. 3d. 45, 55 (D.D.C. May 21, 2021) (“While the irreparable-harm

 requirement is recited in the past tense, it is clear that future harm may qualify.” (citing

 Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 162 (2010))). Congress intended the

 MSPB and its members to carry out their limited duties with a degree of independence from the

 President, guided primarily by his selection of members for the multimember board rather than

 “the Damocles’ sword of removal.” Wiener, 357 U.S. at 356. As the Court reasoned in its

 previous memorandum opinion, the MSPB’s independence would evaporate if the President

 could terminate its members without cause, even if a court could later order them reinstated. See

 Mem. Op. at 16. Harris has undoubtedly experienced an injury to this independence in her

 capacity as a member of the MSPB following the President’s attempt to terminate her without

 cause, and any future attempts would prove just as harmful to that autonomy.




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        Harris additionally suffers irreparable harm because she has been “depriv[ed] of [her]

 statutory right to function” as a member of the MSPB, and any further attempts to separate her

 from her position will exacerbate this injury. Berry v. Reagan, No. 83-3182, 1983 WL 538, at *5

 (D.D.C. Nov. 14, 1983). The termination email Harris received resulted in the inability to pursue

 her “statutory mission” to protect employees from prohibited personnel practices, such that “the

 loss of the ability to do what Congress specifically directed [her] to do cannot be remediated with

 anything other than equitable relief.” Dellinger v. Bessent, No. 25-cv-0385, 2025 WL 471022, at

 *11 (D.D.C. Feb. 12, 2025). In addition, unlike most other federal employees, Harris was duly

 appointed by the President and confirmed by the Senate to a position carrying a term of years

 with specific reasons for her removal.

        The Court finds that this harm represents a “genuinely extraordinary situation” meriting

 injunctive relief related to a federal employee’s discharge. Sampson, 415 U.S. at 92 n.68; see

 also Mem. Op. at 12–13 (discussing Sampson). The clear federal statute granting Harris for-

 cause removal protections, coupled with longstanding precedent upholding the constitutionality

 of analogous provisions, overcomes the “latitude” traditionally afforded the Government “in the

 ‘dispatch of its own internal affairs.’” Sampson, 415 U.S. at 83. The plaintiff in Sampson, who

 failed to meet this standard, sought an injunction temporarily enjoining her dismissal during an

 administrative appeal. See id. at 63. Yet the parties point to no administrative pathway here

 through which Harris could seek reinstatement following improper termination. Furthermore,

 whereas the Sampson plaintiff was a probational employee, see id. at 62, Harris is a member of

 the board of an independent agency, was appointed by the President and confirmed by the

 Senate, and enjoys tenure protections to preserve her independence.




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         For similar reasons, it is also apparent that “remedies available at law, such as monetary

 damages, are inadequate to compensate for” Harris’s injuries. eBay Inc., 547 U.S. at 391.

 Defendants argue that loss of salary generally does not represent irreparable harm. See Defs.’

 Opp’n at 19. As the Court has explained, however, this is not a standard employment action that

 can be remedied through back pay and later reinstatement, and Harris’s claims do not revolve

 around her salary. See Mem. Op. at 15.

         Defendants additionally cite Raines v. Byrd, 521 U.S. 811 (1997), for the notion that “a

 loss of political power” does not represent injury. Defs.’ Mot. at 15. Raines is a case about

 legislators’ standing to sue over legislation they perceive to cede power to the Executive Branch,

 and the case has minimal application to the irreparable injury analysis here. See 521 U.S. at

 820–21. Harris is not a member of Congress, nor is standing at issue. The Supreme Court

 reasoned in Raines that any injury would be far too diffuse to support the legislators’ standing, as

 it was spread across both Houses of Congress, and the legislators did not claim injury arising

 from “something to which they personally are entitled.” Id. at 821. If anything, Raines supports

 Harris’s claim to injury based on exclusion from her office: she has “been singled out for

 specially unfavorable treatment as opposed to other Members,” and has lost something to which

 she is “personally” entitled. Id.

         Finally, injunctive relief in this case is in the public interest, and the balance of the

 equities tips in Harris’s favor. Given that federal law limits the conditions under which Harris’s

 tenure may be terminated, Supreme Court precedent supports the constitutionality of those

 conditions, and Defendants do not argue that those conditions were met here, the Court finds that

 it is in the public interest to issue injunctive relief. “[T]here is a substantial public interest ‘in

 having governmental agencies abide by the federal laws that govern their existence and




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 operations.’” League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir.

 2016) (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). So too is there

 substantial public interest in the for-cause removal protections Congress has given to certain

 members of independent agencies. Furthermore, the government “cannot suffer harm from an

 injunction that merely ends an unlawful practice or reads a statute as required.” R.I.L-R v.

 Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127,

 1145 (9th Cir. 2013)).

        Defendants suggest that the public interest weighs against injunctive relief here because

 “[s]uch a remedy would undermine the accountability of the Executive Branch instilled by the

 Constitution,” and the President “cannot be compelled to retain the services of a principal

 officer.” Defs.’ Opp’n at 20–21. This argument largely relies on Defendants’ success on the

 merits, and the Court has already determined that the President lacks the power to remove Harris

 at will. Defendants additionally argue that “the public interest is better served by an MSPB

 member who holds the President’s confidence.” Id. at 21. Yet Defendants decline to explain

 exactly how the public interest would be better served by removing Harris from her position.

 They do not dispute any of Harris’s factual assertions, including her efforts to consider,

 deliberate, and vote on 35 cases per week to clear the MSPB’s backlog of nearly 3,800 cases.

 See SUMF ¶¶ 12–28. This effort was successful, as by early this year the inherited cases had all

 but disappeared. See id. ¶ 20. Recall that many of these cases involve allegations that federal

 agencies engaged in prohibited personnel practices, such as targeting of federal employees based

 on political affiliation; retaliation against whistleblowers reporting violations of law, waste, fraud

 and abuse; discrimination; and USERRA violations, among others. See Pl.’s Mot. at 4–5

 (collecting cases). Defendants make no effort to enlighten the Court as to how Harris’s handling




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 of these cases might differ from the President’s preferred approach, let alone in a manner that

 might tilt the public interest factor in their favor. Defendants additionally overlook the fact that

 if Harris or her colleagues were ever to become inefficient, neglect their duty, or engage in

 malfeasance in office, the President would be empowered to remove them for cause. See 5

 U.S.C. § 1202(d). The Court thus finds nothing in Defendants’ arguments that might support a

 public interest against injunctive relief here.

         The Court additionally notes that in opposing injunctive relief in its entirety, Defendants

 have declined to engage with the scope of Harris’s proposed relief. See generally Proposed

 Order; Defs.’ Opp’n. The Court will nonetheless tailor its declaratory and injunctive relief to

 meet Harris’s entitlement under the law. 16

                                         3. Writ of Mandamus

         Harris requests that the Court issue a writ of mandamus if no other relief is available. See

 Pl.’s Mot. at 34–35. Defendants argue that the President has no clear nondiscretionary duty here,

 as his selection of “who should lead an Executive Branch agency is certainly not a mere

 ministerial task.” Defs.’ Mot. at 22.

         “The preemptory common-law writs are among the most potent weapons in the judicial

 arsenal.” Will v. United States, 389 U.S. 90, 107 (1967). A district court has “original

 jurisdiction of any action in the nature of mandamus” only if “(1) the plaintiff has a clear right to

 relief; (2) the defendant has a clear duty to act; and (3) there is no other adequate remedy



         16
            Although injunctive relief is merited, the Court narrows Harris’s request slightly.
 Harris seeks a permanent injunction prohibiting several Defendants from removing her or
 treating her as removed. See Proposed Order. Yet § 1202(d) permits the President to remove her
 for inefficiency, neglect of duty, or malfeasance in office. The Court nonetheless notes the
 undisputed record demonstrating that Harris and her colleagues have carried out their duties to
 decide cases in addition to clearing a significant backlog.


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 available to [the] plaintiff.” In re Nat’l Nurses United, 47 F.4th 746, 752 n.4 (D.C. Cir. 2022)

 (quoting Muthana v. Pompeo, 985 F.3d 893, 910 (D.C. Cir. 2021)). “[M]andamus jurisdiction

 under § 1361 merges with the merits.” Muthana, 985 F.3d at 910 (quoting Lovitky v. Trump, 949

 F.3d 753, 759 (D.C. Cir. 2020)). “[E]ven if the plaintiff overcomes all these hurdles, whether

 mandamus relief should issue is discretionary.” In re Cheney, 406 F.3d 723, 729 (D.C. Cir.

 2005).

          The Court finds the first two requirements for mandamus relief to be satisfied. A court

 “can analyze the clear right to relief and clear duty to act requirements for mandamus

 ‘concurrently.’” Illinois v. Ferriero, 60 F.4th 704, 715 (D.C. Cir. 2023) (quoting Lovitky, 949

 F.3d at 760). “[T]o meet the ‘clear duty to act’ standard, ‘[t]he law must not only authorize the

 demanded action, but require it; the duty must be clear and indisputable.’” Ferriero, 60 F.4th at

 715 (quoting United States ex rel. McLennan v. Wilbur, 283 U.S. 414, 420 (1931). Based on the

 Court’s holding that federal law precludes the President’s power to remove Harris at will, the

 Court finds a duty here that is clear and indisputable, and under binding Supreme Court

 precedent there is no “room for an honest difference of opinion” on the part of federal officials.

 Reichelderfer v. Johnson, 72 F.2d 552, 554 (D.C. Cir. 1934). In other words, the statute does not

 provide room for executive discretion—the President has no menu of options to pick from when

 he categorically may not remove Harris without cause. In making this determination, the Court

 additionally looks to the voluminous precedent demonstrating that courts of law issued

 mandamus relief in similar situations at the time Congress passed the All Writs Act in 1789 and

 over the ensuing centuries.

          As the Court previewed earlier, however, it appears at present that Harris has a separate,

 “adequate remedy” available in the form of a permanent injunction. In re Nat’l Nurses United,




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 47 F.4th at 752 n.4. The Court thus determines that her request for mandamus relief fails on that

 basis alone. Were equitable injunctive relief unavailable here, however, the Court would not

 hesitate to “vigilantly enforce federal law” and “award[] necessary relief” through a writ of

 mandamus as an alternative remedy at law. DL, 860 F.3d at 726.

                                        V. CONCLUSION

        For the foregoing reasons, Plaintiff Cathy A. Harris’s motion for summary judgment is

 GRANTED; and it is

        DECLARED that Plaintiff Cathy A. Harris remains a member of the Merit Systems

 Protection Board, having been confirmed by the Senate on May 25, 2022, and sworn in on June

 1, 2022, and that she may be removed by the President prior to the expiration of her term in

 office only for inefficiency, neglect of duty, or malfeasance in office pursuant to 5 U.S.C.

 § 1202; and it is

        FURTHER ORDERED that Plaintiff Cathy A. Harris shall continue to serve as a

 member of the Merit Systems Protection Board until her term expires pursuant to 5 U.S.C.

 § 1202, unless she is earlier removed for inefficiency, neglect of duty, or malfeasance in office

 under that statute. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director

 Sergio Gor, Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from

 removing Harris from her office without cause or in any way treating her as having been

 removed without cause, denying or obstructing Harris’s access to any of the benefits or resources

 of her office, placing a replacement in Harris’s position, or otherwise recognizing any other

 person as a member of the Merit Systems Protection Board in Harris’s position; and it is




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           FURTHER ORDERED that the Court’s Temporary Restraining Order is VACATED.

           An order consistent with this Memorandum Opinion is separately and contemporaneously

 issued.


 Dated: March 4, 2025                                            RUDOLPH CONTRERAS
                                                                 United States District Judge




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                                No. 25-5055


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                             CATHY A. HARRIS,
                                            Plaintiff-Appellee,
                                      v.
 SCOTT BESSENT, in his official capacity as Secretary of the Treasury, et al.,
                                            Defendants-Appellants.

               On Appeal from the United States District Court
                        for the District of Columbia


      EMERGENCY MOTION FOR A STAY PENDING APPEAL

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               CERTIFICATE AS TO PARTIES, RULINGS,
                       AND RELATED CASES

       A.    Parties and Amici

       Plaintiff is Cathy A. Harris. Defendants are Scott Bessent, in his

 official capacity as Secretary of the Treasury; Trent Morse, in his official

 capacity as Deputy Assistant to the President and Deputy Director of the

 White House Presidential Personnel Office; Sergio Gor, in his official

 capacity as Director of the White House Presidential Personnel Office;

 Henry J. Kerner, in his official capacity as Acting Chairman of the Merit

 Systems Protection Board; Donald J. Trump, in his official capacity as

 President of the United States of America; and Russell T. Vought, in his

 official capacity as Director of the Office of Management and Budget.

       The Constitutional Accountability Center and the States of Florida

 and Tennessee participated as amicus curiae before the district court.

       B.    Ruling Under Review

       The ruling under review is a summary-judgment order (Dkt. 39) and

 opinion (Dkt. 40) that the district court issued on March 4, 2025. That

 opinion and order are attached to this motion.
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       C.    Related Cases

       This case has previously been before this Court as No. 25-5037, but

 that appeal from the district court’s TRO order has been rendered moot by

 the order challenged here.

       Wilcox v. Trump, No. 25-334 (D.D.C. filed Feb. 5, 2025), similarly

 involves a challenge to the President’s removal of a principal officer from a

 multimember agency (the National Labor Relations Board) with statutory

 removal restrictions, 29 U.S.C. § 153(a).

       Grundman v. Trump, No. 25-425 (D.D.C. filed Feb. 13, 2025),

 similarly involves a challenge to the President’s removal of a principal

 officer from a multimember agency (the Federal Labor Relations Authority)

 with statutory removal restrictions, 5 U.S.C. § 7104(b).

       Dellinger v. Bessent, No. 25-5052 (D.C. Cir), similarly involves a

 challenge to the President’s removal of a principal officer serving as the sole

 head of an agency (The Office of Special Counsel) with statutory removal

 restrictions, 5 U.S.C. § 1211(b).

                                             /s/ Laura E. Myron
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 CERTIFICATE OF COMPLIANCE

 ATTACHMENT: District Court’s Order and Memorandum Opinion
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                               INTRODUCTION

       This appeal arises from an order of the district court immediately

 reinstating a principal officer of the United States whom the President has

 lawfully fired. The district court’s unprecedented order works a grave harm

 to the separation of powers and undermines the President’s ability to

 exercise his executive authority. The government seeks a stay of the order

 pending appeal and respectfully requests an immediate administrative stay.

       The Constitution vests the entirety of the “executive Power” in the

 President, who is given the sole responsibility to “take Care that the Laws

 be faithfully executed.” Art. II, § 1, cl. 1; id. § 3. That executive power

 encompasses the authority to remove those who aid the President in

 carrying out his duties.

       On February 10, 2025, the President exercised that authority when he

 removed Cathy Harris from her position as a Member of the Merit Systems

 Protection Board (MSPB or Board), an Executive Branch agency that

 performs quintessentially executive functions. Harris filed suit to challenge

 that removal and the district court granted a temporary restraining order

 reinstating Harris to office. The court then extended that reinstatement in a

 permanent injunction after granting summary judgment to Harris. That

 extraordinary relief is a significant and unjustifiable intrusion on the
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 President’s constitutional authority to oversee the Executive Branch and

 the principal officers he must trust to carry out the Executive’s prerogatives.

 Indeed, this Court recently stayed a similar order that had reinstated the

 Special Counsel. The Court directed that the President’s removal of the

 Special Counsel be given effect. See Dellinger v. Bessent, No. 25-5052,

 Order (March 5, 2025). A stay is equally warranted here.

       First, the district court erred in holding that the President lacks

 authority to remove Harris from the MSPB except “for inefficiency, neglect

 of duty, or malfeasance in office.” 5 U.S.C. § 1202(d). That statutory

 restriction on the President’s removal power is unconstitutional. The

 President “as a general matter” has “authority to remove those who assist

 him in carrying out his duties.” Free Enterprise Fund v. Public Accounting

 Oversight Board, 561 U.S. 477, 513-14 (2010). The Supreme Court in

 Humphrey’s Executor v. United States, 295 U.S. 602 (1935), recognized a

 limited exception to that rule of at-will Presidential removal for “a

 multimember body of experts, balanced along partisan lines, that

 performed legislative and judicial functions and was said not to exercise

 any executive power.” Seila Law LLC v. CFPB, 591 U.S. 197, 216 (2020).

 That exception, however, does not encompass the MSPB, which plainly

 exercises executive power: it reviews decisions of other Executive Branch



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 agencies to remove and discipline federal employees, 5 U.S.C. § 7701(a); it

 issues final decisions and may “enforce compliance with any such order,”

 id. § 1204(a)(2); it can sua sponte invalidate certain federal regulations and

 can “require any agency * * * to cease compliance with” such an invalidated

 rule, id. § 1204(f)(1)-(4); and it appears in federal court in its own name and

 through its own attorneys, id. §§ 1204(i), 7703(a)(2). Accordingly, because

 the MSPB does not fit within the narrow scope of Humphrey’s Executor,

 Congress cannot restrict the President’s removal authority.

       Second, Harris will not suffer irreparable harm in the absence of

 immediate reinstatement. The district court was wrong to conclude that

 Harris’s removal is the sort of “genuinely extraordinary situation,”

 Sampson v. Murray, 415 U.S. 61, 92 & n.68 (1974), in which loss of

 government employment may constitute irreparable harm. Likewise, the

 court’s conclusion that Harris was irreparably harmed by being “depriv[ed]

 of [her] statutory rights to function,” Dkt. 40 at 29, also fails because public

 officials have no individual right to the powers of their offices. See Raines v.

 Byrd, 521 U.S. 811, 820 (1997) (“loss of political power” not irreparable

 harm); Barnes v. Kline, 759 F.2d 21, 50 (D.C. Cir. 1984) (Bork, J.,

 dissenting) (notion that public officials “have a separate private right, akin




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 to a property interest, in the powers of their offices” is “alien to the concept

 of a republican form of government”).

       Third, the balance of the equities and the public interest favor

 defendants. The relief Harris seeks—an order requiring the President to

 reinstate a person he has chosen to remove from office—is extraordinary.

 Such an order would greatly impede President’s authority to exercise “all

 of” “the ‘executive Power’” of the United States. Seila Law, 590 U.S. at 203.

 Allowing Harris to exercise executive power over the President’s objection

 unquestionably inflicts irreparable harm on both the Executive and the

 separation of powers.

       For all these reasons, a stay pending appeal is warranted.

       The parties have agreed upon an expedited schedule under which

 plaintiff would respond to this motion by 11:59PM Monday, March 10, and

 defendants would reply by 5:00PM Wednesday, March 12. Defendants

 respectfully request a ruling from the Court as soon as practicable

 thereafter.

                                 STATEMENT

       A.      Statutory Background
       Congress created the MSPB as part of the Civil Service Reform Act of

 1978. Pub. L. No. 95-454, § 202(a), 92 Stat. 1111, 118-44 (1978). The MSPB

 is a successor to the Civil Service Commission, an agency established in the

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 Chester A. Arthur Administration to help the President prepare suitable

 civil service examination rules for applicants seeking federal employment.

 Act of Jan. 16, 1883, ch. 27, §2, 22 Stat. 403, 403 (1883). The Commission

 was comprised of three Commissioners appointed by the President and

 removable at will, see id. § 1, 22 Stat. at 403 (“The President may remove

 any Commissioner.”).

      Nearly a century later, Congress passed the Civil Service Reform Act

 and split the Commission’s functions between two new agencies: the Office

 of Personnel Management and the MSPB. 92 Stat. at 1118-44. The Act

 charged the Office of Personnel Management with conducting the

 Commission’s personnel management functions, while the MSPB

 performed the Commission’s “hearing, adjudication, and appeals

 functions,” and was vested with “authority to enforce agency compliance

 with its decisions.” Congressional Research Service, Merit Systems

 Protection Board (MSPB): A Legal Overview 3 (March 25, 2019).

      The MSPB, like the Commission, consists of three Members

 appointed by the President with Senate confirmation. 5 U.S.C. § 1201. No

 more than two Members may belong to the same political party. Id. But in a

 departure from the longstanding operation of the Commission, Congress




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 limited the President’s ability to remove MSPB Members to only cases of

 “inefficiency, neglect of duty, or malfeasance in office.” Id. § 1202(d).

       The MSPB primarily reviews federal employee appeals of adverse

 actions “which [are] appealable to the Board under any law, rule, or

 regulation,” including those related to removal or suspension for periods

 greater than fourteen days. 5 U.S.C. § 7701(a); see also id. § 7521(a); 5

 C.F.R. § 1201.3(a). The MSPB can hear cases directly or it can refer them for

 initial adjudication by inferior officers it appoints (administrative judges

 and administrative law judges). 5 U.S.C. § 7701(b)(1). The MSPB has

 authority to “take final action on any such matter[s]” before it, id.

 § 1204(a)(1), and can order any federal agency or employee “to comply with

 any order or decision issued by the Board * * * and enforce compliance with

 any such order,” id. § 1204(a)(2). And in addition to these functions, the

 MSPB may sua sponte review and invalidate rules promulgated by the

 Office of Personnel Management, and “shall require any agency * * * to

 cease compliance” with such invalidated rules. Id. § 1204(a)(4), (f)(1)-(4).

       Except in the Supreme Court, “attorneys designated by the Chairman

 of the Board may appear for the Board, and represent the Board, in any civil

 action brought in connection with any function carried out by the Board.” 5

 U.S.C. § 1204(i). And in certain circumstances, the MSPB itself is the



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 named respondent (and thus a litigant) in judicial proceedings reviewing its

 decisions. See id. § 7703(a)(2).

       B.    This Litigation

       Plaintiff Harris was first nominated by President Biden to serve as a

 Member of the MSPB in 2021. Compl. ¶ 24. Harris eventually began serving

 as a Member in 2022 and was confirmed as Chairman in 2024. Compl.

 ¶¶ 24-25. On February 10, 2025, the Deputy Assistant to the President and

 the Deputy Director of the White House Presidential Personnel Office

 informed Harris that she was being removed from her position. Compl.

 Exh. A. The next day, Harris filed this lawsuit, see generally Compl., and

 moved for a temporary restraining order, requesting that she be reinstated,

 see Dkt. 2-4.

       The district court issued a temporary restraining order, ordering that

 “Harris shall continue to serve as chairman of the MSPB” until “the Court

 rules on a preliminary injunction.” Dkt. 9 at 21.1 Following briefing and the

 parties’ agreement that the preliminary-injunction motion should be

 consolidated with the merits, the court issued an order granting Harris’s

 motion for summary judgment and entered a permanent injunction and




       1 Defendants appealed this decision.
                                        Dkt. 14. The district court’s
 summary-judgment order rendered that appeal moot.

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 declaratory judgment. The court concluded that “MSPB members’ removal

 protections are constitutional under Humphrey’s Executor,” Dkt. 40 at 7,

 and that the court possessed the authority to issue injunctive and

 declaratory relief, id. at 20-26. Accordingly, the court declared that Harris

 shall continue to serve as a Member of the MSPB unless removed for the

 reasons listed in 5 U.S.C. § 1202, and enjoined defendants (other than the

 President) from “removing Harris from her office without cause,” treating

 her as having been removed, denying her access to the “benefits and

 resources of her office,” replacing her, or recognizing any other person as

 holding her position on the MSPB. Id. at 34-35.

       Harris continues to wield substantial executive power,

 notwithstanding her removal from office. Recently, the Special Counsel—

 whose removal has now been given effect by this Court—requested that the

 MSPB stay the termination of thousands of probationary employees who

 were recently terminated by the Department of Agriculture.2 Harris




       2 The filing is available at:

 https://osc.gov/Documents/PPP/Formal%20Stays/USDA%20Systemic%
 20Stay%20(redacted).pdf.

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 directed the Special Counsel to provide the names of the employees in

 question, and she then unilaterally granted the requested stay.3

                                ARGUMENT

       In considering a stay pending appeal, this Court examines

 “‘(1) whether the stay applicant has made a strong showing that he is likely

 to succeed on the merits; (2) whether the applicant will be irreparably

 injured absent a stay; (3) whether issuance of the stay will substantially

 injure the other parties interested in the proceeding; and (4) where the

 public interest lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009).4

       This Court recently concluded that the government had satisfied the

 Nken factors and stayed a district order that had reinstated the Special

 Counsel. Dellinger v. Bessent, No. 25-5052, Order (Mar. 5, 2025). A stay is

 similarly warranted here.




       3 The order granting the stay request is available here:

 https://www.mspb.gov/decisions/nonprecedential/Doe_JohnCB-1208-25-
 0020-U-1_Order_On_Stay_Request.pdf

       4 The government filed a stay motion in district court pursuant to

 Fed. R. App. P. 8(a). That motion was denied on March 5.

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       A.     The Government Is Likely To Prevail On The
              Merits

       The government is likely to prevail because the Constitution

 empowers the President to remove, at will, principal officers leading a

 freestanding component within the Executive Branch and exercising

 executive power, such as Members of the MSPB, and because the district

 court’s order exceeds its remedial powers.

              1.    At-will removal is the general rule, and
                    MSPB does not fit within any exceptions

       Article II of the Constitution provides that “the ‘executive Power’—all

 of it—is ‘vested in a President,’ who must ‘take Care that the Laws be

 faithfully executed.’” Seila Law, 591 U.S. at 203 (quoting U.S. Const. art. II,

 § 1, cl. 1; id. § 3). To discharge those responsibilities, the President “as a

 general matter” has “authority to remove those who assist him in carrying

 out his duties.” Free Enterprise Fund, 561 U.S. at 513-14. “Without such

 power, the President could not be held fully accountable for discharging his

 own responsibilities; the buck would stop somewhere else.” Id. at 514; see

 also, e.g., Exela Enterprise Solutions, Inc. v. NLRB, 32 F.4th 436, 445 (5th

 Cir. 2022) (“The President’s power to remove is essential to the

 performance of his Article II responsibilities and control over the Executive

 Branch.”).



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       The Supreme Court has “recognized only two exceptions to the

 President’s unrestricted removal power.” Seila Law, 591 U.S. at 203. First,

 the Court has held that “Congress could provide tenure protections to

 certain inferior officers with narrowly defined duties.” id. at 204. Second,

 Humphrey’s Executor, 295 U.S. 602, held that Congress could “give for-

 cause removal protections to a multimember body of experts, balanced

 along partisan lines, that performed legislative and judicial functions and

 was said not to exercise any executive power.” Seila Law, 591 U.S. at 216.

 Those exceptions represent the “outermost constitutional limits of

 permissible restrictions on the President’s removal power” under current

 precedent. Id. (quoting PHH Corp. v. CFPB, 881 F.3d 75, 196 (D.C. Cir.

 2018) (Kavanaugh, J., dissenting)).

       There is no question that MSPB Members are principal officers: they

 are appointed by the President with Senate confirmation, see U.S. Const.

 art. II, § 2, cl. 2; 5 U.S.C. § 1201, oversee their own department, and are not

 subservient to any other principal officer, see 5 U.S.C. § 1204. Thus, the

 relevant question is whether the MSPB falls within the exception identified

 in Humphrey’s Executor. It does not. As the Supreme Court made clear in

 Seila Law, that exception is limited to “multimember bodies with ‘quasi-




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 judicial’ or ‘quasi-legislative’ functions” that exercise no executive power.

 591 U.S. at 216-17 (quoting Humphrey’s Executor, 295 U.S. at 632).

       But the MSPB is no “mere legislative or judicial aid.” Seila Law, 591

 U.S. at 199. It is an independent agency that performs significant executive

 functions. For instance, the MSPB “hear[s], adjudicate[s], or provide[s] for

 the hearing or adjudication” of matters within its jurisdiction and, “subject

 to otherwise applicable provisions of law, take[s] final action on any such

 matter.” 5 U.S.C. § 1204(a)(1). The MSPB can “order any Federal agency or

 employee to comply with any order or decision issued by the Board * * *

 and enforce compliance with any such order,” 5 U.S.C. § 1204(a)(2); see

 also Seila Law, 591 U.S. 197 at 219 (explaining that the CFPB Director

 exercises executive power because he “may unilaterally issue final decisions

 awarding legal and equitable relief in administrative adjudications.”). The

 MSPB can also sua sponte review and invalidate rules and regulations

 issued by the Office of Personnel Management, another executive agency,

 and further order other federal agencies to “cease compliance” with such

 rules. 5 U.S.C. § 1204(f). The MSPB also has authority to send its own

 attorneys (not Department of Justice attorneys) to litigate civil actions

 outside the Supreme Court in connection with any of its functions. Id.

 § 1204(i); see also Buckley v. Valeo, 424 U.S. 1, 138-40 (recognizing



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 interpreting and enforcing law through litigation as executive function).

 And under certain circumstances, the MSPB itself is the named respondent

 (and thus a litigant) in judicial proceedings reviewing Board decisions. See

 5 U.S.C. § 7703(a)(2). These features distinguish the Board from a purely

 adjudicatory body. Contra Wiener v. United States, 357 U.S. 349, 355-56

 (1958) (upholding removal restriction on members of a purely adjudicatory

 body with an “intrinsic judicial character”).

       In short, the MSPB “wield[s] executive power” and therefore must be

 accountable to the President by at-will removal. See Seila Law, 591 U.S. at

 204 (“The President’s power to remove—and thus supervise—those who

 wield executive power on his behalf follows from the text of Article II.”).

       The district court’s contrary conclusion rests largely on an overbroad

 reading of Humphrey’s Executor and Wiener, Dkt. 40 at 7-16, stretching

 those decisions beyond their facts to encompass an agency that exercises

 substantial executive power. The Supreme Court in Seila Law made clear,

 however, that neither Humphrey’s Executor nor Wiener extends so far.

 After Seila Law, “only a very narrow reading of those cases is still good law”

 and “little to nothing is left of the Humphrey’s exception to the general rule

 that the President may freely remove his subordinates.” Severino v. Biden,

 71 F.4th 1038, 1050 (D.C. Cir. 2023) (Walker, J., concurring).



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       In Humphrey’s Executor, the Supreme Court upheld the

 constitutionality of a provision prohibiting removal of Commissioners from

 the Federal Trade Commission (FTC) absent “inefficiency, neglect of duty,

 or malfeasance in office.” 265 U.S. at 632. Despite reaffirming the then-

 recent holding in Myers v. United States, 272 U.S. 52 (1926), that the

 President “has unrestrictable power * * * to remove purely executive

 officers,” the Court concluded that Myers did not control because the FTC

 Commissioner at issue was “an officer who occupies no place in the

 executive department and who exercises no part of the executive power

 vested by the Constitution in the President,” id. at 628, 632. Instead,

 Humphrey’s Executor understood the FTC to be “an administrative body”

 that “carr[ied] into effect legislative policies” and “perform[ed] other

 specified duties as a legislative or judicial aid.” Id. Those duties, according

 to the Court, “c[ould] not in any proper sense be characterized as an arm or

 an eye of the executive.” Id. The Court understood the FTC not to be

 exercising executive power at all but rather to “act[] in part quasi

 legislatively and in part quasi judicially.” Id. On that understanding,

 Humphrey’s Executor upheld the provision restricting the removal of FTC

 Commissioners.




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       Humphrey’s Executor thus approved the constitutionality of for-

 cause removal provisions only for multimember boards that do not exercise

 any executive power. See Seila Law, 591 U.S. at 219 n.4 (recognizing that

 “what matters is the set of powers the Court considered as the basis for its

 decision, not any latent powers that the agency may have had not alluded to

 by the Court”). To be sure, the assumption on which Humphrey’s Executor

 rests—that the FTC’s powers at the time were not properly characterized as

 executive in nature—has since been “repudiated” by the Supreme Court.

 Seila Law, 591 U.S. at 239 (Thomas, J., concurring in part); see also

 Morrison, 487 U.S. at 689 n.28, 691 (noting that “it is hard to dispute that

 the powers of the FTC at the time of Humphrey’s Executor would at the

 present time be considered ‘executive,’ at least to some degree”).

       In other words, even the 1935 FTC could today be understood as

 exercising executive power. See Seila Law, 591 U.S. at 216 n.2 (observing

 that Humphrey’s Executor’s “conclusion that the FTC did not exercise

 executive power has not withstood the test of time”); see also Arlington v.

 FCC, 569 U.S. 290, 304 n.4 (2013) (noting that agencies may engage in

 activities that “take ‘legislative’ and ‘judicial’ forms, but [those activities]

 are exercises of—indeed, under our constitutional structure they must be

 exercises of—the ‘executive Power’”). But that is all the more reason not to



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 expansively read Humphrey’s Executor as blessing removal protections for

 principal officers exercising executive powers that the Supreme Court did

 not consider when deciding that case.

       The district court stressed that the MSPB performs adjudicatory

 functions and sometimes sends reports to Congress, Dkt. 40 at 11-13, but

 that ignores the key point that the MSPB exercises executive authority and

 is therefore not comparable to the FTC as understood by the Supreme

 Court in Humphrey’s Executor. That distinction is outcome determinative,

 because Seila Law made clear that the Humphrey’s Executor exception

 applies only to multimember agencies similarly situated to how “the Court

 viewed the FTC (as it existed in 1935),” and therefore exercise “‘no part of

 the executive power.’” Seila Law, 591 U.S. at 215 (quoting Humphrey’s

 Executor, 295 U.S. at 628) (emphasis added).

       The district court’s assessment that the “MSPB’s mission and purpose

 require independence,” Dkt. 40 at 13-14, does not change the analysis. A

 similar argument was made and rejected in Seila Law itself. Cf. Seila Law,

 591 U.S. at 273 (Kagan, J., concurring in part) (urging that Congress had

 strong policy justifications for enacting the tenure protections for the CFPB

 Director that were held invalid by the majority). Moreover, the “nature and

 breadth of an agency’s authority is not dispositive in determining whether



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 Congress may limit the President’s [removal] power.” See Collins v. Yellen,

 594 U.S. 220, 251-252, 253 (2021). “Courts are not well-suited to weigh the

 relative importance of the regulatory and enforcement authority of

 disparate agencies,” and “the constitutionality of removal restrictions [does

 not] hinge[] on such an inquiry.” Id.

       Fundamentally, the MSPB exercises executive power—indeed

 substantial executive power. Moreover, Board Members may exercise such

 power unilaterally, as demonstrated by Harris’s recent grant of a stay of the

 termination of several thousand probationary employees at the U.S.

 Department of Agriculture. Because the MSPB exercises executive power, it

 does not fall within the narrow Humphrey’s Executor exception. Board

 Members must therefore be removable at will by the President. The district

 court’s contrary conclusion is wrong, and the government is likely to prevail

 on the merits of its appeal.

             2.    Harris cannot show entitlement to
                   reinstatement

       Defendants are likely to succeed on a second ground too. As a

 remedial matter, the district court’s order reinstating Harris “impinges on

 the ‘conclusive and preclusive’ power through which the President controls

 the Executive Branch that he is responsible for supervising.” Dellinger v.

 Bessent, No. 25-5028, 2025 WL 559668, at *14 (D.C. Cir. Feb. 15, 2025)


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 (Katsas, J., dissenting) (quoting Trump v. United States, 603 U.S. 593, 614

 (2024)). As Judge Katsas explained, there would be no doubt of “grave and

 irreparable” injury if the district court had ordered reinstatement of a

 dismissed Secretary of State, and any differences between the Department

 of State and the MSPB “go[] to the extent—not the character—of the

 President’s injury.” Id.

       Neither this Court nor the Supreme Court has ever suggested that

 reinstatement is an appropriate remedy in such circumstances. To the

 contrary, the Supreme Court recognized long ago that a court “has no

 jurisdiction . . . to enjoin the President in the performance of his official

 duties.” Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501 (1867).

 Accordingly, when principal officers have been removed from their posts,

 they generally have challenged that removal in suits for back pay. See

 Humphrey’s Executor, 295 U.S. at 612 (challenge sought “to recover a sum

 of money alleged to be due”); Myers v. United States, 272 U.S. 52, 106

 (1926) (same); Wiener, 357 U.S. at 349-351 (1958) (same). That rule

 reflects the obvious Article II problems that arise if a court attempts to

 reinstate—that is, reappoint—a principal executive officer removed by the

 President. Even if an improperly removed officer is entitled to some legal

 remedy, the President cannot be compelled to retain the services of a



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 principal officer whom he has removed from office. Indeed, this Court

 recently stayed a district court’s order that had reinstated the Special

 Counsel, directing that the President’s removal of the Special Counsel be

 given effect. Dellinger, No. 25-5052, Order (Mar. 5, 2025).

       An injunction reinstating Harris also exceeds the scope of the district

 court’s equitable powers. A federal court may grant only those equitable

 remedies that were “traditionally accorded by courts of equity.” Grupo

 Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 319

 (1999). Reinstatement of a public official is not such a remedy. “It is . . . well

 settled that a court of equity has no jurisdiction over the appointment and

 removal of public officers.” In re Sawyer, 124 U.S. 200, 212 (1888). Thus,

 “the power of a court of equity to restrain by injunction the removal of a

 [public] officer has been denied in many well-considered cases.” Id.; see,

 e.g., Baker v. Carr, 369 U.S. 186, 231 (1962) (decisions that “held that

 federal equity power could not be exercised to enjoin a state proceeding to

 remove a public officer” or that “withheld federal equity from staying

 removal of a federal officer” reflect “a traditional limit upon equity

 jurisdiction”); White v. Berry, 171 U.S. 366, 377 (1898) (“[A] court of equity

 will not, by injunction, restrain an executive officer from making a wrongful

 removal of a subordinate appointee, nor restrain the appointment of



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 another.”). This principle applies equally where, as here, relief is directed to

 the President’s subordinate officers. Since only the President has the

 authority to appoint, remove, and supervise agency heads, any relief

 preventing Harris’s removal “necessarily targets the President.” Dellinger,

 2025 WL 559669, at *13 n.2 (Katsas, J., dissenting).

       The district court’s order cannot be squared with these precedents.

 First, the court relied on Sampson as establishing that courts can reinstate

 federal employees. Dkt. 40 at 21-22. But Sampson involved a federal

 employee rather than a principal officer, and thus does not override the rule

 that courts have “no jurisdiction over the appointment and removal of

 public officers.” In re Sawyer, 124 U.S. at 212. Second, the district court

 asserted that cases of this Court have found injunctive relief against

 subordinate federal officers to be available. Dkt. 40 at 22-23. As the district

 court acknowledged, however, the cited cases held only that plaintiffs had

 standing to bring claims challenging their removals; they did not hold that

 injunctive relief reappointing a removed officer was available. See, e.g.,

 Swan v. Clinton, 100 F.3d 973, 981 (D.C. Cir. 1996) (declining to decide

 whether courts have authority to order reinstatement, noting that it was not

 “determining whether we can order more complete relief”).




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       The same principles foreclose declaratory relief. A declaratory-

 judgment suit is “‘essentially an equitable cause of action.’” Samuels v.

 Mackell, 401 U.S. 66, 70 (1971). And the Declaratory Judgment Act “was

 not devised to deprive courts of … their freedom to withhold relief upon

 established equitable principles.” Great Lakes Dredge & Dock Co. v.

 Huffman, 319 U.S. 293, 300 (1943). For that reason, Samuels “held that

 interference with pending state criminal prosecutions by declaratory

 judgments is subject to the same restrictions curbing federal interference

 by injunction,” Perez v. Ledesma, 401 U.S. 82, 86 n.2 (1971), and Great

 Lakes held the same as to interference with “the collection of state taxes,”

 319 U.S. at 299.

       Those principles carry added force when, as here, a district court

 enjoins the President’s removal of an agency head. Just as courts lack

 jurisdiction to enjoin the President’s performance of official duties,

 Mississippi, 71 U.S. at 501, courts have “never submitted the President to

 declaratory relief,” Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir.

 2010). The district court’s order violates those principles. Whether

 expressly directed at the President or not, an order reinstating an executive

 officer removed by the President violates Article II.




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       Finally, while the district court declined to enter a writ of mandamus,

 Dkt. 30 at 32-34, its suggestion that Harris would be entitled to mandamus

 relief in the absence of injunctive relief is not warranted. For the reasons

 explained above, Harris cannot show that she has a “clear” right to relief.

 Heckler v. Ringer, 466 U.S. 602, 616 (1984).

       B. The Remaining Factors Favor A Stay

       The equitable factors likewise weigh decisively in the government’s

 favor, and “the public interest and balance of equities factors merge” where,

 as here, “the government is the party” against whom an injunction is

 sought. MediNatura, Inc. v. FDA, 998 F.3d 931, 945 (D.C. Cir. 2021).

       As discussed above, the district court’s order works an extraordinary

 harm to the President’s authority to exercise “all of” “the ‘executive Power’”

 of the United States. Seila Law, 590 U.S. at 203. Because of that order, a

 person the President has chosen to remove from office is exercising

 executive power over the President’s objection. Indeed, just this week,

 Member Harris exercised her power unilaterally to stay the termination of

 thousands of probationary employees. See supra pp.8-9. That sort of harm

 to the Executive, and to the separation of powers, is transparently

 irreparable.




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       Conversely, a stay would not irreparably harm Harris. Although

 Harris’s removal deprives her of employment and salary, such

 consequences ordinarily do not amount to irreparable injury, “however

 severely they may affect a particular individual.” Sampson v. Murray, 415

 U.S. 61, 92 n.68 (1974). Thus, the traditional remedy for such claims has

 been an award of back pay at the end of the case, not interim reinstatement,

 and a stay pending appeal “would not substantially harm” Harris.

 Dellinger, 2025 WL 559669, at*17 (Katsas, J., dissenting). Reinstating

 Harris would also call into question the validity of any actions taken by the

 MSPB, with her as a Member, while defendants seek further review of this

 case. See Collins, 594 U.S. at 259 (explaining that private parties may be

 entitled to a remedy when an unconstitutional removal restriction

 “inflict[s] compensable harm,” such as if “the President had attempted to

 remove [an agency head] but was prevented from doing so by a lower court

 decision”). Any harm arising from Harris’s inability to fulfill statutory

 duties is not irreparable; those duties are vested in her former office, and

 Harris has no personal right to exercise the powers of an office after she has

 been removed.




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                               CONCLUSION

       This Court should stay the district court’s order pending appeal.

                                        Respectfully submitted,

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                                        ERIC D. MCARTHUR
                                          Deputy Assistant Attorney General
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                      CERTIFICATE OF COMPLIANCE

       This motion complies with the type-volume limit of Federal Rule of

 Appellate Procedure 27(d)(2)(A) because it contains 4,814 words. This

 brief also complies with the typeface and type-style requirements of Federal

 Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared using

 Word for Microsoft 365 in 14-point Georgia, a proportionally spaced

 typeface.



                                            /s/ Laura E. Myron
                                            Laura E. Myron
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CATHY A. HARRIS, in her personal capacity :
 and in her official capacity as Member of the :
 Merit Systems Protection Board,               :
                                               :
        Plaintiff,                             :          Civil Action No.:      25-412 (RC)
                                               :
        v.                                     :          Re Document No.:       22
                                               :
 SCOTT BESSENT, in his official capacity as :
 Secretary of the Treasury, et al.,            :
                                               :
        Defendants.                            :

                                              ORDER

                     GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        For the reasons stated in the Court’s Memorandum Opinion separately and

 contemporaneously issued, Plaintiff Cathy A. Harris’s Motion for Summary Judgment (ECF No.

 22) is GRANTED. It is hereby:

        DECLARED that Plaintiff Cathy A. Harris remains a member of the Merit Systems

 Protection Board, having been confirmed by the Senate on May 25, 2022, and sworn in on June

 1, 2022, and that she may be removed by the President prior to the expiration of her term in

 office only for inefficiency, neglect of duty, or malfeasance in office pursuant to 5 U.S.C.

 § 1202; and it is

        FURTHER ORDERED that Plaintiff Cathy A. Harris shall continue to serve as a

 member of the Merit Systems Protection Board until her term expires pursuant to 5 U.S.C.

 § 1202, unless she is earlier removed for inefficiency, neglect of duty, or malfeasance in office

 under that statute. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director

 Sergio Gor, Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from
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 removing Harris from her office without cause or in any way treating her as having been

 removed without cause, denying or obstructing Harris’s access to any of the benefits or resources

 of her office, placing a replacement in Harris’s position, or otherwise recognizing any other

 person as a member of the Merit Systems Protection Board in Harris’s position; and it is

        FURTHER ORDERED that the Court’s Temporary Restraining Order (ECF No. 8) is

 VACATED.

        SO ORDERED.


 Dated: March 4, 2025                                              RUDOLPH CONTRERAS
                                                                   United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CATHY A. HARRIS, in her personal capacity :
 and in her official capacity as Member of the :
 Merit Systems Protection Board,               :
                                               :
        Plaintiff,                             :         Civil Action No.:      25-412 (RC)
                                               :
        v.                                     :         Re Document No.:       22
                                               :
 SCOTT BESSENT, in his official capacity as :
 Secretary of the Treasury, et al.,            :
                                               :
        Defendants.                            :

                                  MEMORANDUM OPINION

                  GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

                                      I. INTRODUCTION

        Plaintiff Cathy A. Harris was appointed to the Merit Systems Protection Board (“MSPB”)

 on June 1, 2022, for a term set to expire on March 1, 2028. Federal law states that members of

 the MSPB may be removed from office “only for inefficiency, neglect of duty, or malfeasance in

 office.” On February 10, 2025, President Donald J. Trump informed Harris that her position on

 the MSPB was “terminated, effective immediately” but provided no reason for Harris’s

 termination. The following day, Harris filed this lawsuit against President Trump and several

 other federal officials (“Defendants”), claiming that her termination violated federal law. She

 moved for a temporary restraining order enjoining Defendants from treating her as removed from

 office, which this Court granted. The parties consolidated preliminary injunction briefing with

 the merits, and Harris moved for summary judgment. The Court grants that motion, along with

 declaratory judgment and a permanent injunction.
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                                        II. BACKGROUND

                                     A. Statutory Background

        Congress created the Merit Systems Protection Board as a component of the Civil Service

 Reform Act of 1978 (“CSRA”), which “establishes a framework for evaluating personnel actions

 taken against federal employees.” Kloeckner v. Solis, 568 U.S. 41, 44 (2012); see also CSRA,

 Pub. L. No. 95-454, § 202, 92 Stat. 1111, 1121–25 (1978) (codified at 5 U.S.C. §§ 1201–05).

 Congress’s Findings and Statement of Purpose indicate that “[i]t is the policy of the United

 States that . . . to provide the people of the United States with a competent, honest, and

 productive Federal work force[,] . . . Federal personnel management should be implemented

 consistent with merit system principles.” CSRA § 3, 92 Stat. at 1112. Those merit system

 principles include, among others, “[r]ecruitment . . . from qualified individuals” where “selection

 and advancement [is] determined solely on the basis of relative ability, knowledge, and skills,

 after fair and open competition which assures that all receive equal opportunity.” Id. § 101, 92

 Stat. at 1113 (codified at 5 U.S.C. § 2301). Congress additionally instructed that “[e]mployees

 should be . . . protected against arbitrary action, personal favoritism, or coercion for partisan

 political purposes,” as well as “against reprisal for the lawful disclosure of information which the

 employees reasonably believe evidences,” among other things, violations of law, gross waste of

 funds, an abuse of authority, or substantial and specific dangers to public health or safety. Id., 92

 Stat. at 1114 (codified at 5 U.S.C. § 2301).

        The CSRA established the MSPB as “an independent agency consisting of three

 members” and “charged [it] with protecting the merit system principles and adjudicating

 conflicts between federal workers and their employing agencies.” Frazier v. Merit Sys. Prot.

 Bd., 672 F.2d 150, 154 (D.C. Cir. 1982); see also CSRA § 101, 92 Stat. at 1114–17 (codified at 5




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 U.S.C. § 2302) (establishing prohibited personnel practices, such as employment discrimination,

 unlawful political activities, and any other violations of law within the federal civil service). The

 Board’s primary function is to review federal employee appeals of adverse actions “which [are]

 appealable to the Board under any law, rule, or regulation,” including those related to removal or

 suspension for periods greater than fourteen days. 5 U.S.C. § 7701(a); see also id. § 1204(a)(1).

 These adjudications consume approximately 95 percent of MSPB members’ time. See Pl.’s

 Statement of Undisputed Material Facts ¶ 54 (“SUMF”), ECF No. 22-2. The Board may order

 federal agencies and employees to comply with its decisions, see 5 U.S.C. § 1204(a)(2), which

 are nonetheless subject to judicial review. See id. § 7703. The MSPB thus acts as a preliminary

 adjudicator of these employment disputes, with federal courts providing the final say if the

 parties so desire.

         The MSPB carries out other limited tasks in pursuit of its mission. It conducts studies

 “relating to the civil service” for the President and Congress, see 5 U.S.C. § 1204(a)(3), although

 this function takes up less than one percent of members’ time, see SUMF ¶ 62. The Board may

 also review “rules and regulations of the Office of Personnel Management,” see id. § 1204(a)(4),

 on its own motion, following a complaint from the Special Counsel, or in response to a third

 party’s petition, see id. § 1204(f)(1). The MSPB may invalidate the rule or its implementation if

 it would require a federal employee to engage in prohibited personnel practices. See id.

 § 1204(f)(2). 1

         Members of the MSPB are “appointed by the President, by and with the advice and

 consent of the Senate,” and “not more than 2 of [the members] may be adherents of the same


         1
          Harris explains that invalidation of an Office of Personnel Management rule under this
 mechanism “is an exceedingly rare occurrence” that has not happened during her tenure. Harris
 Decl. ¶ 31, ECF No. 22-3.


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 political party.” CSRA § 202 (codified at 5 U.S.C. § 1201). Members of the MSPB are

 appointed to seven-year terms that may be extended by up to one year if a successor has not yet

 been appointed. Id. (codified at 5 U.S.C. § 1202(a)–(c)). “Any member may be removed by the

 President only for inefficiency, neglect of duty, or malfeasance in office.” Id. (codified at 5

 U.S.C. § 1202(d)).

                             B. Factual and Procedural Background

         President Joseph R. Biden nominated Harris to be a member of the MSPB in January

 2022. SUMF ¶ 1. The Senate confirmed her on May 25, 2022, and she was sworn in on June 1,

 2022. Id. ¶ 2. Her term expires on March 1, 2028. Id. ¶ 3. The Senate later confirmed Harris as

 Chairman, and she was sworn in as Chairman on March 14, 2024. Id. ¶¶ 4–5.

         Defendants do not dispute that Harris has been efficient and effective in her role at the

 MSPB. See id. ¶ 8. When the MSPB’s quorum was restored in March 2022, the agency had a

 backlog of approximately 3,800 cases that had accrued since 2017, and officials estimated that it

 would take five or six years for the agency to catch up. Id. ¶¶ 12–14. By January 2025,

 however, the MSPB had cleared nearly 99 percent of its backlog. Id. ¶ 20. From June 1, 2022,

 to February 10, 2025, Harris participated in nearly 4,500 decisions. Id. ¶ 10.

         On February 10, 2025, Harris received an email from Trent Morse, Deputy Assistant to

 the President and the Deputy Director of the White House Presidential Personnel Office, which

 stated in its entirety:

         On behalf of President Donald J. Trump, I am writing to inform you that your
         position on the Merit Systems Protection Board is terminated, effective
         immediately. Thank you for your service[.]

 Ex. 4 to Pl.’s Mot. for Prelim. Inj. and J. on the Merits, ECF No. 22-4. The communication did

 not explain the basis for Harris’s termination.




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        Harris filed this lawsuit on February 11, 2025, claiming that her firing was ultra vires,

 unconstitutional, and a violation of the Administrative Procedure Act (“APA”). See Compl.

 ¶¶ 31–37, 40–41, ECF No. 1. She seeks relief under the Declaratory Judgment Act, issuance of a

 writ of mandamus, and equitable relief. See id. ¶¶ 38–39, 42–46. Harris additionally filed a

 motion for a temporary restraining order, see Pl.’s Mot. for TRO, ECF No. 2, which Defendants

 opposed, see Defs.’ Opp’n to Mot. for TRO, ECF No. 6. The Court held a hearing on the TRO

 motion on February 13, 2025, and granted the motion on February 18, 2025. See Min. Entry

 dated Feb. 13, 2025; Order Granting Pl.’s Mot. for TRO, ECF No. 8; Mem. Op. Granting Pl.’s

 Mot. for TRO (“Mem. Op.”), ECF No. 9. Defendants appealed that order to the D.C. Circuit,

 and the appeal remains pending. See Notice of Appeal, ECF No. 15.

        On February 19, 2025, the parties filed a joint status report indicating that the Court’s

 consideration of the subsequent motion for preliminary injunction should be consolidated with

 the merits of the case pursuant to Federal Rule of Civil Procedure 65(a)(2). See Joint Status

 Report, ECF No. 13. On February 23, 2025, Harris filed a motion for a preliminary injunction

 and judgment on the merits. See Pl.’s Mot. for Prelim. Inj. and J. on the Merits (“Pl.’s Mot.”),

 ECF No. 22. Defendants opposed the motion, see Defs.’ Opp’n to Pl.’s Mot. for Prelim. Inj. and

 J. on the Merits (“Defs.’ Opp’n”), ECF No. 33, and Harris filed a reply, see Defs.’ Reply, ECF

 No. 38. The parties appeared for a hearing before the Court on March 3, 2025.

                                    III. LEGAL STANDARD

        “Having granted consolidation under Rule 65(a)(2), the Court ‘treats the parties’ briefing

 as cross-motions for summary judgment.’” Penkoski v. Bowser, 486 F. Supp. 3d 219, 226

 (D.D.C. 2020) (quoting Trump v. Comm. on Oversight & Reform of the U.S. House of

 Representatives, 380 F. Supp. 3d 76, 90 (D.D.C. 2019)). “The court shall grant summary




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 judgment if the movant shows that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine if

 “the evidence presents a sufficient disagreement to require submission to a jury.” Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 251–52 (1986). And a fact is material if it “might affect the

 outcome of the suit under the governing law.” Id. at 248. On summary judgment, the Court

 views all evidence “in the light most favorable to the nonmoving party and . . . must draw all

 reasonable inferences in favor of the nonmoving party.” Talavera v. Shah, 638 F.3d 303, 308

 (D.C. Cir. 2011).

        The principal purpose of summary judgment is to streamline litigation by disposing of

 factually unsupported claims or defenses and determining whether there is a genuine need for

 trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 322–24 (1986). The movant bears the initial

 burden of identifying portions of the record that demonstrate the absence of any genuine issue of

 material fact. See Fed. R. Civ. P. 56(c)(1); Celotex, 477 U.S. at 323. In response, the non-

 movant must point to specific facts in the record that reveal a genuine issue that is suitable for

 trial. See Celotex, 477 U.S. at 324. In considering a motion for summary judgment, a court must

 “eschew making credibility determinations or weighing the evidence[,]” Czekalski v. Peters, 475

 F.3d 360, 363 (D.C. Cir. 2007), and all underlying facts and inferences must be analyzed in the

 light most favorable to the non-movant, see Anderson, 477 U.S. at 255. Nevertheless,

 conclusory assertions offered without any evidentiary support do not establish a genuine issue

 for trial. See Greene v. Dalton, 164 F.3d 671, 675 (D.C. Cir. 1999).

                                          IV. ANALYSIS

        The Court first considers the constitutionality of the MSPB’s structure, concluding that

 its members’ for-cause removal protections are constitutional under Humphrey’s Executor.




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 Federal law thus prevents the President from removing members of the MSPB without cause,

 and the President’s attempt to terminate Harris was unlawful. As such, Harris is entitled to

 summary judgment. The Court next determines the remedies to which Harris may be entitled,

 granting her declaratory judgment and a permanent injunction. To the extent that injunctive

 relief may be unavailable, the Court would grant mandamus relief in the alternative.

              A. Constitutionality of the MSPB Members’ Removal Protections

        Harris claims that her termination was ultra vires in violation of statutory authority,

 violated the separation of powers, and was contrary to law under the APA. See Compl. ¶¶ 31–

 37, 40–41. She argues that this case falls squarely within the heartland of Humphrey’s Executor

 v. United States, 295 U.S. 602 (1935), and its progeny, and that the Board is a traditional

 multimember body that does not wield traditional executive power. See Pl.’s Mot. at 11–20.

 MSPB members’ removal protections are therefore constitutional, according to Harris. See id. at

 11–12. Defendants respond that the MSPB does not fall within Humphrey’s Executor, and that

 the independent agency wields substantial executive power. See Defs.’ Opp’n at 5–13. The

 Court concludes that MSPB members’ removal protections are constitutional under Humphrey’s

 Executor and must be upheld here.

        In Humphrey’s Executor, the Supreme Court upheld a statutory provision identical to the

 one at issue here restricting removal of Federal Trade Commission (“FTC”) members. See

 Humphrey’s Executor, 295 U.S. at 619–20 (discussing 15 U.S.C. § 41); 5 U.S.C. § 1202(d). The

 FTC comprises five members “appointed by the President[,] by and with the advice and consent

 of the Senate,” and “[n]ot more than three of the commissioners shall be members of the same

 political party.” Humphrey’s Executor, 295 U.S. at 619–20 (quoting 15 U.S.C. § 41). “Any

 Commissioner may be removed by the President for inefficiency, neglect of duty, or malfeasance




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 in office.” Id. (quoting 15 U.S.C. § 41). In Humphrey’s Executor, President Hoover had

 appointed William Humphrey as a member of the Federal Trade Commission, which carried a

 term of seven years. 295 U.S. at 612. Less than two years later, President Roosevelt terminated

 Humphrey over differences of political opinion, stating, “[e]ffective as of this date you are

 hereby removed from the office of Commissioner of the Federal Trade Commission.” Id. at 619.

 Humphrey died several months later, but his estate sued to recover backpay on the basis that his

 removal was unlawful. Id. at 612.

        The Supreme Court confirmed that President Roosevelt’s termination of Humphrey was

 indeed unlawful. The Court observed that “[t]he statute fixes a term of office, in accordance

 with many precedents.” Id. at 623. The Court further explained that the commission comprised

 a “nonpartisan” “body of experts” that was intended to “act with entire impartiality.” Id. at 624.

 It was “charged with the enforcement of no policy except the policy of the law” and acted in a

 manner that was “predominantly quasi judicial and quasi legislative” rather than traditionally

 “political []or executive” in nature. Id. The Court differentiated FTC members from the

 postmaster in Myers v. United States, 272 U.S. 52 (1926) (evaluating statute stating that

 postmasters “shall hold their offices for four years unless sooner removed or suspended

 according to law”). “A postmaster is an executive officer restricted to the performance of

 executive functions” and is “charged with no duty at all related to either the legislative or judicial

 power.” Id. at 627. The FTC, in contrast, “acts in part quasi legislatively and in part quasi

 judicially” rather than exercising traditional executive powers. Id. at 628. “We think it plain

 under the Constitution that illimitable power of removal is not possessed by the President in

 respect of officers of the character of those just named,” the Court concluded. Id. at 629.




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        Two decades later, the Court considered President Eisenhower’s removal of a member of

 the War Claims Commission, whom President Truman had appointed and the Senate had

 confirmed. See Wiener v. United States, 357 U.S. 349, 350 (1958). Congress charged that

 commission with processing “claims for compensating internees, prisoners of war, and religious

 organizations . . . who suffered personal injury or property damage at the hands of the enemy in

 connection with World War II,” and the commissioners’ terms were limited by the short duration

 of the commission’s existence. Id. The Court reasoned that Congress intended to “preclude[]

 the President from influencing the Commission in passing on a particular claim,” which meant

 that the President naturally could not “hang . . . the Damocles’ sword of removal” over the

 commissioners. Id. at 356. The Court reaffirmed that the President had “no such power” to

 “remove a member of an adjudicatory body like the War Claims Commission merely because he

 wanted his own appointees on such a Commission.” Id. 2

        In two more recent cases, however, the Supreme Court ruled that for-cause removal

 provisions applying to independent agencies with a single director violated the separation of

 powers. See Seila Law LLC v. Consumer Financial Protection Bureau, 591 U.S. 197, 218

 (2020); Collins v. Yellen, 594 U.S. 220, 253 (2021). Neither of those cases undermines the




        2
              The Court once again considered a multimember body in Mistretta v. United States
 when passing on the constitutionality of the United States Sentencing Commission, which
 formally resides in the Judiciary. 488 U.S. 361 (1989). The Sentencing Report Act of 1984
 empowered the President to appoint commissioners to the Sentencing Commission, with
 members “subject to removal by the President ‘only for neglect of duty or malfeasance in office
 or for other good cause shown.’” Id. at 368 (quoting 28 U.S.C. § 991(a)). When considering
 whether the Act affords the President undue influence over federal judges who served as
 commissioners, the Court recognized that “the President’s removal power under the Act is
 limited.” Id. at 410. “Such congressional limitation on the President’s removal power, like the
 removal provisions upheld in Morrison v. Olson, 487 U.S. 654 (1988), and Humphrey’s Executor
 . . . , is specifically crafted to prevent the President from exercising ‘coercive influence’ over
 independent agencies.” Id. at 410–411.


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 constitutionality of for-cause removal provisions for multimember bodies of experts heading an

 independent agency. See Seila Law, 591 U.S. at 228 (“[W]e do not revisit Humphrey’s Executor

 or any other precedent today.”).

        “Rather than create a traditional independent agency headed by a multimember board or

 commission, Congress elected to place the [Consumer Financial Protection Bureau (“CFPB”)]

 under the leadership of a single Director.” Seila Law, 591 U.S. at 207. In Seila Law, the Court

 observed that “[a]n agency with a structure like that of the CFPB is almost wholly

 unprecedented.” Id. as 220; see also id. at 220–22 (searching for historical precedent to support

 the CFPB’s structure). The Court further concluded that “[t]he CFPB’s single-Director

 structure” contravenes the separation of powers “by vesting significant governmental power in

 the hands of a single individual accountable to no one,” emphasizing that the director may act

 “unilaterally” and “[w]ith no colleagues to persuade.” Id. at 224–25. Two other features of the

 CFPB undermined the constitutionality of the agency’s structure. First, the director’s five-year

 term meant that “some Presidents may not have any opportunity to shape [the agency’s]

 leadership and thereby influence its activities.” Id. at 225. Second, “[t]he CFPB’s receipt of

 funds outside the appropriations process further aggravates the agency’s threat to Presidential

 control.” Id. at 226. For these reasons, the Court concluded that the CFPB’s structure violated

 the separation of powers. See id. at 232.

        None of the reasoning in Seila Law undermined the constitutionality of the traditional

 independent agency structure outlined in Humphrey’s Executor. See id. at 218 (describing

 “exception[]” for “multimember expert agencies that do not wield substantial executive power”).

 Rather, the Court’s reasoning reaffirmed the constitutionality of multimember boards with for-

 cause removal protections, as those agencies have a robust basis in this country’s history, and




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 their members lack the power to act unilaterally. See Pl.’s Mot. at 11 (emphasizing that

 Congress established the first such board in 1887). The Court’s rationale also relied on the

 CFPB’s divergence from traditional agency structures when finding the for-cause removal

 protections unconstitutional. See, e.g., Seila Law, 591 U.S. at 205–07 (emphasizing facts

 showing drift from Elizabeth Warren’s initial proposal for multimember board to Congress’s

 enactment of single-headed agency). The Court even opined that Congress could fix the problem

 by “for example, converting the CFPB into a multimember agency.” Id. at 237.

        Collins then represented a “straightforward application” of the Court’s “reasoning in

 Seila Law” to the Federal Housing Finance Agency (“FHFA”). 594 U.S. at 251; see also Seila

 Law, 591 U.S. at 222 (noting doubt as to the constitutionality of the FHFA’s structure).

 Similarly to the CFPB, the FHFA was “an agency led by a single Director” that “lack[ed] a

 foundation in historical practice and clashe[d] with constitutional structure by concentrating

 power in a unilateral actor insulated from Presidential control.” 594 U.S. at 251.

        Humphrey’s Executor thus remains alive and well, and it dictates the outcome here. The

 MSPB is “a traditional independent agency headed by a multimember board or commission,”

 Seila Law, 591 U.S. at 207, and as such Congress may grant the Board’s members for-cause

 removal protections. The MSPB is “a multimember body of experts” that is “balanced along

 partisan lines.” Seila Law, 591 U.S. at 216; see also Humphrey’s Executor, 295 U.S. at 624

 (noting that the FTC is a “nonpartisan” “body of experts” that was intended to “act with entire

 impartiality”). The CSRA envisions that the Board “is to be nonpartisan; and it must, from the

 very nature of its duties, act with entire impartiality.” Humphrey’s Executor, 295 U.S. at 624.

 The CSRA also “fixes a term of office.” Id. at 623. The Board’s members serve on overlapping,

 staggered seven-year terms, meaning that the President will have the “opportunity to shape [the




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 MSPB’s] leadership and thereby influence its activities.” 3 Seila Law, 591 U.S. at 225. The

 members’ staggered terms permit them to “accumulate[] expertise” in the operation of federal

 agencies and federal employment law. Id. at 218. The MSPB’s duties are “quasi judicial,”

 Humphrey’s Executor, 295 U.S. at 624, in that it conducts preliminary adjudications of federal

 employees’ claims, which may then be appealed to Article III courts. See 5 U.S.C. § 7703

 (providing for review in the Federal Circuit); Perry v. Merit Sys. Prot. Bd., 582 U.S. 420, 423

 (2017) (providing for review of mixed cases in district court). The MSPB’s rulemaking

 authority is limited to “regulations . . . necessary for the performance of its functions.” 5 U.S.C.

 § 1204(h). Congress further intended the agency to aid its legislative goals by regularly

 transmitting reports to Congress regarding the Board’s functions. See 5 U.S.C. §§ 1204(l), 1205.

 It is additionally evident that Congress hoped to “preclude[] the President from influencing the

 [Board] in passing on a particular claim.” Wiener, 357 U.S. at 356. The MSPB nonetheless

 remains politically accountable to both Congress and the President through the appropriations

 process in a manner inapplicable to independent agencies with their own funding sources, such

 as the CFPB and FHFA. See Selia Law, 591 U.S. at 226; Collins, 594 U.S. at 231.

        The MSPB also “do[es] not wield substantial executive power,” Seila Law, 591 U.S. at

 218, but rather spends nearly all of its time adjudicating “inward-facing personnel matters”

 involving federal employees, Pl.’s Mot. at 4. The Board does not regulate the conduct of private

 parties, nor does it possess its own rulemaking authority except in furtherance of its judicial

 functions. See id. at 12. It cannot initiate its own personnel cases, but must instead “passively



        3
          One MSPB member’s term has now expired, and Harris’s term expires on March 1,
 2028. See Pl.’s Mot. at 29 n.20; Pl.’s Reply at 13–14; SUMF ¶ 3. President Trump will
 therefore have the opportunity to appoint at least two members to the MSPB during his term in
 office.


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 wait for them to be brought.” Id. at 12; see also 5 U.S.C. § 1204 (defining the Board’s powers

 and functions). Harris additionally points out that the MSPB preserves power within the

 executive branch by charging presidentially appointed Board members with mediation and initial

 adjudication of federal employment disputes, rather than shifting those decisions to Article III

 courts in the first instance. See Pl.’s Mot. at 14.

        Several other features of the MSPB demonstrate its limited effects on the President’s

 powers. The MSPB’s jurisdiction is generally restricted to civil servants and does not include

 political appointees. 4 See 5 U.S.C. § 7511. Even among civil servants, members of the Senior

 Executive Service removed “for less than fully successful executive performance” are entitled

 only to an informal hearing before the Board. See 5 U.S.C. § 3592(a). Furthermore, the MSPB’s

 decisions are generally not the final word. Federal employees may appeal the Board’s decisions

 to Article III courts, see 5 U.S.C. § 7703(a), and the Director of the Office of Personnel

 Management may similarly seek review of any decision that he determines “will have a

 substantial impact on a civil service law, rule, regulation, or policy directive,” id. § 7703(d)(1)–

 (2).

        Finally, the MSPB’s mission and purpose require independence. In enacting the CSRA,

 Congress exercised its power to regulate the civil service, defining certain prohibited personnel

 practices, to include discrimination, loyalty oaths, coercion to engage in political activity, and

 retaliation against whistleblowers. See 5 U.S.C. § 2302(b)(1)–(3), (8). Direct political control

 over the MSPB would have limited effect on the President’s implementation of his policy

 agenda. It would instead neuter the CSRA’s statutory scheme by allowing high-ranking


        4
           Nor may the Board review the merits of determinations concerning an employee’s
 eligibility to occupy a sensitive position that implicates national security. See Kaplan v.
 Conyers, 733 F.3d 1148, 1166 (Fed. Cir. 2013).


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 government officials to engage in prohibited practices and then pressure the MSPB into inaction.

 The MSPB’s independence is therefore structurally inseparable from the CSRA itself. These

 duties dovetail with United States v. Perkins, in which the Supreme Court held that Congress

 may “limit, restrict, and regulate the removal” of inferior officers. 116 U.S. 483, 485 (1886).

 Denying independence to the Board would undermine these constitutionally sound limitations on

 the removal of civil servants.

        Defendants cannot argue that Humphrey’s Executor has been overturned, so they instead

 suggest that even if the MSPB is a traditional multimember agency, it wields “‘substantial’

 executive power” in a manner found significant in Seila Law. Defs.’ Opp’n at 8 (quoting Seila

 Law, 591 U.S. at 218). Yet the Supreme Court has clarified that it did not mean Humphrey’s

 Executor to exclude removal protections for any official exercising authority within the

 executive branch. See Morrison v. Olson, 487 U.S. 654, 688–89 (1988); see also Seila Law, 591

 U.S. at 216 (detailing “several organizational features that helped explain” the Humphrey’s

 Executor court’s “characterization of the FTC as non-executive”). There is instead a “spectrum”

 that runs from “‘purely executive’ officials who must be removable by the President at will if he

 is to be able to accomplish his constitutional role” and those who serve “‘quasi-legislative’ or

 ‘quasi-judicial’” roles, where the President’s control is not “so central to the functioning of the

 Executive Branch” as to require the President to be able to terminate the official at will.

 Morrison, 487 U.S. at 690–91. As the Court explained above, the Board’s duties—which

 primarily include adjudication of employment claims—do not represent “substantial” executive

 power and instead take on a quasi-judicial role. Furthermore, the MSPB’s powers are no more

 expansive than the FTC’s functions upheld in Humphrey’s Executor, which remains good law.




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         Several courts have deployed similar reasoning when rejecting challenges to the

 structures of traditional multimember agencies in the years since Seila Law and Collins. Last

 year, the Fifth Circuit upheld the structure of the Consumer Product Safety Commission

 (“CPSC”), concluding that the agency is “a prototypical ‘traditional independent agency, run by

 a multimember board,’” is not directed by a single individual, and that the President may

 influence its activities through appointments or the appropriations process. Consumers’ Rsch. v.

 Consumer Prod. Safety Comm’n, 91 F.4th 342, 354–55 (5th Cir. 2024), cert. denied, 145 S. Ct.

 414, 170 (2024). The Tenth Circuit turned away a comparable challenge to the agency,

 reasoning that Humphrey’s Executor remains good law, that the CPSC is structured similarly to

 the FTC, and that limited civil and criminal enforcement powers do not undermine the

 constitutionality of its tenure protections. Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103

 F.4th 748, 762 (10th Cir. 2024), cert. denied, No. 24-156, 2025 WL 76435 (U.S. Jan. 13, 2025).

 Courts have additionally found the FTC’s structure constitutionally sound because the Supreme

 Court has not revisited Humphrey’s Executor. See Illumina, Inc. v. Fed. Trade Comm’n, 88

 F.4th 1036, 1047 (5th Cir. 2023); Meta Platforms, Inc. v. Fed. Trade Comm’n, 723 F. Supp. 3d

 64, 87 (D.D.C. 2024). This Court, likewise, cannot reach a different outcome regarding the

 MSPB.

         Because the MSPB falls within the scope of Humphrey’s Executor, Congress has the

 power to specify that members of the MSPB may serve for a term of years, with the President

 empowered to remove those members only for inefficiency, neglect of duty, or malfeasance in

 office. The President thus lacks the power to remove Harris from office at will. Because the

 President did not indicate that he sought to remove Harris for inefficiency, neglect of duty, or




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 malfeasance in office, his attempt to terminate her was unlawful and exceeded the scope of his

 authority. 5

                                              B. Remedy

         With the merits aside, the Court turns to the question of remedy. Harris offers up three

 avenues for relief: declaratory judgment, a permanent injunction, and a writ of mandamus. See

 Compl. ¶¶ 38–39, 42–44, 45–46; Pl.’s Mot. at 27–36. The Court concludes that because any

 attempt to remove Harris is unlawful, she is entitled to declaratory judgment that she remains a

 properly appointed member of the MSPB. The Court additionally determines that Harris has met

 her burden for the permanent injunction she seeks, and that a writ of mandamus would be

 appropriate if such injunctive relief were unavailable.

                                       1. Declaratory Judgment

         The Declaratory Judgment Act provides that, “[i]n a case of actual controversy within its

 jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

 of any interested party seeking such declaration, whether or not further relief is or could be

 sought.” 28 U.S.C. § 2201(a). It provides neither jurisdiction nor a cause of action, but rather a

 form of relief when the case is already properly before the Court. See C&E Servs., Inc. of

 Washington v. D.C. Water & Sewer Autho., 310 F.3d 197, 201 (D.C. Cir. 2002); Glenn v.

 Thomas Fortune Fay, 222 F. Supp. 3d 31, 35 (D.D.C. 2016). The Article III case-or-controversy

 requirement “is no less strict when a party is seeking a declaratory judgment than for any other



         5
           The parties do not debate the cause of action through which this legal challenge must
 flow—whether it be the APA, an ultra vires claim, or a separation of powers claim. These
 distinctions can be meaningful. See, e.g., Lewis v. U.S. Parole Comm’n, 743 F. Supp. 3d 181,
 199–201 (D.D.C. 2024) (examining the compatibility of an APA and ultra vires claim). The
 Court does not interpret this issue to be jurisdictional, however, and does not address an question
 the parties themselves declined to raise.


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 relief.” Fed. Express Corp. v. Air Line Pilots Ass’n, 67 F.3d 961, 963 (D.C. Cir. 1995) (citing

 Altvater v. Freeman, 319 U.S. 359, 363 (1943)). To establish that a matter is a “controversy”

 within the meaning of the Declaratory Judgment Act and Article III of the Constitution, a party

 “must ‘show that there is a substantial controversy, between parties having adverse legal

 interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.’”

 Hoffman v. Dist. of Columbia, 643 F. Supp. 2d 132, 140 (D.D.C. 2009) (quoting Md. Cas. Co. v.

 Pac. Coal & Oil Co., 312 U.S. 270, 273 (1941)).

        “[A] declaratory judgment always rests within the sound discretion of the court,”

 President v. Vance, 627 F.2d 353, 365 n.76 (D.C. Cir. 1980) (citing Brillhart v. Excess Ins. Co.

 of America, 316 U.S. 491, 494 (1942)), and “[t]here are no dispositive factors a district court

 should consider in determining whether it should entertain an action brought under the

 Declaratory Judgment Act.” New York v. Biden, 636 F. Supp. 3d 1, 31 (D.D.C. 2022) (quoting

 POM Wonderful LLC v. FTC, 894 F. Supp. 2d 40, 44 (D.D.C. 2012)). Several factors may be

 helpful to the Court’s consideration of “the propriety of granting a declaratory judgment,”

 however, such as “whether it would finally settle the controversy between the parties”; “whether

 other remedies are available or other proceedings pending”; and “the public importance of the

 question to be decided.” Hanes Corp. v. Millard, 531 F.2d 585, 592 n.4 (D.C. Cir. 1976). The

 Court might also consider “1) whether the judgment will serve a useful purpose in clarifying the

 legal relations at issue, or 2) whether the judgment will terminate and afford relief from the

 uncertainty, insecurity, and controversy giving rise to the proceeding.” Glenn, 222 F. Supp. 3d

 at 36 (citing President, 627 F.2d at 365 n.76).

        First, the Court finds a “controversy” here within the meaning of the Declaratory

 Judgment Act. The parties place before the Court a “substantial controversy” over the




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 lawfulness of the President’s effort to terminate Harris without cause, and whether she remains a

 member of the MSPB. Hoffman, 643 F. Supp. 2d at 140; see also Pl.’s Mot. at 11–26; Defs.’

 Opp’n at 5–13. The parties have adverse legal interests, with Defendants arguing that the

 President has a power that Harris claims he does not. See, e.g., Defs.’ Opp’n at 5 (arguing that

 the President’s removal power over principal officers is absolute). This controversy is also “of

 sufficient immediacy and reality to warrant the issuance of a declaratory judgment.” Hoffman,

 643 F. Supp. 2d at 140. The controversy here is not based, for instance, on “the occurrence of a

 future or contingent event,” but has rather come to a head after the President attempted to

 terminate Harris. C.F. Folks, Ltd. v. DC Jefferson Bldg., LLC, 308 F. Supp. 3d 145, 150 (D.D.C.

 2018).

          The Court additionally finds that declaratory relief is appropriate here. A declaratory

 “judgment will serve a useful purpose in clarifying the legal relations” between Harris and

 Defendants and abate ongoing “uncertainty, insecurity, and controversy” over her status as a

 member of the MSPB. Glenn, 222 F. Supp. 3d at 36. The question is also one of significant

 “public importance,” Hanes Corp., 531 F.2d at 592 n.4, given that it concerns the structure and

 independence of a federal agency. Although “other remedies” may be available, id., declaratory

 judgment remains appropriate to clarify Harris’s legal status, particularly given the complexity of

 injunctive relief in this area. In addition, the Declaratory Judgment Act grants authority to enter

 declaratory judgment “whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

          Defendants argue that the Court cannot issue declaratory judgment because it cannot

 enjoin the President. See Defs.’ Mot. at 21–22 (citing Samuels v. Mackell, 401 U.S. 66, 70

 (1971)). First, the declaratory judgment here clarifies not just the President’s legal relationship

 with MSPB members, but also subordinate officials’ legal rights and duties. Second, the




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 Supreme Court clarified in Samuels that it did “not mean to suggest that a declaratory judgment

 should never be issued in cases of this type if it has been concluded that injunctive relief would

 be improper.” Samuels, 401 U.S. at 73. “There may be unusual circumstances in which an

 injunction might be withheld because, despite a plaintiff’s strong claim for relief under the

 established standards, the injunctive remedy seemed particularly intrusive or offensive.” Id.

 “[I]n such a situation, a declaratory judgment might be appropriate and might not be contrary to

 the basic equitable doctrines governing the availability of relief.” Id. Courts withhold injunctive

 relief against the President precisely because it is considered “particularly intrusive or

 offensive,” and declaratory judgment remains warranted here given Harris’s “strong claim for

 relief under the established standards.” Id. Defendants additionally cite no controlling authority

 for the notion that declaratory judgment may not clarify the legal relationship between the

 President and other parties. To the contrary, appellate courts have previously affirmed the

 issuance of declaratory relief involving the President. See Nat’l Treasury Emps. Union v. Nixon,

 492 F.2d 587, 616 (D.C. Cir. 1974) (considering declaratory judgment to be a less drastic remedy

 than a writ of mandamus); see also Clinton v. City of New York, 524 U.S. 417, 421 (1998)

 (affirming declaratory judgment that the President’s actions under Line Item Veto Act were

 invalid).

         For these reasons, the Court enters declaratory judgment in this case clarifying that Harris

 remains a member of the MSPB, and that she may not be removed from her position absent

 inefficiency, neglect of duty, or malfeasance in office.

                                       2. Permanent Injunction

         Harris additionally seeks a permanent injunction barring several officials—not including

 the President—from removing her or treating her as removed. See Compl. ¶¶ 45–46; Pl.’s Mot.




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 at 28–30; Pl.’s Proposed Order, ECF No. 22-1. Defendants argue that Harris is not entitled to an

 injunction because the Court lacks the power to issue equitable relief “reinstating” an officer

 removed by the President. Defs.’ Opp’n at 14–18. Defendants also contend that Harris has not

 suffered an irreparable injury and that the balance of the equities weigh in their favor. See id. at

 18–21. The Court must therefore examine its power to issue equitable relief here before it

 considers whether to issue that relief.

                                  a. Availability of Injunctive Relief

         Defendants argue that Harris’s remedy must be limited to backpay, and that an injunction

 is inappropriate because that relief was not “traditionally accorded by courts of equity” to

 remedy an official’s wrongful removal from office. Defs.’ Opp’n at 14 (quoting Grupo

 Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 319 (1999)). Plaintiff

 responds that federal courts have long granted injunctive relief reinstating federal employees,

 and that mandamus should be available in the alternative. See Pl.’s Reply at 10–19.

         In Grupo Mexicano, the Supreme Court considered whether “a United States District

 Court has the power to issue a preliminary injunction preventing the [debtor] defendant from

 transferring assets in which no lien or equitable interest is claimed.” 527 U.S. at 310. The Court

 explained that “equity is flexible; but in the federal system, at least, that flexibility is confined

 within the broad boundaries of traditional equitable relief.” Id. at 322. “[E]quity jurisdiction of

 the federal courts is the jurisdiction in equity exercised by the High Court of Chancery in

 England at the time of the adoption of the Constitution and the enactment of the original

 Judiciary Act, 1789 (1 Stat. 73).” Id. at 318 (quoting A. Dobie, Handbook of Federal

 Jurisdiction and Procedure 660 (1928)). The Court concluded that because the Court of

 Chancery lacked “an equitable power to restrict a debtor’s use of his unencumbered property




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 before judgment,” a contemporary federal court lacks that power as well. Id. at 322; see also id.

 at 319–20. Defendants similarly reason that because the Court of Chancery did not issue

 injunctions returning public officials to their offices, this Court cannot either. See Defs.’ Opp’n

 at 14–15. That contention stumbles, however, for at least two reasons.

        The first is on-point Supreme Court guidance. In Sampson v. Murray, the Supreme Court

 considered whether a probationary employee at the General Services Administration could

 receive a temporary restraining order enjoining her dismissal during an administrative appeal to

 the Civil Service Commission. 415 U.S. 61, 62–63 (1974). The Court explained that a district

 court has “authority to grant interim injunctive relief to a discharged Government employee,” id.

 at 63, but that the plaintiff before the Court did not make the elevated “showing of irreparable

 injury sufficient in kind and degree to override” the Government’s usual autonomy over its

 internal affairs, id. at 84. Loss of wages and reputation could be remedied through further

 proceedings and was not enough to warrant injunctive relief for a federal employee, see id. at

 91–92, but that relief may be appropriate “in the genuinely extraordinary situation,” rather than

 “in the routine case.” Id. at 92 n.68. The Court specifically addressed White v. Berry, in which

 the Supreme Court reasoned that “a court of equity has no jurisdiction over the appointment and

 removal of public officers.” 171 U.S. 366, 377 (1898) (quoting In re Sawyer, 124 U.S. 200, 212

 (1888)). The Sampson Court asserted that “[m]uch water has flowed over the dam since 1898,”

 and that subsequent cases had recognized that federal courts are generally empowered to review

 the claims of discharged federal employees. Sampson, 415 U.S. 71–72 (citing Service v. Dulles,

 354 U.S. 363 (1957)); see also Kloeckner, 568 U.S. at 44–46 (discussing remedies for federal

 employee under the CSRA, Title VII of the Civil Rights Act of 1964, and the Age

 Discrimination in Employment Act of 1967); Elgin v. Dep’t of Treasury, 567 U.S. 1, 22 (2012)




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 (listing “reinstatement” as among “the kinds of relief that the CSRA empowers” courts to

 provide). Harris’s situation is additionally akin to that of the Sampson plaintiff because there is a

 federal standard to which Harris’s hiring and firing must adhere, and one that the Court must

 enforce. Sampson thus instructs that equitable relief is available to Harris if she can show that

 her termination represents a “genuinely extraordinary situation,” rather than a “routine case.”

 Sampson, 415 U.S. at 92 n.68. 6 Sampson is not unique; the Supreme Court has repeatedly

 determined that plaintiff federal employees were entitled to reinstatement after termination

 violated their legal rights. See Service, 354 U.S. at 388–89; Vitarelli v. Seaton, 359 U.S. 535,

 546 (1959); see also Miller v. Clinton, 687 F.3d 1332, 1360 n.7 (D.C. Cir. 2012) (Kavanaugh, J.,

 dissenting) (explaining that for a federal employee experiencing “unconstitutional

 discrimination, equitable relief could include an injunction prior to termination or reinstatement

 subsequent to termination”).

        The D.C. Circuit has also found injunctive relief against subordinate federal officials to

 be available to restore presidential appointees to their offices, although the Government did not

 raise the scope of historical equitable relief in those cases. See Swan v. Clinton, 100 F.3d 973,

 976–81 (D.C. Cir. 1996); Severino v. Biden, 71 F.4th 1038, 1042–43 (D.C. Cir. 2023). 7 In Swan,

 the six-year term of a member of the Board of the National Credit Union Administration

 (“NCUA”) had expired, but he remained in office because the relevant statute allowed members

 to serve until their successors had qualified. Swan, 100 F.3d at 975–76. President Clinton



        6
          There can additionally be no dispute that federal courts may grant injunctive relief “with
 respect to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr.,
 Inc., 575 U.S. 320, 327 (2015) (citing Am. Sch. of Magnetic Healing v. McAnnulty, 187 U.S. 94,
 110 (1902)).
        7
         Cases before other courts add further evidence that this power exists. See Pl.’s Reply at
 11–12 (collecting cases).


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 removed the board member, who then sued seeking declaratory judgment and an injunction

 ordering his reinstatement. See id. The court assessed the board member’s standing to bring the

 case, focusing on whether his claims were judicially redressable. Id. at 976–81. The court was

 uncertain of its power to enjoin the President himself from removing the plaintiff from office, see

 id. at 977–78, but reasoned that it could instead “ensure the rule of law” by issuing “injunctive

 relief against subordinate officials” effectuating his reinstatement “de facto by” requiring his

 colleagues to treat him “as a member of the NCUA Board and allowing him to exercise the

 privileges of that office,” id. at 978, 980. This encompassed, for instance, “including [the

 plaintiff official] in Board meetings, giving him access to his former office, recording his votes

 as official votes of a Board member, allowing him to draw the salary of a Board member etc.” 8

 Id. at 980. The Circuit reprised this analysis in Severino, in which President Biden removed a

 member of the Administrative Conference of the United States Council, see Severino, 71 F.4th at

 1041, and the plaintiff had standing because a court could “enjoin ‘subordinate executive

 officials’ to reinstate a wrongly terminated official ‘de facto,’ even without a formal presidential

 reappointment,” id. at 1042–43 (quoting Swan, 100 F.3d at 980). 9

        Second, it is also clear that even if Sampson, Swan, and Severino did not make equitable

 relief available to Harris in a “genuinely extraordinary situation,” she would nonetheless be

 entitled to a writ of mandamus—which is a remedy at law. See Kalbfus v. Siddons, 42 App. D.C.


        8
          The Circuit ultimately concluded that the board member’s claim failed on the merits
 because, even assuming that NCUA board members had removal protections, holdover members
 would be entitled to no such protection. See Swan, 100 F.3d at 983–88.
        9
          Defendants argue that these cases are not on point because the courts there were
 considering the redressability of the plaintiffs’ claims when evaluating their standing. See Defs.’
 Opp’n at 16; Swan, 100 F.3d 976–81; Severino, 71 F.4th at 1042–43. Yet the Circuit’s reasoning
 is no mere dicta, as a federal court must determine that it has the power to grant effective relief
 before assuming jurisdiction over a case. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–
 61 (1992).


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 310, 319–21 (D.C. Cir. 1914) (collecting cases); see also Pl.’s Reply at 15–16 (collecting

 sources). To the extent that English equity courts declined to issue injunctions reinstating

 officials to their positions, they likely did so because the King’s Bench, a court of law, would

 readily issue mandamus instead. See Walkley v. City of Muscatine, 73 U.S. 481, 483–84 (1867)

 (explaining, relying on English cases, that “a court of equity is invoked” only where “a court of

 law . . . is inadequate to afford the proper remedy”); Parker v. Winnipiseogee Lake Cotton &

 Woolen Co., 67 U.S. 545, 550–51 (1862) (similar). English courts around the time of the

 founding recognized this power and exercised it regularly. See, e.g., R. v. Mayor of London, 100

 Eng. Rep. 96, 98 (1787) (recognizing power to issue mandamus reinstating public official); 10 R.

 v. Mayor and Aldermen of Doncaster (1752), 96 Eng. Rep. 795 (restoring municipal official to

 his office after removal by town council); R. v. Mayor, Bailiffs, and Common Council of the

 Town of Liverpool (1759), 97 Eng. Rep. 533 (same); 11 R. v. Mayor, Aldermen and Burgesses of

 Doncaster (1729), 92 Eng. Rep. 513 (same); 73 Eng. Rep. at 752 (discussing Thompson v.

 Edmonds, in which the King’s Bench restored a bailiff to his office because he “was removed”

 by the mayor “without cause”); R. v. Mayor, Aldermen, and Common Council of Gloucester, 90

 Eng. Rep. 1148 (restoring official to office of capital burgess). Numerous treatises further

 confirm this practice. See 3 W. Blackstone, Commentaries *264–265 (“The writ of mandamus is

 . . . a most full and effective remedy, in the first place, for refusal of admission where a person is

 entitled to an office or place in any such [municipal] corporation; and, secondly, for wrongful


        10
            During this case, respected trial lawyer Thomas Erskine explained that “[w]henever a
 person is improperly suspended or removed from an office, whether it concern public or private
 duties, if he has a certain term in it, and there are profits annexed to it, and the party has no other
 specific legal remedy, the Court will grant mandamus to restore him.” 100 Eng. Rep. at 97.
        11
          Here, Lord Mansfield explained that when officials respond to an action for
 mandamus, “the return must set out all the necessary facts, precisely; to shew that the person is
 removed in legal and proper manner, and for a legal cause.” 97 Eng. Rep. at 537.


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 removal, when a person is legally possessed.”); Thomas Tapping, The Law and Practice of the

 High Prerogative Writ of Mandamus as it Obtains Both in England and in Ireland 221 (1853)

 (“The writ of mandamus . . . has by a great number of cases held to be grantable . . . to restore

 him who has been wrongfully displaced, to any office, function, or franchise of a public nature

 . . . .”); id. at 224 (distinguishing an officer “at pleasure” who may be removed without cause). 12

 Even the treatise cited in Defendants’ opposition explains that a court sitting in equity would

 “not interfere by injunction” in such cases simply because it would instead “leave that question

 to be determined by a legal forum.” 2 James L. High, Treatise on the Law of Injunctions § 1312

 (2d ed. 1880); see also Defs.’ Opp’n at 15. This was the state of the law at the time of the

 founding, as well as when Congress passed the All Writs Act as part of the Judiciary Act of

 1789. See Pa. Bureau of Corr. v. U.S. Marshals Serv., 474 U.S. 34, 40 (1985). For this reason,

 the Supreme Court was careful in both In re Sawyer and White v. Berry to specify that

 mandamus was available “to determine the title to a public office” in “the courts of law.” In re

 Sawyer, 124 U.S. at 212; White, 171 U.S. at 377. 13




        12
            Later treatises provide additional support for use of the writ of mandamus “for the
 purpose of restoring an individual to an office, where he has been illegally deprived of the
 possession thereof.” Horace G. Wood, A Treatise on the Legal Remedies of Mandamus and
 Prohibition, Habeas Corpus, Certiorari and Quo Warranto 11 (1891). “When the title to the
 office is indisputable,” proceedings for the writ of quo warranto would be “dilatory” and “a
 mandamus would be proper and should be awarded.” Id. at 12 (quoting 7 How., 128); see also 1
 Howard Clifford Joyce, A Treatise on the Law Relating to Injunctions § 55 (1909) (“The
 jurisdiction to determine the title to a public office belongs only to courts of law and is exercised
 . . . by mandamus . . . and the mode of procedure established by the common law or by statute”);
 2 Eugene McQuillin, A Treatise on the Law of Municipal Corporations § 582 (1911) (same).
        13
            Defendants argue that Harris was effectively removed from office and seeks a court
 order returning her to it. See Defs.’ Opp’n at 15. The D.C. Circuit has clarified that this is not
 the case, and that Harris was never in fact removed. See Kalbfus, 42 App. D.C. at 321 (“In the
 present case the removal of the relator having been illegal and void, the office never became
 vacant . . . .”).


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        As the Court explains below, however, a writ of mandamus can issue under our

 contemporary jurisprudence only when “the party seeking issuance of the writ ha[s] no other

 adequate means to attain the relief he desires.” Kerr v. U. S. Dist. Ct. for N. Dist. of California,

 426 U.S. 394, 403 (1976) (citing Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 26 (1943)).

 Because the Court reads Sampson, Swan, and Severino to allow it to issue an injunction, it

 concludes that this injunction represents “adequate means” to provide Harris’s requested relief,

 barring a mandamus remedy. Kerr, 426 U.S. at 403. This represents a curious reversal from

 norms before English courts, where reinstatement of officials through legal means was preferred

 over restoration through equitable means. See Swan, 100 F.3d at 976–81; Severino, 71 F.4th at

 1042–43. Yet the broader point is that this Court may provide Harris some form of effective

 relief preventing her unlawful termination from the MSPB, whether it be through an injunction

 or a writ of mandamus. See Swan, 100 F.3d at 977 n.1 (explaining that a request for injunction

 and request for writ of mandamus can be “essentially” the same thing in some contexts).

        Finally, Defendants argue that the Court cannot enjoin the President or enjoin others in a

 manner that restricts his Article II authority. See Defs.’ Opp’n at 16. To be clear, Harris does

 not ask the Court to enjoin President Trump, see, e.g., Pl.’s Proposed Order, and the Court does

 not do so. 14 Yet Defendants cite no authority for the proposition that a court lacks the power to

 enjoin the President’s subordinates to restrain the President’s violation of law. In fact, that is


        14
           The availability of injunctive relief against the President may depend in part on
 whether compliance with 5 U.S.C. 1202(d) represents a ministerial rather than executive duty, a
 question the Supreme Court has “left open.” Franklin v. Massachusetts, 505 U.S. 788, 802
 (1992) (plurality opinion); see also State of Mississippi v. Johnson, 71 U.S. 475, 498 (1866)
 (declining to decide whether a court may require the President “to perform a purely ministerial
 act,” and defining a “ministerial duty” as “one in respect to which nothing is left to discretion);
 McCray v. Biden, 574 F. Supp. 3d 1, 9 (D.D.C. 2021) (“Franklin, however, did not absolutely
 slam the door shut on presidential injunctions.”). Of course, the Court need not decide this
 question here.


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 precisely the remedy the Supreme Court affirmed in Youngstown Sheet & Tube Co. v. Sawyer,

 343 U.S. 579, 584 (1952) (describing preliminary injunction restraining Secretary of Commerce

 from following President Truman’s orders and “continuing the seizure and possession of the

 [steel] plant”). And in Swan v. Clinton, the D.C. Circuit concluded that a district court could

 enjoin the President’s subordinates in order to effectuate a federal official’s reinstatement. See

 100 F.3d at 979; see also id. (concluding that “injunctive relief against such officials could

 substantially redress [the terminated official’s] injury”); see also Severino, 71 F.4th at 1042–43.

 Having assured itself that injunctive relief is available here, the Court proceeds to consider

 whether a permanent injunction is warranted. 15

                                b. Factors for Permanent Injunction

        An injunction “is an extraordinary remedy never awarded as of right.” Winter v. Nat.

 Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Yet “it goes without saying that federal courts

 must vigilantly enforce federal law and must not hesitate in awarding necessary relief.” DL v.

 District of Columbia, 860 F.3d 713, 726 (D.C. Cir. 2017) (quoting Horne v. Flores, 557 U.S.

 433, 450 (2009)). A permanent injunction is a “forward-looking” remedy, Gratz v. Bollinger,

 539 U.S. 244, 284 (2003), the “principal purpose” of which is to “deter future violations, and not

 to punish the violator,” Sec. & Exch. Comm’n v. Savoy Indus., Inc., 587 F.2d 1149, 1169 (D.C.

 Cir. 1978). “[A] plaintiff seeking a permanent injunction must satisfy a four-factor test before a

 court may grant such relief.” eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). A

 plaintiff must demonstrate: “(1) that it has suffered an irreparable injury; (2) that remedies


        15
          Defendants additionally suggest that “when executive officers have challenged their
 removal by the President, they have traditionally sought back pay, not reinstatement.” Defs.’
 Opp’n at 13. The Court fails to see how it might lack the power to issue injunctive relief here
 simply because the plaintiffs in Wiener and Humphrey’s Executor decided to seek another
 remedy.


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 available at law, such as monetary damages, are inadequate to compensate for that injury; (3)

 that, considering the balance of hardships between the plaintiff and defendant, a remedy in equity

 is warranted; and (4) that the public interest would not be disserved by a permanent injunction.”

 Id. Where the federal government is the opposing party, the balance of equities and public

 interest factors merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). The Supreme Court “has

 repeatedly held that the basis for injunctive relief in the federal courts has always been

 irreparable injury and the inadequacy of legal remedies.” Weinberger v. Romero-Barcelo, 456

 U.S. 305, 312 (1982); see also Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

 297 (D.C. Cir. 2006) (same).

        For the same reasons the Court discussed in its previous opinion, Harris has established

 that she has suffered irreparable harm and will likely suffer irreparable harm in the future absent

 injunctive relief. See Mem. Op. at 11–19; Standing Rock Sioux Tribe v. U.S. Army Corps of

 Eng’rs, 540 F. Supp. 3d. 45, 55 (D.D.C. May 21, 2021) (“While the irreparable-harm

 requirement is recited in the past tense, it is clear that future harm may qualify.” (citing

 Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 162 (2010))). Congress intended the

 MSPB and its members to carry out their limited duties with a degree of independence from the

 President, guided primarily by his selection of members for the multimember board rather than

 “the Damocles’ sword of removal.” Wiener, 357 U.S. at 356. As the Court reasoned in its

 previous memorandum opinion, the MSPB’s independence would evaporate if the President

 could terminate its members without cause, even if a court could later order them reinstated. See

 Mem. Op. at 16. Harris has undoubtedly experienced an injury to this independence in her

 capacity as a member of the MSPB following the President’s attempt to terminate her without

 cause, and any future attempts would prove just as harmful to that autonomy.




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        Harris additionally suffers irreparable harm because she has been “depriv[ed] of [her]

 statutory right to function” as a member of the MSPB, and any further attempts to separate her

 from her position will exacerbate this injury. Berry v. Reagan, No. 83-3182, 1983 WL 538, at *5

 (D.D.C. Nov. 14, 1983). The termination email Harris received resulted in the inability to pursue

 her “statutory mission” to protect employees from prohibited personnel practices, such that “the

 loss of the ability to do what Congress specifically directed [her] to do cannot be remediated with

 anything other than equitable relief.” Dellinger v. Bessent, No. 25-cv-0385, 2025 WL 471022, at

 *11 (D.D.C. Feb. 12, 2025). In addition, unlike most other federal employees, Harris was duly

 appointed by the President and confirmed by the Senate to a position carrying a term of years

 with specific reasons for her removal.

        The Court finds that this harm represents a “genuinely extraordinary situation” meriting

 injunctive relief related to a federal employee’s discharge. Sampson, 415 U.S. at 92 n.68; see

 also Mem. Op. at 12–13 (discussing Sampson). The clear federal statute granting Harris for-

 cause removal protections, coupled with longstanding precedent upholding the constitutionality

 of analogous provisions, overcomes the “latitude” traditionally afforded the Government “in the

 ‘dispatch of its own internal affairs.’” Sampson, 415 U.S. at 83. The plaintiff in Sampson, who

 failed to meet this standard, sought an injunction temporarily enjoining her dismissal during an

 administrative appeal. See id. at 63. Yet the parties point to no administrative pathway here

 through which Harris could seek reinstatement following improper termination. Furthermore,

 whereas the Sampson plaintiff was a probational employee, see id. at 62, Harris is a member of

 the board of an independent agency, was appointed by the President and confirmed by the

 Senate, and enjoys tenure protections to preserve her independence.




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         For similar reasons, it is also apparent that “remedies available at law, such as monetary

 damages, are inadequate to compensate for” Harris’s injuries. eBay Inc., 547 U.S. at 391.

 Defendants argue that loss of salary generally does not represent irreparable harm. See Defs.’

 Opp’n at 19. As the Court has explained, however, this is not a standard employment action that

 can be remedied through back pay and later reinstatement, and Harris’s claims do not revolve

 around her salary. See Mem. Op. at 15.

         Defendants additionally cite Raines v. Byrd, 521 U.S. 811 (1997), for the notion that “a

 loss of political power” does not represent injury. Defs.’ Mot. at 15. Raines is a case about

 legislators’ standing to sue over legislation they perceive to cede power to the Executive Branch,

 and the case has minimal application to the irreparable injury analysis here. See 521 U.S. at

 820–21. Harris is not a member of Congress, nor is standing at issue. The Supreme Court

 reasoned in Raines that any injury would be far too diffuse to support the legislators’ standing, as

 it was spread across both Houses of Congress, and the legislators did not claim injury arising

 from “something to which they personally are entitled.” Id. at 821. If anything, Raines supports

 Harris’s claim to injury based on exclusion from her office: she has “been singled out for

 specially unfavorable treatment as opposed to other Members,” and has lost something to which

 she is “personally” entitled. Id.

         Finally, injunctive relief in this case is in the public interest, and the balance of the

 equities tips in Harris’s favor. Given that federal law limits the conditions under which Harris’s

 tenure may be terminated, Supreme Court precedent supports the constitutionality of those

 conditions, and Defendants do not argue that those conditions were met here, the Court finds that

 it is in the public interest to issue injunctive relief. “[T]here is a substantial public interest ‘in

 having governmental agencies abide by the federal laws that govern their existence and




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 operations.’” League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir.

 2016) (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). So too is there

 substantial public interest in the for-cause removal protections Congress has given to certain

 members of independent agencies. Furthermore, the government “cannot suffer harm from an

 injunction that merely ends an unlawful practice or reads a statute as required.” R.I.L-R v.

 Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127,

 1145 (9th Cir. 2013)).

        Defendants suggest that the public interest weighs against injunctive relief here because

 “[s]uch a remedy would undermine the accountability of the Executive Branch instilled by the

 Constitution,” and the President “cannot be compelled to retain the services of a principal

 officer.” Defs.’ Opp’n at 20–21. This argument largely relies on Defendants’ success on the

 merits, and the Court has already determined that the President lacks the power to remove Harris

 at will. Defendants additionally argue that “the public interest is better served by an MSPB

 member who holds the President’s confidence.” Id. at 21. Yet Defendants decline to explain

 exactly how the public interest would be better served by removing Harris from her position.

 They do not dispute any of Harris’s factual assertions, including her efforts to consider,

 deliberate, and vote on 35 cases per week to clear the MSPB’s backlog of nearly 3,800 cases.

 See SUMF ¶¶ 12–28. This effort was successful, as by early this year the inherited cases had all

 but disappeared. See id. ¶ 20. Recall that many of these cases involve allegations that federal

 agencies engaged in prohibited personnel practices, such as targeting of federal employees based

 on political affiliation; retaliation against whistleblowers reporting violations of law, waste, fraud

 and abuse; discrimination; and USERRA violations, among others. See Pl.’s Mot. at 4–5

 (collecting cases). Defendants make no effort to enlighten the Court as to how Harris’s handling




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 of these cases might differ from the President’s preferred approach, let alone in a manner that

 might tilt the public interest factor in their favor. Defendants additionally overlook the fact that

 if Harris or her colleagues were ever to become inefficient, neglect their duty, or engage in

 malfeasance in office, the President would be empowered to remove them for cause. See 5

 U.S.C. § 1202(d). The Court thus finds nothing in Defendants’ arguments that might support a

 public interest against injunctive relief here.

         The Court additionally notes that in opposing injunctive relief in its entirety, Defendants

 have declined to engage with the scope of Harris’s proposed relief. See generally Proposed

 Order; Defs.’ Opp’n. The Court will nonetheless tailor its declaratory and injunctive relief to

 meet Harris’s entitlement under the law. 16

                                         3. Writ of Mandamus

         Harris requests that the Court issue a writ of mandamus if no other relief is available. See

 Pl.’s Mot. at 34–35. Defendants argue that the President has no clear nondiscretionary duty here,

 as his selection of “who should lead an Executive Branch agency is certainly not a mere

 ministerial task.” Defs.’ Mot. at 22.

         “The preemptory common-law writs are among the most potent weapons in the judicial

 arsenal.” Will v. United States, 389 U.S. 90, 107 (1967). A district court has “original

 jurisdiction of any action in the nature of mandamus” only if “(1) the plaintiff has a clear right to

 relief; (2) the defendant has a clear duty to act; and (3) there is no other adequate remedy



         16
            Although injunctive relief is merited, the Court narrows Harris’s request slightly.
 Harris seeks a permanent injunction prohibiting several Defendants from removing her or
 treating her as removed. See Proposed Order. Yet § 1202(d) permits the President to remove her
 for inefficiency, neglect of duty, or malfeasance in office. The Court nonetheless notes the
 undisputed record demonstrating that Harris and her colleagues have carried out their duties to
 decide cases in addition to clearing a significant backlog.


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 available to [the] plaintiff.” In re Nat’l Nurses United, 47 F.4th 746, 752 n.4 (D.C. Cir. 2022)

 (quoting Muthana v. Pompeo, 985 F.3d 893, 910 (D.C. Cir. 2021)). “[M]andamus jurisdiction

 under § 1361 merges with the merits.” Muthana, 985 F.3d at 910 (quoting Lovitky v. Trump, 949

 F.3d 753, 759 (D.C. Cir. 2020)). “[E]ven if the plaintiff overcomes all these hurdles, whether

 mandamus relief should issue is discretionary.” In re Cheney, 406 F.3d 723, 729 (D.C. Cir.

 2005).

          The Court finds the first two requirements for mandamus relief to be satisfied. A court

 “can analyze the clear right to relief and clear duty to act requirements for mandamus

 ‘concurrently.’” Illinois v. Ferriero, 60 F.4th 704, 715 (D.C. Cir. 2023) (quoting Lovitky, 949

 F.3d at 760). “[T]o meet the ‘clear duty to act’ standard, ‘[t]he law must not only authorize the

 demanded action, but require it; the duty must be clear and indisputable.’” Ferriero, 60 F.4th at

 715 (quoting United States ex rel. McLennan v. Wilbur, 283 U.S. 414, 420 (1931). Based on the

 Court’s holding that federal law precludes the President’s power to remove Harris at will, the

 Court finds a duty here that is clear and indisputable, and under binding Supreme Court

 precedent there is no “room for an honest difference of opinion” on the part of federal officials.

 Reichelderfer v. Johnson, 72 F.2d 552, 554 (D.C. Cir. 1934). In other words, the statute does not

 provide room for executive discretion—the President has no menu of options to pick from when

 he categorically may not remove Harris without cause. In making this determination, the Court

 additionally looks to the voluminous precedent demonstrating that courts of law issued

 mandamus relief in similar situations at the time Congress passed the All Writs Act in 1789 and

 over the ensuing centuries.

          As the Court previewed earlier, however, it appears at present that Harris has a separate,

 “adequate remedy” available in the form of a permanent injunction. In re Nat’l Nurses United,




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 47 F.4th at 752 n.4. The Court thus determines that her request for mandamus relief fails on that

 basis alone. Were equitable injunctive relief unavailable here, however, the Court would not

 hesitate to “vigilantly enforce federal law” and “award[] necessary relief” through a writ of

 mandamus as an alternative remedy at law. DL, 860 F.3d at 726.

                                        V. CONCLUSION

        For the foregoing reasons, Plaintiff Cathy A. Harris’s motion for summary judgment is

 GRANTED; and it is

        DECLARED that Plaintiff Cathy A. Harris remains a member of the Merit Systems

 Protection Board, having been confirmed by the Senate on May 25, 2022, and sworn in on June

 1, 2022, and that she may be removed by the President prior to the expiration of her term in

 office only for inefficiency, neglect of duty, or malfeasance in office pursuant to 5 U.S.C.

 § 1202; and it is

        FURTHER ORDERED that Plaintiff Cathy A. Harris shall continue to serve as a

 member of the Merit Systems Protection Board until her term expires pursuant to 5 U.S.C.

 § 1202, unless she is earlier removed for inefficiency, neglect of duty, or malfeasance in office

 under that statute. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director

 Sergio Gor, Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from

 removing Harris from her office without cause or in any way treating her as having been

 removed without cause, denying or obstructing Harris’s access to any of the benefits or resources

 of her office, placing a replacement in Harris’s position, or otherwise recognizing any other

 person as a member of the Merit Systems Protection Board in Harris’s position; and it is




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           FURTHER ORDERED that the Court’s Temporary Restraining Order is VACATED.

           An order consistent with this Memorandum Opinion is separately and contemporaneously

 issued.


 Dated: March 4, 2025                                            RUDOLPH CONTRERAS
                                                                 United States District Judge




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